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      Republic Moving & Storage
  9
 10
                              UNITED STATES BANKRUPTCY COURT
 11
                               CENTRAL DISTRICT OF CALIFORNIA
 12
                                        RIVERSIDE DIVISION
 13
      In re                                               Case No. 6:18-bk-16624-SC
 14                                                       Chapter 11 Proceeding
      LOVEJOY'S FAMILY MOVING, INC.,
 15   dba REPUBLIC MOVING & STORAGE,                      DEBTOR’S SECOND AMENDED
                                                          DISCLOSURE STATEMENT
 16                 Debtor and                            ACCOMPANYING DEBTOR’S SECOND
                    Debtor-in-Possession.                 AMENDED CHAPTER 11 PLAN OF
 17                                                       REORGANIZATION
                                                          Disclosure Statement Hearing
 18                                                       Date:    April 2, 2019
                                                          Time:    1:30 p.m.
 19                                                       Place:   Court Room 126
                                                                   3420 Twelfth Street
 20                                                                Riverside, CA 92501
                                                                            -OR-
 21                                                       Courtroom 5C
                                                                   411 W. Fourth Street
 22                                                                Santa Ana, CA 92701
                                                          Plan Confirmation Hearing
 23                                                       Date:    June 11, 2019
                                                          Time:    1:30 p.m.
 24                                                       Place:   Court Room 126
                                                                   3420 Twelfth Street
 25                                                                Riverside, CA 92501
                                                                            -OR-
 26                                                                Courtroom 5C
                                                                   411 W. Fourth Street
 27                                                                Santa Ana, CA 92701
 28



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                                                                  I.

                                                      INTRODUCTION

               Lovejoy’s Family Moving, Inc. dba Republic Moving & Storage, Inc., the Debtor in the

      Case, provides this Disclosure Statement to Creditors.1 This Disclosure Statement is furnished for

      the purpose of soliciting acceptances to the Plan, which has been filed with the Bankruptcy Court.

      A copy of the Plan accompanies this Disclosure Statement.

               Section 1125 of the Bankruptcy Code requires that, at the time when the Plan is delivered

      to Creditors, the Plan be accompanied by this Disclosure Statement.2 The purpose of this

      Disclosure Statement is to provide adequate information of a kind, and in sufficient detail, so far

      as is reasonably practicable, in light of the nature and history of the Debtor and the condition of

      the Debtor’s books and records, to enable a typical Creditor to make an informed judgment about

      the Plan and to enable such Creditor to determine whether it is in his best interest to vote for

      (accept) or against (reject) the Plan.

               This Disclosure Statement contains a description of the Plan and other information relevant

      to a Creditor’s decision whether to vote to accept or to reject the Plan. The Debtor urges Creditors

      to read this Disclosure Statement because it contains important information concerning the

      Debtor’s history, business, assets and liabilities and because it sets forth a summary of the Plan.

               This Disclosure Statement does not purport to be a complete description of the Plan, the

      financial data pertaining to the Debtor, the applicable provisions of the Bankruptcy Code, or any

      other matters that may be deemed significant by Creditors. Out of practical necessity, this

      Disclosure Statement represents an attempt to summarize extensive financial data, legal

      documents and legal principles, including provisions of the Bankruptcy Code, and set them forth

      in an understandable, readable form. Thus, although the Debtor has attempted to describe fairly



      1
        The definitions of the capitalized terms used in this Disclosure Statement are contained in Article II of this
      Disclosure Statement.
      2
        Section 1125(b) provides, in pertinent part, as follows:
           An acceptance or rejection of a plan may not be solicited after the commencement of the case under
           this title from a holder of a claim or interest with respect to such claim or interest, unless, at the time
           of or before such solicitation, there is transmitted to such holder the plan or a summary of the plan,
           and a written disclosure statement approved, after notice and a hearing, by the court as containing
           adequate information.
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      and accurately the matters set forth and discussed in this Disclosure Statement, the Debtor desires

      to emphasize that the documents referred to or summarized in this Disclosure Statement

      (including, without limitation, historical financial information for the Debtor’s business

      operations) are available for review by contacting the Debtor’s attorneys, Winthrop Couchot

      Golubow Hollander, LLP (“Winthrop Couchot”) (Attn: Jeannie Martinez), at the address set forth

      at the upper left-hand corner of the first page of this Disclosure Statement.

               If a Creditor does not fully understand this Disclosure Statement, or feels that the

      information provided herein is insufficient to enable him to determine whether to accept or to

      reject the Plan, he is invited to make written inquiry of the Debtor’s attorneys, Winthrop Couchot

      (Attn: Peter W. Lianides), at its address set forth at the upper left-hand corner of the first page of

      this Disclosure Statement.

               While this Disclosure Statement provides a summary of the provisions of the Plan, if any

      inconsistency exists between the Plan and the Disclosure Statement, the provisions of the Plan are

      controlling. Therefore, Creditors are urged to review carefully the provisions of the Plan.

               Only holders of Claims allowed under section 502 of the Bankruptcy Code or Claims

      temporarily allowed for voting purposes under Rule 3018(a) of the Federal Bankruptcy Rules,

      and whose Claims are in those Classes of Claims that are “impaired” under the Plan, are entitled

      to vote to accept or reject the Plan.3 Classes of Claims that are not impaired are conclusively

      presumed to have voted to accept the Plan pursuant to section 1126(f) of the Bankruptcy Code

      and, therefore, are not entitled to vote on the Plan.

               Voting on the Plan, by each holder of a Claim entitled to vote on the Plan, is important.

      To vote to accept or reject the Plan, a Creditor must indicate his acceptance or rejection thereof on

      the ballot that accompanies this Disclosure Statement and return it, by mail or by e-mail

      transmission, to Winthrop Couchot (Attn: Jeannie Martinez) such that the ballot is actually

      received by Winthrop Couchot by 5:00 p.m. on May 10, 2019. The mailing address for Winthrop

      Couchot is listed in the upper left-hand corner of the first page of this Disclosure Statement. Each



      3
        Under section 1124 of the Bankruptcy Code, a Class of Claims is impaired if the legal, equitable, or contractual
      rights of the Claims in the Class are altered.
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      Class of Creditors allowed to vote on the Plan will be deemed to have accepted the Plan if the

      Plan is accepted by valid ballots cast by Creditors in that Class holding at least two-thirds (2/3) in

      dollar amount and more than one half (1/2) in number of the Allowed Claims of Creditors in that

      Class actually voting on the Plan. ONLY PROPERLY EXECUTED BALLOTS TIMELY

      TENDERED TO COUNSEL FOR THE DEBTOR WILL BE COUNTED AS HAVING

      VOTED ON THE PLAN.

             Since mail delays may occur, and because time is of the essence, it is important that

      ballots be returned well in advance of the date specified hereinabove as the deadline for Winthrop

      Couchot to receive ballots. Unless otherwise allowed by the Bankruptcy Court, any ballots

      received after such deadline will not be included in any calculation to determine whether the

      Debtor’s Creditors have accepted or rejected the Plan.

             At the Confirmation Hearing, the Bankruptcy Court will determine, pursuant to

      section 1129 of the Bankruptcy Code, whether the Plan has been accepted by the necessary

      Classes created under the Plan, and, if not, whether the Bankruptcy Court should nevertheless

      confirm the Plan. If at such hearing the Bankruptcy Court should determine that the Plan meets

      all of the requirements for confirmation prescribed by the Bankruptcy Code, the Bankruptcy

      Court will enter a Confirmation Order. Pursuant to section 1141 of the Bankruptcy Code, the

      effect of the Confirmation Order will be to make the provisions of the Plan binding upon the

      Debtor, each Creditor, regardless of whether the Creditor voted to accept the Plan, and upon the

      Interest Holder.

             Pursuant to section 1128 of the Bankruptcy Code, any party-in-interest may object to the

      confirmation of the Plan. The Bankruptcy Court has fixed May 10, 2019, at 5:00 p.m., as the

      deadline for filing an objection to the Plan and for serving a copy thereof upon the Debtor’s

      attorneys, Winthrop Couchot, at the address set forth hereinabove, and upon the United States

      Trustee. The branch office of the United States Trustee in which the Case is being administered is

      located at 3801 University Ave, Suite 720, Riverside, California 92501. Any objections or other

      written communications to the United States Trustee respecting the Plan or the Case should be

      mailed to the attention of Abram S. Feuerstein, Esq., at that address.

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            THIS IS A SOLICITATION BY THE DEBTOR. NO REPRESENTATIONS

      CONCERNING THE DEBTOR, INCLUDING, BUT NOT LIMITED TO,

      REPRESENTATIONS AS TO ITS ASSETS, THE AMOUNT OF CLAIMS AGAINST THE

      ESTATE, OR ANY TAX EFFECT OF THE TRANSACTIONS PROPOSED UNDER THE

      PLAN, ARE AUTHORIZED BY THE DEBTOR, OTHER THAN AS SET FORTH IN

      THIS DISCLOSURE STATEMENT.

            THE INFORMATION CONTAINED OR REFERRED TO IN THIS DISCLOSURE

      STATEMENT HAS NOT BEEN SUBJECT TO CERTIFIED AUDIT. RECORDS KEPT

      BY THE DEBTOR RELY FOR THEIR ACCURACY ON BOOKKEEPING PERFORMED

      INTERNALLY BY THE DEBTOR. THE DEBTOR BELIEVES THAT EVERY

      REASONABLE EFFORT HAS BEEN MADE TO PRESENT FINANCIAL

      INFORMATION AS ACCURATE AS IS REASONABLY PRACTICABLE GIVEN THE

      NATURE AND HISTORY OF THE DEBTOR’S BUSINESS AND THE CONDITION OF

      THE DEBTOR’S BOOKS AND RECORDS. HOWEVER, THE RECORDS KEPT BY

      THE DEBTOR ARE NEITHER WARRANTED NOR REPRESENTED TO BE FREE OF

      INACCURACY. NEITHER COUNSEL TO THE DEBTOR, NOR ANY ACCOUNTANT

      TO THE DEBTOR HAS INDEPENDENTLY VERIFIED THE INFORMATION

      CONTAINED HEREIN, OR MAKES ANY REPRESENTATIONS OR WARRANTIES

      WITH RESPECT TO THE ACCURACY THEREOF.

            NO RELIANCE SHOULD BE PLACED ON THE FACT THAT A PARTICULAR

      DISPUTED CLAIM OR CAUSE OF ACTION IS NOT IDENTIFIED IN THIS

      DISCLOSURE STATEMENT. IN ACCORDANCE WITH THE PROVISIONS OF THE

      PLAN, THE REORGANIZED DEBTOR MAY SEEK TO INVESTIGATE, FILE AND

      PROSECUTE OBJECTIONS TO CLAIMS OR CAUSES OF ACTION, WHETHER OR

      NOT SUCH OBJECTIONS OR CAUSES OF ACTION ARE IDENTIFIED IN THIS

      DISCLOSURE STATEMENT.

            ALL PARTIES ENTITLED TO VOTE ON THE PLAN ARE URGED TO REVIEW

      CAREFULLY THE PLAN AND THIS DISCLOSURE STATEMENT PRIOR TO VOTING

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      ON THE PLAN. THE CONTENTS OF THIS DISCLOSURE STATEMENT SHOULD

      NOT BE CONSTRUED IN ANY MANNER TO BE LEGAL, BUSINESS OR TAX

      ADVICE. EACH CREDITOR SHOULD CONSULT WITH HIS OWN LEGAL

      COUNSEL, BUSINESS ADVISOR, CONSULTANT OR ACCOUNTANT PRIOR TO

      VOTING ON THE PLAN IN ORDER TO ENSURE A COMPLETE UNDERSTANDING

      OF THE TERMS OF THE PLAN. THIS DISCLOSURE STATEMENT IS INTENDED

      FOR THE SOLE USE OF THE CREDITORS OF THE DEBTOR TO ASSIST THEM TO

      MAKE AN INFORMED DECISION REGARDING THE PLAN.

             THE BANKRUPTCY COURT’S APPROVAL OF THIS DISCLOSURE

      STATEMENT INDICATES ONLY THAT THE DISCLOSURE STATEMENT

      CONTAINS ADEQUATE INFORMATION FOR THE PURPOSE OF SOLICITATION

      OF ACCEPTANCES TO THE PLAN BY THE DEBTOR, AND NOT ANY

      RECOMMENDATION REGARDING WHETHER A CREDITOR SHOULD VOTE TO

      ACCEPT OR TO REJECT THE PLAN.

             ANY DISCUSSION OF TAX MATTERS CONTAINED HEREIN IS NOT

      INTENDED TO BE USED, AND CANNOT BE USED, FOR THE PURPOSE OF

      AVOIDING ANY TAX OR TAX PENALTIES THAT MAY BE IMPOSED ON ANY

      PERSON. NOTHING IN THIS DISCLOSURE STATEMENT MAY BE USED OR

      REFERRED TO IN PROMOTING, MARKETING OR RECOMMENDING A

      PARTNERSHIP OR OTHER ENTITY, INVESTMENT PLAN, OR OTHER

      ARRANGEMENT TO ANY PERSON. ALL CREDITORS SHOULD CONSULT WITH

      THEIR OWN LEGAL COUNSEL AND/OR ACCOUNTANTS AS TO LEGAL, TAX, AND

      OTHER MATTERS CONCERNING THEIR CLAIMS.

                                                    II.
                          DEFINITIONS AND RULES OF CONSTRUCTION
             A.     Defined Terms.
             The following terms (which appear in this Disclosure Statement as capitalized terms),
      when used in this Disclosure Statement, have the meanings set forth below.

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                   1.      “Administrative Claim” means a Claim for costs or expenses that are
            allowable under sections 503(b) or 507(b) of the Bankruptcy Code or 28 U.S.C. § 1930.
            These costs or expenses may include: (a) actual, necessary costs and expenses of
            preserving the Estate after the Petition Date; (b) Ordinary Course Administrative Claims;
            (c) Pre-Effective Date Professional Fee Claims; (d) Administrative Tax Claims; and
            (e) United States Trustee Fees.
                   2.      “Administrative Claims Bar Date” has the meaning set forth in
            Paragraph VI(C)(1)(b) of this Disclosure Statement.
                   3.      “Administrative Claims Objection Deadline” has the meaning set forth
            in Paragraph VI(C)(1)(c) of this Disclosure Statement.
                   4.      “Administrative Tax Claim” means a Tax Claim, other than a Secured
            Claim, that a governmental unit asserts against the Debtor for any tax period that, in
            whole or in part, falls within the period commencing on the Petition Date and ending on
            the Effective Date.
                   5.      “Allegiant” means Allegiant Partners, Inc.
                   6.      “Allowed Administrative Claim” means an Administrative Claim that is
            allowed as set forth in Section 3.1 of the Plan or otherwise by a Final Order.
                   7.      “Allowed Avoidance Action Payment Claim” means an Allowed Claim
            based upon or arising from an entity’s payment to the Debtor of a claim asserted against
            the entity pursuant to an Avoidance Action. Any Allowed Avoidance Action Payment
            Claim is treated under the Plan as an Allowed Class 5 Claim.
                   8.      “Allowed Claim” means a Claim (a) that is listed in the Bankruptcy
            Schedules filed with the Bankruptcy Court by the Debtor and not listed as disputed,
            contingent, unliquidated or unknown as to amount and as to which no timely objection
            has been filed; (b) with respect to which a Proof of Claim has been filed by the Bar Date,
            and as to which no objection is filed within the time period fixed by the Bankruptcy Code,
            the Bankruptcy Rules, the Plan or by order of the Bankruptcy Court, or as to which any
            such objection has been determined in whole or in part in favor of the holder of the Claim


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            by a Final Order; or (c) that has been resolved pursuant to a settlement agreement
            approved by Final Order of the Court or otherwise authorized pursuant to the Plan.
            Pursuant to the Plan, the amount of an Allowed Claim will be as follows: (i) if the
            Creditor did not file a Proof of Claim with the Bankruptcy Court on or before the Bar
            Date, the amount of the Creditor’s Claim as listed in the Bankruptcy Schedules as neither
            disputed, contingent, unliquidated or unknown; or (ii) if the Creditor filed a Proof of
            Claim with the Bankruptcy Court on or before the Bar Date, (1) the amount stated in such
            Proof of Claim if no objection to such Proof of Claim is filed within the time period fixed
            by the Bankruptcy Code, the Bankruptcy Rules, the Plan or by order of the Bankruptcy
            Court, (2) the amount thereof fixed by a Final Order of the Bankruptcy Court if an
            objection to such Proof of Claim is filed within the time period fixed by the Bankruptcy
            Code, the Bankruptcy Rules, the Plan or by order of the Bankruptcy Court; or (3) the
            amount fixed pursuant to a settlement agreement approved by Final Order of the Court or
            otherwise authorized pursuant to the Plan. Any Claim that is not filed by the Bar Date
            and that is listed in the Bankruptcy Schedules as disputed, unliquidated, contingent or
            unknown, or that is not allowed under the terms of the Plan, will be disallowed pursuant
            to the Plan, and no Distribution will be made on account of such Claim.
                    9.     “Allowed Class ‘***’ Claim” means an Allowed Claim classified in the
            specified Class.
                    10.     “Allowed Deficiency Claim” means that portion of an Allowed Claim
            that is in excess of the value of any Collateral which is security for the repayment of such
            Claim, calculated in accordance with the provisions of section 506 of the Bankruptcy
            Code.
                    11.    “Allowed General Unsecured Claim” means an unsecured Allowed
            Claim against the Debtor, however arising, not entitled to priority under section 507(a) of
            the Bankruptcy Code, including, without limitation, an Allowed Deficiency Claim, an
            Allowed Rejection Claim or an Allowed Avoidance Action Payment Claim.




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                   12.     “Allowed Priority Non-Tax Claim” means an unsecured Allowed Claim
            entitled to priority pursuant to sections 507(a)(4), 507(a)(5), or 507(a)(7) of the
            Bankruptcy Code.
                   13.     “Allowed Priority Tax Claim” means an Allowed Claim entitled to
            priority under section 507(a)(8) of the Bankruptcy Code.
                   14.     “Allowed Rejection Claim” means an Allowed General Unsecured Claim
            based upon or arising from the rejection of an executory contract or unexpired lease
            pursuant to a Final Order of the Bankruptcy Court or pursuant to the Plan. Any Allowed
            Rejection Claim is treated under the Plan as an Allowed Class 5 Claim.
                   15.     “Allowed Secured Claim” means an Allowed Claim secured by a valid
            and unavoidable Lien against property in which the Estate has an interest, or that is
            subject to setoff under section 553 of the Bankruptcy Code, to the extent of the value,
            determined in accordance with section 506(a) of the Bankruptcy Code, of the Secured
            Creditor’s interest in the Estate’s interest in the Collateral securing the Claim, or to the
            extent of the amount subject to setoff, whichever is applicable. Pursuant to the Plan,
            unpaid principal and any accrued interest allowable under section 506 of the Bankruptcy
            Code with respect to an Allowed Secured Claim will be computed as of the Effective
            Date, and the Allowed Secured Claim will thereafter bear interest as provided in the Plan.
                   16.     “Assets” means all assets and properties of the Debtor’s Estate, as set forth
            in section 541 of the Bankruptcy Code.
                   17.     “Avoidance Action” means an adversary proceeding, lawsuit or other
            action or proceeding filed pursuant to sections 502(d), 506, 510, 542, 543, 544, 545, 547,
            548, 549, 550, 551, 552, 553 or other sections of the Bankruptcy Code, an adversary
            proceeding, lawsuit or other action or proceeding based on applicable non-bankruptcy law
            that may be incorporated or brought under the foregoing sections of the Bankruptcy Code,
            an adversary proceeding, lawsuit or other action or proceeding arising under, or relating
            to, any similar state law or federal law, and any other similar action or proceeding filed to
            recover property for or on behalf of the Estate, or to avoid a Lien or transfer, whether or


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            not such adversary proceeding, lawsuit, action or proceeding is initiated on or before the
            Effective Date.
                   18.     “Avoidance Action Payment Claim” means a Claim based upon or
            arising from an entity’s payment to the Debtor of a claim asserted against the entity
            pursuant to an Avoidance Action.
                   19.     “Bankruptcy Code” means the United States Bankruptcy Code, as set
            forth in 11 U.S.C. §§ 101-1532, as now in effect and as may be hereafter amended.
                   20.     “Bankruptcy Court” means the United States Bankruptcy Court for the
            Central District of California, Riverside Division.
                   21.     “Bankruptcy Rules” means, collectively, the Federal Bankruptcy Rules
            and the Local Bankruptcy Rules.
                   22.     “Bankruptcy Schedules” means the Schedules of Assets and Liabilities
            and Statement of Financial Affairs filed by the Debtor in the Case, as they may have been
            amended and as they may be amended hereafter from time to time.
                   23.     “Bar Date” means the last date for Creditors whose Claims are not
            scheduled, or whose Claims are scheduled in the Bankruptcy Schedules as disputed,
            contingent, unliquidated or unknown as to amount, to file Proofs of Claim, as set forth in
            an order of the Bankruptcy Court entered on September 20, 2018. The Bar Date for filing
            a Proof of Claim on account of a General Unsecured Claim was December 14, 2018.
                   24.        “BOW means Bank of the West.
                   25.        “BOW Loan Documents” means, collectively, the loan and security
            agreements among the Debtor, on one hand, and BOW, on the other hand, as such loan
            and security agreements may have been amended and as they may be amended hereafter
            from time to time, including, without limitation, the following instruments and
            agreements:
                           a.       Business Loan Agreement, dated March 7, 2016, between the
                   Debtor, as borrower, and BOW, as lender.




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                           b.     Promissory Note, dated March 7, 2016, in the principal amount of
                   $1,500,000, made by the Debtor in favor of BOW
                           c.     Change in Terms Agreement, dated June 12, 2018, with respect to
                   the Promissory Note dated March 7, 2016.
                           d.     Commercial Security Agreement, dated March 7, 2016, by and
                   between the Debtor, as grantor, and BOW, as lender.
                           e.     UCC Financing Statement, filed on March 16, 2016, filing number
                   16-7514465867.
                           f.     Promissory Note, dated August 30, 2016, in the principal amount of
                   $100,000, by and between the Debtor, as borrower, and BOW, as lender.
                           g.     Commercial Security Agreement, dated August 30, 2016, by and
                   between the Debtor, as grantor, and BOW, as lender.
                           h.     Master Equipment Financing Agreement, dated March 21, 2016, by
                   and between the Debtor, as debtor, and BOW, as creditor.
                           i.     UCC Financing Statement, filed on March 31, 2016, filing number
                   16-7517341075.
                           j.     Sixteen (16) Certificates of Title, for the State of California,
                   attached to Claim No. 38-1.
                           k.     Commercial Card Agreement.
                   26.     “BOW Secured Claim Compromise Motion” has the meaning set forth
            in Paragraph VII(A)(3)(c)(ii) of this Disclosure Statement.
                   27.     “BOW Subordinated Claim” has the meaning set forth in Paragraph
            VII(A)(3) of this Disclosure Statement.
                   28.     “Business Day” means any day other than a Saturday, Sunday or a legal
            holiday (as defined in Rule 9006(a) of the Federal Bankruptcy Rules).
                   29.     “Case” means the case under Chapter 11 of the Bankruptcy Code
            commenced by the Debtor on the Petition Date and bearing Case Number 6:18-bk-16624-
            SC.


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                    30.     “Case Closing Date” means the date on which the Bankruptcy Court
            enters a Final Decree closing the Case, in accordance with section 350 of the Bankruptcy
            Code.
                    31.     “Cash” means cash or cash equivalents including, but not limited to, bank
            deposits, checks or other similar forms of payment or exchange.
                    32.     “Causes of Action” means any and all claims, demands, rights, actions,
            causes of action and suits of the Debtor or the Estate, of any kind or character whatsoever,
            in contract or in tort, at law or in equity or under any other theory of law, that the Debtor
            or the Debtor’s Estate has or asserts, or may have or assert, against third parties, whether
            or not the subject of litigation or otherwise asserted as of the Effective Date, and which
            have not been settled or otherwise resolved by Final Order as of the Effective Date,
            including but not limited to: (a) Avoidance Actions; (b) claims for tax refunds; (c) claims
            to recover accounts receivable; (d) rights of setoff, counterclaim or recoupment; (e) claims
            on contracts or for breaches of duties; (f) claims or defenses for fraud, mistake, duress or
            usury; (g) rights to object to claims; and (h) any other claims or demands which may be
            asserted against third parties.
                    33.     “Claim” means a “claim” against the Debtor, as such term is defined in
            section 101(5) of the Bankruptcy Code.
                    34.     “Claims Objection Deadline” means the latest of the following dates:
            (a) the one hundred eightieth (180th) day after the Effective Date; (b) with respect to a
            specific Claim, the ninetieth (90th) day after a Proof of Claim with respect to such Claim
            is filed by a Creditor; or (c) with respect to a Claim that is not listed in the Bankruptcy
            Schedules, the ninetieth (90th) day after the Reorganized Debtor learns of the existence of
            such Claims; (c) with respect to a specific Claim, such greater period of limitation as may
            be fixed or extended by the Bankruptcy Court or by agreement of the Creditor asserting
            such Claim. Pursuant to the Plan, the Reorganized Debtor is entitled to seek from the
            Bankruptcy Court an order or orders extending the Claim Objection Deadline, on an ex
            parte basis, without the need for notice to creditors or a hearing thereon.


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                   35.      “Class” means a grouping of Claims or the Interest, as classified in
            Article IV of the Plan.
                   36.     “Collateral” means any property or interest in property of the Estate
            subject to a Lien of a Secured Creditor that is not subject to avoidance under the
            Bankruptcy Code or otherwise invalid under the Bankruptcy Code or applicable federal or
            state law.
                   37.      “Confirmation” means the entry of the Confirmation Order by the
            Bankruptcy Court.
                   38.      “Confirmation Date” means the date on which the Bankruptcy Court
            enters the Confirmation Order on its docket.
                   39.      “Confirmation Hearing” means the hearing before the Bankruptcy Court
            to consider the confirmation of the Plan pursuant to section 1128(a) of the Bankruptcy
            Code, as such hearing may be continued from time to time.
                   40.      “Confirmation Hearing Date” means the first date on which the
            Bankruptcy Court holds the Confirmation Hearing.
                   41.      “Confirmation Order” means the order of the Bankruptcy Court
            confirming the Plan under section 1129 of the Bankruptcy Code.
                   42.      “Corporate Governance Agreements” means, collectively, the articles
            of incorporation, by-laws and any and all other agreements, instruments and other
            documents providing for the governance of the Debtor as a corporation under the laws of
            the State of California.
                   43.      “Creditor” means the holder of a Claim against the Debtor.
                   44.      “Cure Claims” has the meaning set forth in Paragraph VIII(W)(5) of this
            Disclosure Statement.
                   45.      “Cure Claims Schedule” has the meaning set forth in Paragraph
            VIII(W)(5) of this Disclosure Statement.




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                   46.      “Debtor” means Lovejoy’s Family Moving, Inc. dba Republic Moving &
            Storage, the debtor and debtor-in-possession in the Case. For the purpose of this
            Disclosure Statement, references to the “Debtor” will include the Reorganized Debtor.
                   47.      “Deficiency Claim” means that portion of a Claim that is in excess of the
            value of the Collateral which is security for the repayment of such Claim, calculated in
            accordance with the provisions of section 506 of the Bankruptcy Code.
                   48.      “Disbursing Agent” means the entity charged with making Distributions
            under the Plan. The Reorganized Debtor will serve as Disbursing Agent under the Plan.
                   49.     “Disclosure Statement” means this Second Amended Disclosure
            Statement relating to the Plan, including, without limitation, all exhibits and schedules
            hereto, as approved by the Bankruptcy Court pursuant to section 1125 of the Bankruptcy
            Code, as may be amended, modified or supplemented from time to time in accordance
            with the provisions of the Bankruptcy Code and Bankruptcy Rules.
                   50.     “Disputed Claim” means any Claim as to which: (a) a Proof of Claim has
            been filed and the dollar amount of such Claim is not specified in a fixed amount; (b) a
            Proof of Claim has been filed, to the extent to which the stated amount of such Claim
            exceeds the amount of such Claim listed in the Bankruptcy Schedules; (c) a Proof of
            Claim has been filed and such Claim is not listed in the Bankruptcy Schedules; (d) a Proof
            of Claim has been filed, or is deemed filed under Rule 3003(b)(1) of the Federal
            Bankruptcy Rules, and is listed in the Bankruptcy Schedules as contingent, disputed,
            liquidated, or unknown as to amount; or (e) an objection, or request for estimation, has
            been filed by the Claims Objection Deadline and such objection or request for estimation
            has neither been withdrawn nor been denied by a Final Order.
                   51.      “Disputed Claims Reserve” has the meaning set forth in Paragraph
            VIII(U)(3) of this Disclosure Statement.
                   52.      “Disputed Class ‘***’ Claim” means a Disputed Claim classified in the
            specified Class.




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                   53.      “Distribution” means any transfer of Cash under the Plan to the holder of
            an Allowed Claim.
                   54.      “Distribution Schedule” has the meaning set forth in Paragraph
            VIII(S)(6) of this Disclosure Statement.
                   55.      “Effective Date” means the seventh (7th) day following the waiver or
            satisfaction of the conditions set forth in Section 6.3 of the Plan.
                   56.      “Estate” means the estate created in the Case under section 541 of the
            Bankruptcy Code.
                   57.      “Expenses” has the meaning set forth in Paragraph II(A)(80) of this
            Disclosure Statement.
                   58.      “Feasibility Analysis” has the meaning set forth in Paragraph XII(F)(1)
            of this Disclosure Statement.
                   59.     “Feasibility Projections” has the meaning set forth in Paragraph
            XII(F)(1)(l) of this Disclosure Statement.
                   60.      “Federal Bankruptcy Rules” means the Federal Rules of Bankruptcy
            Procedure, as now in effect and as may be hereafter amended.
                   61.      “Final Decree” has the meaning set forth in Paragraph VIII(R) of this
            Disclosure Statement.
                   62.      “Final Order” means an order or judgment of the Bankruptcy Court or
            other applicable court, as entered on the applicable docket, that has not been reversed,
            stayed, modified or amended, and as to which the time to appeal, petition for certiorari, or
            move for reargument or rehearing has expired and as to which no appeal, petition for
            certiorari, or other proceedings for reargument or to obtain a rehearing will then be
            pending or as to which any right to appeal, petition for certiorari, reargue, or obtain a
            rehearing will have been waived in writing in form and substance satisfactory to the
            Debtor or to the Reorganized Debtor, as the case may be, or, in the event that an appeal,
            writ of certiorari, or proceeding for reargument or rehearing of such order or judgment has
            been sought, such order or judgment will have been affirmed by the highest court to


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            which such order or judgment was appealed, or certiorari has been denied, or from which
            reargument or rehearing was sought, and the time to take any further appeal, petition for
            certiorari or move for reargument or rehearing will have expired.
                   63.      “General Unsecured Claim” means any Claim that is not an
            Administrative Claim, a Priority Tax Claim, a Priority Non-Tax Claim or a Secured
            Claim, including, without limitation, a Rejection Claim, a Deficiency Claim or an
            Avoidance Action Payment Claim.
                   64.     “GreatAmerica” means GreatAmerica Financial Services Corporation.
                   65.     “Interest” means an “equity security” in the Debtor, as such term is
            defined in section 101(16) of the Bankruptcy Code, no matter how held, including,
            without limitation, issued and outstanding shares of stock in the Debtor, and all rights and
            interests arising thereunder, and all rights to acquire equity securities in the Debtor,
            including, without limitation, pursuant to options, warrants, employee plans, or similar
            agreements, contracts or instruments.
                   66.      “Interest Holder” means Mr. Lovejoy, the holder of the Interest.
                   67.     “Leed Rancho” means Leed Rancho California I, a California limited
            partnership.
                   68.      “Lien” means any lien, security interest, mortgage, deed of trust,
            encumbrance, pledge or other charge against Assets of the Debtor.
                   69.      “Liquidation Analysis” has the meaning set forth in Paragraph XII(G) of
            this Disclosure Statement.
                   70.      “Loan Documents” means all loan documents, security documents,
            Liens, assignments of rent, promissory notes, indemnity agreements, surety agreements,
            purchase orders, invoices, and other contracts documenting a Creditor’s Claims against
            the Debtor.
                   71.      “Local Bankruptcy Rules” means the Local Bankruptcy Rules
            applicable to cases pending before the Bankruptcy Court, as now in effect and as may be
            hereafter amended.


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                   72.     “Medina” has the meaning set forth in Paragraph IV(C)(2) of this
            Disclosure Statement.
                   73.      “Mr. Lovejoy” means Joseph W. Lovejoy, the President of and the sole
            Interest Holder in the Debtor.
                   74.      “Ordinary Course Administrative Claim” means an Administrative
            Claim allowable under section 503(b) of the Bankruptcy Code, that is incurred in the
            ordinary course of the Debtor’s operations on administration of the Case, or the payment
            of which is provided for by an order of the Bankruptcy Court, exclusive of any Pre-
            Effective Date Professional Fee Claims, Administrative Tax Claims, United States
            Trustee Fees and any Claims asserted under section 503(b)(9) of the Bankruptcy Code.
                   75.     “Petition Date” means August 6, 2018, the date on which the Debtor filed
            its voluntary petition commencing the Case.
                   76.      “Plan” means the Second Amended Chapter 11 Plan of Reorganization,
            including, without limitation, all exhibits, supplements, appendices, and schedules thereto,
            either in its present form or as it may be altered, amended, or modified from time to time.
                   77.     “Post-Effective Date Lender” has the meaning set forth in Paragraph
            VII(A)(3)(c) of this Disclosure Statement.
                   78.     “Post-Effective Date Loan” has the meaning set forth in Paragraph
            VII(A)(3)(c) of this Disclosure Statement.
                   79.     “Post-Effective Date Notice Parties” has the meaning set forth in
            Paragraph VIII(X) of this Disclosure Statement.
                   80.     “Post-Effective Date Plan Expenses” means all voluntary and involuntary
            costs, expenses, charges, obligations, or liabilities of any kind or nature, whether matured,
            unmatured, non-contingent, contingent, liquidated, or unliquidated (collectively,
            “Expenses”) incurred after the Effective Date related to the implementation of the Plan,
            including, but not limited to: (a) the Expenses associated with administering the Plan,
            including any taxes assessed against the Assets; (b) all United States Trustee Fees; (c) the
            Expenses associated with making the Distributions required by the Plan; (d) any Expenses


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            associated with preparing and filing Tax returns and paying Taxes; and (e) the Expenses of
            independent contractors and Professionals providing services to the Reorganized Debtor.
                   81.      “Pre-Effective Date Professional” means a person employed in the Case
            prior to the Effective Date pursuant to an order of the Bankruptcy Court in accordance
            with sections 327 or 1103 of the Bankruptcy Code.
                   82.      “Pre-Effective Date Professional Fee Claim” means: (a) a Claim of a
            Pre-Effective Date Professional under sections 327, 328, 330, 331 or 1103 of the
            Bankruptcy Code for compensation for services rendered or expenses incurred prior to the
            Effective Date on behalf of the Estate; or (b) a Claim, arising prior to the Effective Date,
            either under section 503(b)(4) of the Bankruptcy Code or under section 503(b)(3)(D) of
            the Bankruptcy Code.
                   83.     “Priority Non-Tax Claim” means a Claim, other than an Administrative
            Claim or a Priority Tax Claim, entitled to priority in right of payment under section 507(a)
            of the Bankruptcy Code.
                   84.      “Priority Tax Claim” means a Claim entitled to priority under section
            507(a)(8) of the Bankruptcy Code.
                   85.      “Professional” means any attorney, accountant, appraiser, auctioneer,
            broker, financial consultant, expert or other professional person.
                   86.      “Proof of Claim” means a statement under oath filed in the Case by a
            Creditor in which the Creditor sets forth the amount claimed to be owed to it and detail
            sufficient to identify the basis for the Claim, in accordance with Rule 3001 of the Federal
            Bankruptcy Rules.
                   87.      “Pro Rata” means proportionately so that the ratio of (a) the amount of
            consideration distributed on account of an Allowed Claim to (b) the amount of the
            Allowed Claim is the same as the ratio of (x) the amount of consideration distributed on
            account of all Claims in the Class in which that Allowed Claim is included to (y) the
            amount of all Claims in that Class.
                   The Pro Rata formula is illustrated as follows:


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                        (a) Amount of consideration distributed       (x) Total consideration distributed to
                            to a holder of an Allowed Claim               holders of Allowed Claims in that
                                                                          Class
                                          ÷                       =                       ÷
                        (b) Amount of such Allowed Claim              (y) Amount of all Allowed Claims in that
                                                                          Class

                   For the purpose of the application of this definition, in calculating the

            Distributions to be made under the Plan, the Reorganized Debtor will establish Reserves,
            on account of Disputed Class 5 Claims, in accordance with the provisions of Section
            8.4.3 of the Plan.
                   88.         “Rejection Claim” means any General Unsecured Claim based upon or
            arising from the rejection of an executory contract or unexpired lease pursuant to a Final
            Order of the Bankruptcy Court or pursuant to the Plan.
                   89.         “Reorganized Debtor” means the Debtor, as its financial affairs are
            reorganized from and after the Effective Date. For the purpose of this Disclosure
            Statement, a reference to the “Reorganized Debtor” includes the Debtor.
                   90.         “Representatives” has the meaning set forth in Paragraph VIII(G)(4) of
            this Disclosure Statement.
                   91.         “Reserves” means, collectively, the Disputed Claims Reserve, the
            Unclaimed Property Reserve, and any other reserves required to be established pursuant to
            the Plan.
                   92.         “Secured Claim” means a Claim that is secured by a Lien against
            property in which the Estate has an interest, or that is subject to setoff under section 553
            of the Bankruptcy Code. Pursuant to the Plan, a Claim is a Secured Claim only to the
            extent of the value, determined under section 506(a) of the Bankruptcy Code, of the
            Secured Creditor’s interest in the Estate’s interest in the Collateral securing the Claim, or
            to the extent of the amount subject to setoff, whichever is applicable.
                   93.         “Secured Creditor” means the holder of a Secured Claim.
                   94.         “Tax” means any tax, charge, fee, levy, or other assessment by any
            federal, state, local or foreign taxing authority, including, without limitation, income,


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             excise, property, sales, transfer, employment, payroll, franchise, profits, license, use, ad
             valorem, estimated, severance, stamp, occupation and withholding tax. Pursuant to the
             Plan, “Tax” includes any interest, penalties or additions attributable to, or imposed on or
             with respect to, such assessments.
                     95.     “Tax Claim” means any Claim, pre-petition or post-petition, relating to a
             Tax.
                     96.     “Trans Advantage” means Trans Advantage, Inc.
                     97.     “Unclaimed Property” has the meaning set forth in Section 7.2.7 of the
             Plan.
                     98.     “Unclaimed Property Reserve” has the meaning set forth in Section 7.2.7
             of the Plan.
                     99.     “Unencumbered Assets” has the meaning set forth in Paragraph
             VII(A)(3)(c)(ii) of this Disclosure Statement.
                     100.    “Unencumbered Assets Loan” has the meaning set forth in
             Paragraph VII(A)(3)(c)(ii) of this Disclosure Statement.
                     101.     “United States Trustee” means the Office of the United States Trustee
             for the Central District of California.
                     102.     “United States Trustee Fees” means all fees and charges assessed
             against the Debtor or the Reorganized Debtor by the United States Trustee and due
             pursuant to section 1930 of title 28 of the United States Code.
                     103.     “Western Equipment” means Western Equipment Finance, Inc.
             B.      Rules of Interpretation.
             For the purpose of this Disclosure Statement, unless otherwise provided in this Disclosure
      Statement, (1) the rules of construction set forth in section 102 of the Bankruptcy Code apply to
      this Disclosure Statement; (2) Rule 9006(a) of the Federal Bankruptcy Rules applies when
      computing any time period under the Plan referenced in this Disclosure Statement; (3) a term that
      is used in this Disclosure Statement and that is not defined in this Disclosure Statement has the
      meaning attributed to that term, if any, in the Bankruptcy Code or in the Bankruptcy Rules;


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      (4) the definition given to any term or provision in the Plan supersedes any different meaning that
      may be given to that term or provision in this Disclosure Statement; (5) whenever it is appropriate
      from the context, each term, whether stated in the singular or the plural, includes both the singular
      and the plural; (6) each pronoun stated in the masculine, feminine or neuter includes each of the
      masculine, feminine and neuter; (7) any reference to an exhibit, schedule, instrument or other
      document means such exhibit, schedule, instrument or other document as it has been, or may be,
      amended, modified, restated or supplemented as of the Confirmation Date, and any such exhibit,
      schedule, instrument or other document will be deemed to be included in this Disclosure
      Statement, regardless of when it is filed; (8) the phrases “under this Disclosure Statement,”
      “hereof,” “hereto,” “hereunder,” and similar words or phrases, refer to this Disclosure Statement
      in its entirety rather than to only a portion of this Disclosure Statement; (9) unless otherwise
      indicated, all references in this Disclosure Statement to paragraphs, articles or exhibits are
      references to paragraphs, articles or exhibits in this Disclosure Statement; (10) paragraph captions
      and headings are used for convenience only and do not affect the meaning of this Disclosure
      Statement; and (11) any reference to the holder of a Claim or Interest includes that entity’s
      successor and assigns.
              C.     Exhibits.
              All exhibits to this Disclosure Statement are incorporated into and are a part of this
      Disclosure Statement as if set forth in full herein.
                                                       III.
                               OVERVIEW OF THE CHAPTER 11 PROCESS,
                                 THE PLAN AND VOTING ON THE PLAN
             A.      The Chapter 11 Process.
              Chapter 11 of the Bankruptcy Code provides debtors with a “breathing spell” within
      which to propose a restructuring of their obligations to third parties. The filing of a Chapter 11
      bankruptcy petition creates a bankruptcy “estate” comprising all of the assets and property
      interests of the debtor. Unless a trustee is appointed by the bankruptcy court for cause (no trustee
      has been appointed in the Case), a debtor remains in possession and control of all its assets as a


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      “debtor-in-possession.” The debtor may continue to operate its business in the ordinary course on
      a day-to-day basis without bankruptcy court approval. Bankruptcy court approval is required
      only for various kinds of transactions as to which the Bankruptcy Code requires approval (such as
      certain financing transactions) and transactions out of the ordinary course of a debtor’s business.
      The filing of the bankruptcy petition gives rise to what is known as the “automatic stay” which,
      generally, enjoins creditors from taking any action to collect or recover obligations owed by a
      debtor prior to the commencement of a Chapter 11 case. The bankruptcy court can, however,
      grant relief from the automatic stay, under certain specified conditions or for cause.
                   A Chapter 11 debtor, as in this case, may propose a plan providing for the reorganization
      of the debtor. A plan provides, among other things, for the treatment of the claims of the debtor’s
      creditors and the interests of the debtor’s shareholders.
                   B.     Overview of the Debtor’s Proposed Plan.
                   The following is a brief overview of the material provisions of the Plan and is qualified in
      its entirety by reference to the full text of the Plan. For a more detailed description of the terms
      and provisions of the Plan, see Articles VI and VII below.
                   The primary objective of the Plan is for the Debtor to reorganize its financial affairs
      pursuant to a comprehensive debt restructuring of the Debtor, in accordance with the terms and
      conditions of the Plan. Pursuant to the Plan, the Debtor will continue in business after the
      confirmation of the Plan, and will satisfy Allowed Claims of Creditors in accordance with the
      terms and conditions of the Plan.
                   The Plan designates five (5) Classes of Claims and one (1) Class of Interests, which
      include all Claims against, and Interests in, the Debtor. These Classes take into account the
      differing nature and priority under the Bankruptcy Code of the various Classes and Interests.
                   The following table summarizes the treatment of Claims and Interests under the Plan.
                         SUMMARY OF CLAIMS AND INTERESTS UNDER THE PLAN
           Class        Claim/Interest                                   Summary of Treatment4
            N/A     Allowed Administrative      Payment in full, in Cash, on or about the Effective Date or as an
                    Claims                      Administrative Claim is allowed by the Bankruptcy Court.

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          This is only a summary of the treatment of Claims and Interests under the Plan. Creditors should refer to Articles VI

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        Class        Claim/Interest                                   Summary of Treatment4
        N/A      Allowed Priority Tax        Payment in full, in equal quarterly installments through July 1, 2023,
                 Claims                      including interest thereon.
          1      Allowed Secured Claim       Entitled to receive the Distributions of its Allowed Secured Claim and the
                 of BOW                      BOW Subordinated Claim set forth in Section 5.1 of the Plan.
          2      Any Allowed Secured         Entitled to receive the Distributions set forth in Section 5.2 of the Plan.
                 Claims of the Creditors
                 Listed in Section 4.2.1.2
                 of the Plan
          3      Allowed Secured Claims      Entitled to receive one of the payment options, elected by the Reorganized
                 other than Class 1 or       Debtor, set forth in Section 5.3 of the Plan.
                 Class 2 Secured Claims.
          4      Allowed Priority Non-       Payment in full, in Cash, on or about the Effective Date, or as a Priority
                 Tax Claims                  Non-Tax Claim is allowed by the Bankruptcy Court.
          5      Allowed General             Payment of Pro Rata Distributions of the total amount of $450,000 paid in
                 Unsecured Claims            four annual installments over the course of the Plan, as set forth in
                                             Section 5.5 of the Plan.
          6      Allowed Interest            The sole Interest Holder, Mr. Lovejoy, will retain, without alteration or
                                             modification, his Interest.

                Set forth in Paragraph XII(F) hereof is a discussion of the projected recoveries by

      Creditors in the Case.
                C.     Plan Confirmation and Voting and Objections to the Plan.
                The Bankruptcy Court has not yet confirmed the Plan described in this Disclosure
      Statement. In other words, the terms of the Plan are not yet binding on the Debtor, Creditors and
      the Interest Holder. However, if the Bankruptcy Court confirms the Plan, the Plan will be
      binding on the Debtor and on all Creditors and the Interest Holder in the Case.
                       1.        Voting on the Plan. A Creditor may vote to accept or to reject the Plan by
                filling out and mailing to the Debtor’s counsel the form of the ballot that has been
                provided herewith. Ballots should be mailed or e-mailed to Winthrop Couchot Golubow
                Hollander, LLP, located at 1301 Dove Street, Suite 500, Newport Beach, California 92660
                (Attn: Jeannie Martinez).
                       Any Creditor holding Claims in more than one impaired Class must submit one

                ballot for each such Class. If a Creditor has received an incorrect ballot, or believes that




      and VII of this Disclosure Statement for a more complete discussion of the treatment of Allowed Claims and Allowed
      Interests under the Plan.
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            he is entitled to vote in more than one Class, additional ballots may be obtained upon

            written request made to Winthrop Couchot (Attn: Jeannie Martinez).

                    In order to vote for or against the Plan, a Creditor must have filed a Proof of Claim

            on or before the Bar Date, unless his Claim is listed in the Bankruptcy Schedules filed in

            the Case by the Debtor as not being disputed, unliquidated, contingent or unknown. Any

            such Creditor is, to the extent listed in the Bankruptcy Schedules, deemed to have filed a

            Claim, and absent a timely objection to the Claim, such Claim is deemed allowed. In

            order to determine whether a Creditor is entitled to vote on the Plan notwithstanding any

            failure to timely file a Proof of Claim, the Creditor should review the Debtor’s Bankruptcy

            Schedules on file with the Bankruptcy Court. If a Creditor’s Claim is not scheduled, or, if

            it is scheduled as contingent, disputed, unliquidated or unknown and the Creditor did not

            file a Proof of Claim prior to the Bar Date, the Creditor may not be entitled to vote on the

            Plan.

                    The following types of Claims are not entitled to vote on the Plan: (a) Claims that

            have been disallowed; (b) Claims in an unimpaired Class; and (c) Administrative Claims

            and Priority Tax Claims. Claims in unimpaired Classes are not entitled to vote because

            such Classes are deemed to have accepted the Plan. Administrative Claims and Priority

            Tax Claims are not entitled to vote because such Claims are not placed in Classes and they

            are required to receive certain treatment specified by the Bankruptcy Code. EVEN IF

            YOUR CLAIM IS OF THE TYPE DESCRIBED ABOVE, YOU MAY STILL HAVE

            A RIGHT TO OBJECT TO THE CONFIRMATION OF THE PLAN.

                    2.     Deadline for Voting for or Against the Plan. The Bankruptcy Court has
            fixed May 10, 2019, at 5:00 p.m. Pacific Time, as the last date by which ballots must be
            received by Winthrop Couchot, the Debtor’s counsel. Subject to review and
            determination by the Bankruptcy Court, votes received by Winthrop Couchot after that
            date may not be counted. Whether or not a Creditor votes on the Plan, he will be bound
            by the terms of the Plan and the treatment of his Claim set forth in the Plan if the Plan is
            confirmed by the Bankruptcy Court. Absent some affirmative act constituting a vote, a

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            Creditor will not be included in the voting tally. Allowance of a Claim for voting
            purposes does not necessarily mean that all or a portion of the Claim will be allowed for
            distribution purposes.
                   Since, subject only to any order of the Bankruptcy Court to the contrary, only the

            votes of those Creditors whose ballots are timely received may be counted in determining

            whether a Class has accepted the Plan, Creditors are urged to fill in, date, sign and

            promptly mail the enclosed ballot.

                   3.      Time and Place of the Confirmation Hearing. Section 1128(a) of the
            Bankruptcy Code requires the Bankruptcy Court, after notice, to hold a hearing on
            confirmation of the Plan. The hearing at which the Bankruptcy Court will determine
            whether or not to confirm the Plan will take place on June 11, 2019, at 1:30 p.m., in
            Courtroom 5C, 411 West Fourth Street, Santa Ana, California; a video conference of the
            Confirmation Hearing also will take place in Video Hearing Room 126, located at 3420
            Twelfth Street, Riverside, California. The Confirmation Hearing may be adjourned from
            time to time by the Bankruptcy Court without further notice except for an announcement
            made at the Confirmation Hearing.
                   4.      Deadline For Objecting to the Confirmation of the Plan. Section
            1128(b) of the Bankruptcy Code provides that any party-in-interest may object to the
            confirmation of the Plan. Objections to the confirmation of the Plan must be in writing
            and conform to the requirements of the Bankruptcy Rules and must be filed with the
            Bankruptcy Court and served upon the following: counsel to the Debtor, Winthrop
            Couchot, Attn: Peter W. Lianides, 1301 Dove Street, Suite 500, Newport Beach, CA
            92660; and upon the United States Trustee, Attn: Abram S. Feuerstein, Esq., 3801
            University Ave, Suite 720, Riverside, CA 92501, so as to be received by 5:00 p.m.
            (Pacific Time) on May 10, 2019. Objections to confirmation of the Plan are governed by
            Rule 9014 of the Federal Bankruptcy Rules. UNLESS AN OBJECTION TO
            CONFIRMATION IS TIMELY AND PROPERLY SERVED AND FILED, IT MAY
            NOT BE CONSIDERED BY THE BANKRUPTCY COURT.

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                   5.      Plan Confirmation. The Bankruptcy Court will confirm the Plan if the
            requirements of section 1129 of the Bankruptcy Code are satisfied. Section 1129 requires,
            among other things, that: (a) with respect to each Class of Claims, each holder of a Claim
            in that Class has accepted the Plan, or will receive or retain under the Plan on account of
            such Claim, property of a value that is not less than the amount that such holder would
            receive if the Debtor were to liquidate its assets under Chapter 7 of the Bankruptcy Code;
            (b) confirmation of the Plan is not likely to be followed by a liquidation of the Debtor or
            the need for further reorganization of the Debtor unless liquidation or further
            reorganization is proposed by the Plan (the Plan does not propose a liquidation of the
            Debtor); and (c) the Plan be accepted by each Class of Claims that is impaired by the Plan,
            or the Plan does not discriminate unfairly and is fair and equitable to any impaired Class
            that has not accepted the Plan.
                   To confirm the Plan, the Bankruptcy Court must determine whether each

            “impaired” Class entitled to vote on the Plan has accepted the Plan. Pursuant to

            section 1124 of the Bankruptcy Code, Classes “impaired” by the Plan are those Classes

            whose legal, equitable or contractual rights are altered pursuant to the Plan. Under

            section 1126(c) of the Bankruptcy Code, an impaired Class of Claims is deemed to have

            accepted the Plan if the Plan is accepted by Creditors in that Class holding at least two-

            thirds (2/3) in dollar amount and more than one-half (1/2) in number of the Allowed

            Claims of Creditors in that Class actually voting on the Plan.

                   The Debtor intends to request that the Bankruptcy Court confirm the Plan pursuant

            to the provisions of section 1129(a) of the Bankruptcy Code. However, if any Class of

            Claims votes against the Plan, or is deemed to have voted against the Plan, the Debtor will

            seek to confirm the Plan under section 1129(b) of the Bankruptcy Code. Pursuant to

            section 1129(b), the Plan may be confirmed despite the failure of an impaired Class of

            Claims to accept the Plan if the Bankruptcy Court determines that the Plan does not

            discriminate unfairly and is fair and equitable with respect to each Class of Claims that is

            impaired under, and that has not accepted, the Plan, and determines that the Plan otherwise

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            complies with the requirements of section 1129(b) of the Bankruptcy Code. The condition

            that the Plan be fair and equitable with respect to such nonaccepting Classes includes

            certain legal requirements more fully set forth in section 1129(b).

                   6.      Identity of Person to Contact for More Information Regarding this
            Disclosure Statement or the Plan. Any interested party desiring further information
            about this Disclosure Statement or the Plan should contact counsel for the Debtor,
            Winthrop Couchot, Attn: Peter W. Lianides, 1301 Dove Street, Suite 500, Newport
            Beach, CA 92660; telephone no. (949) 720-4100.
                                                     IV.
                                  BACKGROUND OF THE DEBTOR
            A.     Description and History of the Debtor’s Business.
                   1.      Debtor’s Business. The Debtor is a corporation duly organized and

            existing under the laws of the State of California. The Debtor is located in Chula Vista,

            California and Bonsall, California. The Debtor is engaged in the business of providing

            moving and storage services. The President of the Debtor is Mr. Lovejoy.

                   2.      Debtor’s Financial Affairs. Copies of the Debtor’s balance sheets, as of
            December 31, 2016 and December 31, 2017, and the Debtor’s profit and loss statements
            for its 2016 and 2017 fiscal years, will be provided upon written request made to the
            Debtor’s counsel, Winthrop Couchot, Attn: Peter W. Lianides, Esq. at the address listed in
            the upper left-hand corner of the first page of this Disclosure Statement. Also, the
            Debtor’s Bankruptcy Schedules and monthly operating reports submitted by the Debtor to
            the United States Trustee are available for inspection, during normal business hours, at the
            Bankruptcy Court Clerk’s Office, located at 3420 Twelfth Street, Riverside, CA 92501.
            Attached as Exhibit “A” hereto is a copy of the most recent (February 2019) monthly
            operating report filed by the Debtor in the Case.
                   3.      Corporate History. The Debtor was founded in 2008. The Debtor’s
            principal place of business is located in Chula Vista, California.



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                   4.      Events Precipitating the Debtor’s Bankruptcy Filing. The Debtor’s
            operations historically have been profitable. The Debtor’s operations were very successful
            in 2012 and in 2013. While the Debtor’s operations continued to be profitable, the
            Debtor’s operations began to decline in profitability in or about 2015. The reasons for the
            decline in the Debtor’s profitability include the following:
                           a.      Increased Rent. The rent paid by the Debtor for its facilities

                   increased substantially from 2013 through 2018. Rents for the same locations

                   increased from approximately $467,000 per year in 2013 to approximately

                   $876,000 per year in 2018.

                           b.      Increase in Overhead Expenses. The Debtor’s overhead expenses

                   increased from approximately $952,000 in 2015 to approximately $1,357,000 in

                   2017, due primarily to the Debtor’s desire to enhance services to its customer base.

                           c.      Expansion of Facilities. At the request of a customer of the Debtor,

                   the Debtor expanded its operations by leasing a facility in Palm Desert, California

                   in 2016. The Debtor’s Palm Desert operations suffered losses of approximately

                   $190,000 in 2016 and approximately $182,000 in 2017. The Debtor closed its

                   operations in Palm Desert during the end of 2017.

                           d.      Cost of Equipment Acquisition. From 2014 through 2016, the
                   Debtor acquired a significant amount of new rolling stock in order to meet

                   environmental requirements imposed by the State of California, resulting in

                   significantly increased debt service associated with such acquisitions.

                           e.      Business Acquisition Debt. In 2017, the Debtor pursued what it

                   believed to be a promising acquisition of a business located in Virginia (“Virginia

                   Business Acquisition”). The Debtor incurred, over a period of approximately 12

                   months, approximately $350,000 in expenses associated with the proposed Virginia

                   Business Acquisition. The Debtor had obtained from a funding source a

                   commitment to provide funding for the proposed Virginia Business Acquisition, to

                   satisfy the Debtor’s obligations to BOW, and to provide working capital for the

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                   Debtor’s operations. However, in or about May 2018, the Debtor’s funding source

                   determined not to provide such funding to the Debtor, leaving the Debtor without

                   any ability to consummate the proposed Virginia Business Acquisition or to satisfy

                   the Debtor’s obligations to BOW, and without working capital sufficient for the

                   Debtor’s operations.

                           f.      High Interest Rate, Short-Term Borrowings. In order to address

                   the Debtor’s increased overhead, the costs associated with the Debtor’s obtaining

                   (and exiting) the Debtor’s facility in Palm Desert, California and the costs

                   associated with the proposed Virginia Business Acquisition, the Debtor began

                   obtaining short-term unsecured loans with very high rates of interest. Certain of

                   such loans had effective rates of interest of more than 100% per annum. As a result

                   of the obtaining of such loans, the Debtor’s debt service increased substantially.

                           g.      Guarantee of Affiliated Debt. The Debtor guaranteed obligations

                   of an affiliate of the Debtor, JRL Transportation, Inc. (“JRL”) with respect to a real

                   property lease of JRL. JRL failed to pay certain obligations under that lease, and,

                   as a consequence thereof, the Debtor was sued for an amount of approximately

                   $134,000.

                   As a result of the foregoing, the Debtor’s profits declined and the Debtor suffered

            significant cash flow problems. The Debtor’s debt burdens increased to levels that were

            not feasible for the Debtor to service. While the Debtor acted diligently to address these

            financial difficulties, such as by terminating its Palm Desert, California operations, by

            terminating the proposed Virginia Business Acquisition, by cutting expenses and acting to

            enhance revenues, the Debtor was left with a debt structure that was unsustainable for the

            Debtor.

                   Accordingly, in order to restructure the Debtor’s debts, on August 6, 2018, the
            Debtor filed a Chapter 11 petition for relief commencing the Case. The Debtor acts as
            debtor-in-possession in the Case pursuant to the provisions of sections 1107 and 1008 of
            the Bankruptcy Code.

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             B.         Management of the Debtor.
             The Debtor was founded in 2007 by Mr. Lovejoy. The officers and directors of the Debtor
      are as follows:
                               1.     Officer.
                               Mr. Lovejoy, President

                               2.     Corporate Director.

                               Mr. Lovejoy

             C.         Significant Events During the Case.

             Since the Petition Date, the Debtor has continued to operate its business and to manage its

      assets, as debtor-in-possession, pursuant to Bankruptcy Code sections 1107(a) and 1108. The

      Debtor has acted diligently to reorganize its business, and to enhance the profitability of its

      business. The following is a list of significant events which have occurred during the Case.

                        1.     Debtor’s Employment of Counsel. On August 20, 2018, the Debtor filed

             an application to employ Illyssa I. Fogel & Associates as the Debtor’s general insolvency

             counsel. On September 11, 2018, the Court entered an order granting such application.

                        On December 6, 2018, the Debtor filed an application to employ Winthrop Couchot

             as the Debtor’s general insolvency counsel in place and stead of Illyssa I. Fogel &

             Associates. [Docket No. 96] (“Employment Application”). On December 20, 2018, the

             United States Trustee filed an objection to the Employment Application, asserting certain

             objections to the financial terms of the Debtor’s proposed employment of Winthrop

             Couchot, but not to the employment itself. The United States Trustee and Winthrop

             Couchot resolved the United States Trustee’s concerns. On February 5, 2019, the

             Bankruptcy Court authorized the Debtor to employ Winthrop Couchot as the Debtor’s

             general insolvency counsel in the Case.

                        On January 25, 2019, the Debtor filed an application to employ Clark Hill, PLC

             (“Clark Hill”) as its special litigation counsel in the Case [Docket No. 134]. The fees and

             costs of Clark Hill will be paid by insurance available to the Debtor.



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                    2.      Debtor’s Employment of Accountants. On November 29, 2018, the

            Debtor filed an application to employ Medina, Horning & Kruse, LLP (“Medina”) as its

            accountants in the Case. [Docket No. 86]. On January 4, 2019, the Bankruptcy Court

            entered an order granting such application. [Docket No. 116].

                    3.      Bar Date. The Bankruptcy Court has set December 14, 2018 as the general

            Bar Date in the Case. March 19, 2019 is the Bar Date for governmental units to file Proofs

            of Claim.

                    4.      Cash Collateral Stipulations. The Debtor and BOW have entered into,

            from time to time during the Case, stipulations [Docket Nos. 45, 69, 80, 95, 131] by which

            BOW has consented to the Debtor’s use of any “cash collateral” of BOW, as that term is

            defined in section 363(a) of the Bankruptcy Code, in accordance with the terms of such

            stipulations and the operating budgets appended thereto. The Bankruptcy Court has

            entered orders approving such stipulations. As of the date of this Disclosure Statement, the

            Debtor’s right to use any cash collateral of BOW extends through March 5, 2019. The

            Debtor anticipates that BOW will consent to the Debtor’s further use of any cash collateral

            through the Effective Date.

                    5.      Motion to Reject Leases and Contracts. On November 21, 2018, the

            Debtor filed a motion to obtain from the Bankruptcy Court authority for the Debtor to

            reject its interest in a vehicle lease with First Foundation Bank, pursuant to 11 U.S.C. §

            365 [Docket 82]. On December 18, 2018, the Bankruptcy Court entered an order granting

            such motion. [Docket no. 104].

                    On December 12, 2018, the Debtor filed a motion to obtain from the Bankruptcy

            Court authority for the Debtor to reject its interest in its lease of its former facility located

            in Temecula, California, and to reject certain equipment leases and service contracts

            [Docket No. 101]. On January 8, 2019, the Bankruptcy Court entered an order granting

            such motion. [Docket No. 122].

                    6.      Motion to Extend Time to Assume or Reject Real Property Lease. On
            December 3, 2018, 2018, the Debtor filed a motion to obtain from the Bankruptcy Court an

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            order extending the time, provided by section 365(d)(4) of the Bankruptcy Code, for the

            Debtor to determine whether to assume or reject the Debtor’s interest, as lessee, under its

            lease for that real property commonly known as 2311 Boswell Rd., Suites #1, #3 and #5,

            Chula Vista, California [Docket No. 94]. On January 3, 2019, the Bankruptcy Court

            entered an order granting such motion, extending through March 4, 2019, the time for the

            Debtor to determine whether to assume or reject its interest under such real property lease.

            [Docket no. 114].

                   7.      Motion to Extend Debtor’s Plan Exclusivity Rights. On December 3,

            2018, the Debtor filed a motion requesting that the Bankruptcy Court extend the Debtor’s

            exclusive rights, under section 1121 of the Bankruptcy Code, to file a Chapter 11 plan and

            to seek acceptances of such plan [Docket No. 92]. On January 28, 2019, the Bankruptcy

            Court entered an order granting such motion, extending through and including

            February 22, 2019, the Debtor’s exclusive right to file a Chapter 11 plan and the Debtor’s

            right to seek acceptance of such a plan. [Docket No. 115]. The Bankruptcy Court

            thereafter entered an order extending the Debtor’s exclusive right to seek to obtain

            confirmation of the Plan under section 1121 of the Bankruptcy Code.

                   8.      Motion for Approval of Compromise and Transaction Outside of the

            Ordinary Course of the Debtor’s Business. On December 19, 2018, the Debtor filed a
            motion requesting that the Bankruptcy Court enter an order authorizing the Debtor to enter

            into an “Agreement for Assignment of Storage Contracts” with JRL Transportation, Inc.,

            and a “License Agreement” with Harmony Moving, Inc. [Docket No. 106]. On January 8,

            2019, the Bankruptcy Court entered an order granting such motion. [Docket no. 123]

                   9.      Motion to Approve Compromise of Litigation. On January 25, 2019, the
            Debtor filed a motion requesting that the Bankruptcy Court enter an order approving the
            Debtor’s proposed compromise of a person injury action pending in Riverside County,
            Daniel Mendez v. Carlos Torres et al. Case no. RIC16141712 (the “Riverside Action”)
            [Docket No. 136]. Pursuant to such motion, the settlement payment to the plaintiff is
            funded by the Debtor’s insurance carrier, Vanliner Insurance Company.

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                                                         V.

                              LITIGATION AND OBJECTIONS TO CLAIMS

             A.       Litigation Commenced Prior to the Petition Date.
              As of the Petition Date, the Debtor was a party to only one action, a personal injury action

      filed against the Debtor as a result of a motor vehicle accident involving one of the Debtor’s

      drivers. That action now has been settled and the settlement will be funded by insurance. This

      litigation therefore should have no material impact on the implementation of the Plan.

             B.      Litigation Commenced After the Petition Date.

              From the Petition Date through the date of the filing of this Disclosure Statement, the

      Debtor commenced no litigation. The Debtor is evaluating whether to pursue Causes of Action,

      and, based upon its preliminary evaluation, believes that it is likely that it will assert, pursuant to

      section 547 of the Bankruptcy Code, claims to recover preferential transfers. As of the date of

      this Disclosure Statement, however, the Debtor’s evaluation in this regard was not complete.

      Notwithstanding any otherwise applicable principle of law or equity, including, without

      limitation, any principle of judicial estoppel, res judicata, collateral estoppel, issue preclusion, or

      any similar doctrine, the failure to list, disclose, describe, identify, analyze or refer to any Cause

      of Action, or potential Cause of Action, in the Plan, this Disclosure Statement, or any other

      document filed with the Bankruptcy Court will in no manner waive, eliminate, modify, release,

      impair or alter the Debtor’s or the Reorganized Debtor’s right to commence, prosecute, defend

      against, settle, and realize upon any Cause of Action that the Debtor or the Estate has or may

      have as of the Effective Date. Unless otherwise provided in the Plan or in the Confirmation

      Order, to the extent that any filed or to-be-filed actions are not resolved as of the Effective Date,

      the Reorganized Debtor will have the right to prosecute, settle, or otherwise resolve or dispose of

      Causes of Action in the Case.

              The discussion regarding litigation and objections to Disputed Claims contained in this

      Article is for informational purposes only. Nothing contained herein is intended, nor should be

      construed, to be any admission or acknowledgement by the Debtor of any matter pertaining to



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      Causes of Action in the Case. The Debtor and the Reorganized Debtor reserve all of their

      respective rights and remedies with respect to Causes of Action.

              The Debtor has not completed its review, analysis and investigation of the Proofs of

      Claim with regard to determining whether any potential Causes of Action exist to subordinate any

      Claims. The Debtor reserves the right to assert Causes of Action to subordinate any Claims in the

      Case.

              Similarly, the Debtor has not completed its review, analysis and investigation of the

      Proofs of Claim and the preparation of objections to Disputed Claims. The Debtor expects that it

      and the Reorganized Debtor will pursue objections to Disputed Claims.

                                                       VI.

                                       DESCRIPTION OF THE PLAN

              The following is a brief summary of the Plan and is qualified in its entirety by the full text

      of the Plan. The terms of the Plan will be controlling on Creditors in the event that the Plan is

      confirmed. Therefore, all Creditors are urged to read the Plan carefully in its entirety rather than

      relying on this summary.

              A.     Basic Structure of the Plan.

              The Plan proposes to pay the Claims of five (5) Classes of Creditors in accordance with the

      provisions of the Plan. The Plan provides for the establishment of one (1) Class consisting of the

      Interest Holder.

              B.     Classification and Treatment of Claims.

              Section 1123 of the Bankruptcy Code requires that the Debtor, with certain exceptions,

      classify separately in the Plan all Claims. Pursuant to section 1122 of the Bankruptcy Code, the

      Debtor may place all Claims that are substantially the same in the same Class in the Plan.

      Section 1123(a)(4) of the Bankruptcy Code requires that the Plan provide the same treatment for

      all Claims in the same Class, unless the holder of a particular Claim agrees to a less favorable

      treatment of that Claim.

              Section 1123(a) of the Bankruptcy Code requires that the Debtor specify in the Plan any

      Class that is not “impaired” by the Plan and specify the treatment of any Class that is impaired by

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      the Plan. Pursuant to section 1124 of the Bankruptcy Code, a Class of Claims is “impaired” by the

      Plan, unless the Plan (1) leaves unaltered the legal, equitable and contractual rights of holders of

      the Claims, or (2) cures any defaults with respect to the Claims which occurred before the Petition

      Date, reinstates the maturity of the Claims, and compensates the holders of the Claims for any

      damages incurred by them as a result of any reasonable reliance by them on contractual provisions

      or applicable law entitling them to receive accelerated payment after the occurrence of such

      defaults, or (3) provides that, on the Effective Date, the holders of such Claims will receive Cash

      equal to the amount of their Allowed Claims. Pursuant to section 1126(f) of the Bankruptcy Code,

      a Class of Claims that is not impaired by the Plan is conclusively presumed to have accepted the

      Plan, and is not entitled to vote on the Plan.

             Classes 3 (Allowed Secured Claims, other than Class 1 or Class 2 Secured Claims), 4

      (Allowed Priority Non-Tax Claims) and Class 6 (Interests) are not “impaired” under the Plan and,

      therefore, are not entitled to vote on the Plan. Classes 1 (Allowed Secured Claim of BOW), Class

      2 (Any Allowed Secured Claims set forth in Section 4.2.1.2 of the Plan) and Class 5 (Allowed

      General Unsecured Claims) are “impaired” under the Plan. Classes 1, 2 and 5 are entitled to vote

      on the Plan.

             C.      Unclassified Claims.

             In accordance with the provisions of section 1123(a)(1) of the Bankruptcy Code,

      Administrative Claims and Priority Tax Claims are not classified under the Plan. These Claims

      are not considered impaired, and they do not vote on the Plan, because they are automatically

      entitled to specific treatment provided for them in the Bankruptcy Code. Accordingly, the Debtor

      has not placed Administrative Claims and Priority Tax Claims in a Class. The treatment of these

      unclassified Claims is as provided below.

                     1.      Allowed Administrative Claims. Administrative Claims generally are
             Claims for the expenses of administering the Debtor’s Case that are allowed under

             section 503(b) of the Bankruptcy Code. Administrative Claims also include Claims

             provided for by section 503(b)(9) of the Bankruptcy Code. The Bankruptcy Code requires



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             that all Administrative Claims be paid on the Effective Date of the Plan, unless a

             particular Creditor agrees to a different treatment of its Claim.

                     In this case, Administrative Claims are expected to consist primarily of: the Claims

             of the Professionals employed in the Case; the Claim of Leed Rancho, the landlord of the

             Debtor’s former premises located in Temecula, California, for unpaid post-petition rent;

             the Claim of Navitas Credit Corp., a lessor of equipment to the Debtor, for unpaid post-

             petition lease payments; and United States Trustee Fees. The Debtor estimates that

             Administrative Claims will be asserted in the aggregate amount of approximately $305,468

             as of the Effective Date, including approximately $17,468 in United States Trustee Fees.5

             The Debtor believes that it owes no obligations under section 503(b)(9) of the Bankruptcy

             Code.

                     The treatment of Administrative Claims under the Plan is as described below.

                            a.      Payment. Except to the extent that the holder of an Allowed

                     Administrative Claim agrees to a less favorable treatment of its Allowed

                     Administrative Claim, and, subject to the Administrative Claims Bar Date set

                     forth in Section 3.1.2 of the Plan, each holder of an Allowed Administrative

                     Claim will receive, in full satisfaction, discharge, exchange and release of its

                     Allowed Administrative Claim, Cash in an amount equal to such Allowed

                     Administrative Claim, on the latest of (i) the Effective Date, (ii) the
                     fifteenth (15th) Business Day after the date upon which such Administrative

                     Claim becomes an Allowed Administrative Claim, or (iii) the date upon which

                     such Allowed Administrative Claim becomes due according to its terms;

                     provided, however, that an Ordinary Course Administrative Claim will be paid in

                     full in accordance with the terms and conditions of the agreements giving rise to

                     such Ordinary Course Administrative Claim.



      5
       The Debtor intends to update this Claims information in connection with pleadings that the
      Debtor will file in support of the Confirmation of the Plan. By order of the Bankruptcy Court, the
      Debtor must file and serve such pleadings by May 24, 2019.
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                        b.      Administrative Claims Bar Date. Except for Pre-Effective Date

                 Professional Fee Claims, United States Trustee Fees and Ordinary Course

                 Administrative Claims, and, except as set forth in section 503(b)(1)(D) of the

                 Bankruptcy Code, all requests for payment of Administrative Claims (including,

                 without limitation, Administrative Claims asserted under section 503(b)(9) of the

                 Bankruptcy Code) must be filed with the Bankruptcy Court and served on the

                 Reorganized Debtor and the Post-Effective Date Notice Parties, no later than

                 thirty (30) days after the Effective Date (the “Administrative Claims Bar Date”).

                 Any holder of an Administrative Claim that is required to file a request for

                 payment of its Administrative Claim by the Administrative Claims Bar Date and

                 that does not file by the Administrative Claims Bar Date such a request for

                 payment of its Administrative Claim will be forever barred from asserting such

                 Administrative Claim against the Debtor, the Reorganized Debtor, the Estate or

                 any of the property or assets of the Debtor or the Reorganized Debtor.

                        c.      Deadline for Objections. All objections to allowance of

                 Administrative Claims that are subject to the Administrative Claims Bar Date must

                 be filed by the Reorganized Debtor no later than sixty (60) days after the

                 Administrative Claims Bar Date (the “Administrative Claims Objection

                 Deadline”). The Administrative Claims Objection Deadline may be extended by

                 an order of the Bankruptcy Court. If the Reorganized Debtor fails to file, by the

                 Administrative Claims Objection Deadline, an objection to an Administrative

                 Claim that must be filed, and is filed, by the Administrative Claims Bar Date, such

                 Administrative Claim will be deemed allowed as of the Administrative Claims

                 Objection Deadline.

                        d.      United States Trustee Fees. United States Trustee Fees will be
                 paid prior to the Effective Date by the Debtor, and, after the Effective Date by the

                 Reorganized Debtor, in each case, when due in accordance with applicable law

                 until the entry of a Final Decree.

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                           e.        Pre-Effective Date Professional Fee Claims. Each Pre-Effective

                   Date Professional seeking from the Bankruptcy Court an award with respect to a

                   Pre-Effective Date Professional Fee Claim must file its final application for

                   allowance of compensation for services rendered and reimbursement of expenses

                   incurred through the Effective Date by no later than the sixtieth (60th) day after

                   the Effective Date or such later date as may be fixed by the Bankruptcy Court.

                   Such Pre-Effective Date Professional will receive, in full satisfaction, exchange

                   and release of its Pre-Effective Date Professional Fee Claim, Cash in such

                   amounts as are allowed by the Bankruptcy Court. All objections to allowance of

                   Pre-Effective Date Professional Fee Claims must be filed and served timely in

                   accordance with the requirements of the Bankruptcy Rules.

                   2.      Priority Tax Claims. The Debtor estimates that approximately

            $4,685 in Priority Tax Claims have been asserted against the Debtor. The

            Debtor disputes all of such Claims.

                   Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a

            less favorable treatment of its Allowed Priority Tax Claim, each holder of an Allowed

            Priority Tax Claim will receive, in full satisfaction, discharge, exchange and release of its

            Allowed Priority Tax Claim, equal quarterly Cash payments, commencing on the first

            Business Day of the first full calendar quarter after the Effective Date and continuing on

            the first Business Day of each full calendar quarter thereafter through July 1, 2023, in an

            aggregate amount equivalent to such Allowed Priority Tax Claim, plus simple interest

            thereon calculated at the interest rate available on ninety (90) day United States Treasuries

            on the Effective Date.

            D.     Classification of Claims and Interests Under the Plan.
                   1.      Overview. As required by the Bankruptcy Code, the Plan places Claims

            and Interests into Classes according to their respective legal rights and interests, including

            their respective rights to priority. In Section 4.2 of the Plan, the Debtor lists each Class of

            Claims and Interests established under the Plan and states whether each Class is impaired

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            or is unimpaired by the Plan. A Class is “unimpaired” by the Plan if the Plan leaves

            unaltered the legal, equitable and contractual rights to which the holders of Claims or

            Interests in the Class are entitled, as provided in section 1124 of the Bankruptcy Code.

            Article V of the Plan sets forth the treatment that each Class will receive under the Plan.

                   2.      Designation of Classes. The Plan designates the following

            Classes of Claims and Interests:

                           a.      Allowed Claims.
                                   i.     Class 1: The Allowed Secured Claim of BOW. This Class
                           is impaired by the Plan.
                                   ii.    Class 2: Any Allowed Secured Claims of the Creditors
                           listed below. Pursuant to the Plan, any Allowed Secured Claim of each
                           such Creditor is deemed to be classified in a separate sub-class of Class 2,
                           and each sub-class of Class 2 is deemed to be a separate Class under the
                           Plan. This Class is impaired by the Plan.
                                          A.      Class 2(a) -- Exchange Bank.

                                          B.      Class 2(b) – GreatAmerica.

                                          C.      Class 2(c) -- Trans Advantage.

                                          D.      Class 2(d) -- Western Equipment.

                                          E.      Class 2(e) -- Allegiant.

                                   iii.   Class 3: Any Allowed Secured Claims, other than Class 1
                           or Class 2 Allowed Secured Claims. This Class is unimpaired by the
                           Plan.
                                   iv.    Class 4: Any Allowed Priority Non-Tax Claims. This
                           Class is unimpaired by the Plan.
                                   v.     Class 5: Allowed General Unsecured Claims. This Class
                           is impaired by the Plan.
                           b.      Interests.



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                                      i.     Class 6: The Interest of the Interest Holder. This Class is
                               unimpaired by the Plan.
                     3.        Summary of Classification.
                     The following table summarizes the Classes of Claims and Interests established by

             the Plan:


          CLASS           DESCRIPTION                           IMPAIRED/         VOTING STATUS
                                                                UNIMPAIRED
          Class 1         Allowed Secured Claim of              Impaired          Entitled to Vote on the
                          BOW                                                     Plan
          Class 2         Any Allowed Secured Claims            Impaired          Entitled to Vote on the
                          of the Creditors listed in                              Plan
                          Section 4.2.1.2 of the Plan
          Class 3         Any Allowed Secured Claims            Unimpaired        Deemed to Accept the
                          Other than Class 1 or Class 2                           Plan
                          Secured Claims under the Plan
          Class 4         Allowed Priority Non-Tax              Unimpaired        Deemed to Accept the
                          Claims                                                  Plan


          Class 5         Allowed General Unsecured             Impaired          Entitled to Vote on the
                          Claims                                                  Plan
          Class 6         Interests                             Unimpaired        Deemed to Accept Plan

             As set forth above, Classes 3 and 4 are unimpaired by the Plan; holders of Claims in these

      Classes are conclusively presumed to have accepted the Plan and, hence, are not entitled to vote

      with respect to the Plan. Classes 1, 2 and 5 are impaired by the Plan, and holders of Claims in

      these Classes are entitled to vote to accept or reject the Plan. Interests in Class 6 are unimpaired;

      the Interest Holder is conclusively presumed to have accepted the Plan and, hence, is not entitled

      to vote with respect to the Plan.

              The treatment of Claims and Interests under the Plan is in full and complete satisfaction

      of the legal, contractual, and equitable rights that each Creditor or Interest Holder may have in or

      against the Debtor or its property. This treatment supersedes and replaces any agreements or

      rights which those entities have in or against the Debtor or its property. NO DISTRIBUTIONS



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      WILL BE MADE, AND NO RIGHTS WILL BE RETAINED, ON ACCOUNT OF ANY

      CLAIM THAT IS NOT AN ALLOWED CLAIM.

                                                    VII.

                          TREATMENT OF CLASSES UNDER THE PLAN

            The following sets forth the treatment of Classes established by the Plan.

            A.     Class 1 -- Allowed Secured Claim of BOW.
            Class 1 consists of the Allowed Secured Claim of BOW. Class 1 is impaired by the Plan.

                   1.      Allowed Claims of BOW. Pursuant to the Plan, BOW has the following

            Allowed Claims against the Reorganized Debtor: (a) an Allowed Secured Claim in the

            amount of $1,852,950, subject to adjustment as set forth by Section 5.1.2.1 of the Plan,

            with the treatment thereof set forth by Section 5.1.2 of the Plan; (b) an Allowed Claim in

            the amount of $500,000, with the treatment thereof set forth by Section 5.1.3 of the Plan;

            and (c) an Allowed General Unsecured Claim in the amount of $1,143,027, with the

            treatment thereof set forth by Section 5.5 of the Plan.

                   2.      Treatment of Allowed Secured Claim of BOW. The treatment of BOW’s

            Allowed Secured Claim under the Plan is as follows.

                           a.      Amount of Allowed Secured Claim of BOW. BOW will have

                   under the Plan an Allowed Secured Claim, as of the Effective Date, in the amount

                   of $1,852,950, plus interest thereon, calculated at the non-default rate provided by

                   the BOW Loan Documents between the Debtor and BOW, from February 1, 2019

                   through the Effective Date. Pursuant to the Plan, BOW’s Allowed Secured Claim

                   will be reduced by any payments that may be made by the Debtor to BOW from

                   February 1, 2019 through the Effective Date.

                           b.      Interest Rate on BOW’s Allowed Secured Claim. Pursuant to
                   Section 5.1.2.2 of the Plan, commencing on the Effective Date, and continuing until

                   such time as BOW’s Allowed Secured Claim is fully paid, BOW’s Allowed

                   Secured Claim will bear interest at the rate of six percent (6.0%) per annum.

                           c.      Payment of BOW’s Allowed Secured Claim. Pursuant to

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                 Section 5.1.2.3 of the Plan, the Reorganized Debtor will pay to BOW, in full

                 satisfaction, settlement, release and discharge of BOW’s Allowed Secured Claim,

                 the following payments: (i) commencing on the first day of the first full month

                 following the Effective Date and continuing on the first day of each month

                 thereafter through and including the fifty-ninth (59th) month after the Effective

                 Date, the Reorganized Debtor will pay to BOW equal monthly payments of

                 principal and interest in the amount of $35,822.71; provided, however, that during

                 the months of June, July and August during the 60-month term of the payment of

                 BOW’s Allowed Secured Claim under the Plan, the Reorganized Debtor will not be

                 required to pay to BOW principal reduction payments, (i.e., during such months,

                 the Reorganized Debtor will pay interest only payments to BOW); and (ii) on the

                 sixtieth (60th) month following the Effective Date, the Reorganized Debtor will pay

                 to BOW the balance of BOW’s Allowed Secured Claim, plus all unpaid and

                 accrued interest thereon.

                        d.      Liens of BOW. Except as provided expressly to the contrary in the

                 Plan, BOW will retain, without alteration or modification and with the same

                 scope, extent and priority, BOW’s existing Liens encumbering BOW’s Collateral

                 in order to secure the repayment of BOW’s Allowed Secured Claim.

                        e.      Reconveyance of BOW’s Liens. BOW will reconvey all Liens
                 held by BOW encumbering the Reorganized Debtor’s Assets as soon as

                 practicable after the Reorganized Debtor pays in full BOW’s Allowed Secured

                 Claim under the Plan.

                        f.      Sale of BOW’s Collateral. In the event that the Reorganized

                 Debtor sells any Collateral of BOW, secured as set forth by Section 5.1.2.4 of the

                 Plan, the Reorganized Debtor will pay to BOW the amount of BOW’s Allowed

                 Secured Claim with respect to such Collateral as soon as practicable after the sale

                 of such Collateral.



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                           g.      No Prepayment Penalty Regarding Payment of BOW’s Allowed

                   Secured Claim. Notwithstanding any provision to the contrary that may be

                   contained in the BOW Loan Documents between the Debtor and BOW, the

                   Reorganized Debtor may prepay, at any time, without any penalty or charge of any

                   nature whatsoever, any or all of the amount of BOW’s Allowed Secured Claim.

                           h.      Cure of Defaults. Pursuant to section 5.1.2.8 of the Plan, any and

                   all arrearages owed by the Debtor to BOW as of the Effective Date under the

                   BOW Loan Documents will be included in the principal amount of BOW’s

                   Allowed Secured Claim, fixed as of the Effective Date in the amount set forth by

                   Section 5.1.2.1 of the Plan. Notwithstanding any provision to the contrary that

                   may be contained in the BOW Loan Documents, as of the Effective Date, any and

                   all defaults under the BOW Loan Documents will be deemed to be fully and

                   completely cured, the maturity of BOW’s Allowed Secured Claim will be

                   reinstated as such maturity existed before any such defaults, and the Reorganized

                   Debtor will be deemed to be in full compliance with its obligations under the

                   BOW Loan Documents.

                   3.      BOW Subordinated Claim.

                   In addition to the Allowed Secured Claim of BOW set forth in Section 5.1.2 of the

            Plan, and the Allowed General Unsecured Claim of BOW set forth in Section 5.1.4 of the

            Plan, BOW will have under the Plan an Allowed Claim in the amount of $500,000, which

            will be subject to subordination on the terms and conditions set forth in Section 5.1.3.3 of

            the Plan (“BOW Subordinated Claim”).

                           a.      No Interest on BOW Subordinated Claim. The BOW

                   Subordinated Claim will not accrue interest under the Plan.

                           b.      Payment of BOW Subordinated Claim. Pursuant to
                   Section 5.1.3.2 of the Plan, in full satisfaction, settlement, release and discharge of

                   the BOW Subordinated Claim, the Reorganized Debtor will pay to BOW, on

                   account of the BOW Subordinated Claim, the following Distributions: (i) $50,000,

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                 which will be paid on or before October 31, 2019; (ii) $250,000, which will be paid

                 on or before September 30, 2020; and (iii) $200,000 which will be paid on or

                 before September 30, 2021.

                        c.     Subordination of BOW Subordinated Claim. The repayment of

                 the BOW Subordinated Claim will be secured as follows:

                               i. BOW’s Existing Collateral. The BOW Subordinated Claim will

                        be secured by BOW’s Liens encumbering BOW’s Collateral as of the

                        Effective Date; provided, however, that BOW will subordinate the BOW

                        Subordinated Claim in favor of, and the BOW Subordinated Claim will be

                        junior in priority to, any secured loan that may be obtained by the

                        Reorganized Debtor on or after the Effective Date (“Post-Effective Date

                        Loan”), so long as the amount of BOW’s Allowed Secured Claim set forth

                        in Section 5.1.2 of the Plan, including any unpaid and accrued post-

                        Effective Date interest thereon, is paid from the proceeds of the Post-

                        Effective Date Loan. Notwithstanding the foregoing, if the maker of the

                        Post-Effective Date Loan (“Post-Effective Date Lender”) prohibits BOW

                        from retaining a Lien encumbering Assets of the Reorganized Debtor to

                        secure the repayment of the BOW Subordinated Claim, the BOW

                        Subordinated Claim will not be secured by Assets of the Reorganized

                        Debtor but will be an Allowed General Unsecured Claim payable pursuant

                        to the provisions of Section 5.5 of the Plan. BOW will execute and deliver

                        to a Post-Effective Date Lender any instruments and other documents to

                        evidence and implement the subordination or termination, as the case may

                        be, of the Liens securing the BOW Subordinated Claim as may be

                        reasonably requested by the Post-Effective Date Lender.

                               ii.     Unencumbered Assets. The Debtor intends to file a motion
                        (“BOW Secured Claim Compromise Motion”), to be heard concurrently

                        with the Confirmation Hearing, pursuant to which the Debtor will request

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                        that, in consideration of BOW’s agreeing to the restructuring of BOW’s

                        Secured Claim as provided for by Section 5.1 of the Plan and as described

                        in Paragraph VII(A) hereof, the Bankruptcy Court authorize the Debtor to

                        provide to BOW additional Collateral to secure the payment of the BOW

                        Secured Claim, on terms comparable to the following:

                                     In addition to the Collateral described in Paragraph
                                      VII(A)(3)(c)(i) herein, on the Effective Date, BOW will

                                      obtain a Lien (“Unencumbered Assets Lien”) encumbering

                                      all otherwise unencumbered Assets of the Reorganized

                                      Debtor as of the Effective Date (“Unencumbered Assets”) in

                                      order to secure the payment of the BOW Subordinated

                                      Claim; provided, however, that the Unencumbered Assets

                                      Lien will be reconveyed and released by BOW if BOW’s

                                      Allowed Secured Claim is paid in full within one hundred

                                      eighty (180) days after the Effective Date.

                                     BOW will subordinate the Unencumbered Assets Lien in
                                      favor of, and the Unencumbered Assets Lien will be junior in

                                      priority to, any loan, to the extent of $300,000, that may be

                                      obtained by the Reorganized Debtor on or after the Effective

                                      Date secured by the Unencumbered Assets (“Unencumbered

                                      Assets Loan”).

                                     Notwithstanding the foregoing, if the maker of the
                                      Unencumbered Assets Loan (“Unencumbered Assets

                                      Lender”) prohibits BOW from retaining a Lien encumbering

                                      the Unencumbered Assets, the BOW Subordinated Claim

                                      will not be secured by the Unencumbered Assets.

                                     BOW will execute and deliver to an Unencumbered Assets
                                      Lender any instruments and other documents to evidence and

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                                            implement the subordination or termination, as the case may

                                            be, of the Unencumbered Assets Lien encumbering the

                                            Unencumbered Assets as may be requested by the

                                            Unencumbered Assets Lender.

                           As set forth by Section 6.2 of the Plan, the Bankruptcy Court’s entering an

                   order granting the BOW Secured Claim Compromise Motion on terms and

                   conditions approved by BOW is a condition to the Confirmation of the Plan. BOW

                   may determine to waive such condition to the Confirmation of the Plan.

                   4.      Allowed General Unsecured Claim of BOW. In addition to BOW’s

            Allowed Secured Claim and the BOW Subordinated Claim, BOW will have under the

            Plan an Allowed General Unsecured Claim in the amount of $1,143,027, including an

            Allowed Deficiency Claim in the amount of $1,010,559. BOW’s Allowed General

            Unsecured Claim will be treated as an Allowed Class 5 Claim under the Plan.

                   5.      Modification of the BOW Loan Documents. The BOW Loan Documents

            will be deemed modified as of the Effective Date, automatically and with no need for any

            further act of the Debtor or the Reorganized Debtor or order of the Bankruptcy Court, to

            the extent that any provisions of the BOW Loan Documents are inconsistent with the

            provisions of the Plan.

            B.     Class 2 -- Treatment of Any Allowed Secured Claims of Creditors Listed in
                   Section 4.2.1.2 of the Plan.
                   1.      Class 2(a) -- Exchange Bank. The treatment of Exchange Bank’s Allowed

            Secured Claim under the Plan is set forth hereinbelow. Exchange Bank’s Allowed Secured

            Claim is impaired by the Plan.

                           a.         Allowed Secured Claim of Exchange Bank. Pursuant to Section

                   5.2.1.1 of the Plan, Exchange Bank will have an Allowed Secured Claim, as of the

                   Effective Date, in the amount of $12,243, plus (i) interest thereon, calculated at the

                   non-default rate provided by the Loan Documents between the Debtor and

                   Exchange Bank, from February 1, 2019 through the Effective Date, and (ii) any

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                 reasonable fees, costs and other charges to which Exchange Bank is entitled under

                 such Loan Documents and under section 506 of the Bankruptcy Code. Exchange

                 Bank’s Allowed Secured Claim will be reduced by any payments that may be made

                 by the Debtor to Exchange Bank from February 1, 2019 through the Effective Date.

                 Any Claim asserted by Exchange Bank in excess of the Allowed Secured Claim of

                 Exchange Bank fixed by the Plan will be fully and forever released and

                 extinguished as of the Effective Date.

                         b.     Interest Rate on Exchange Bank’s Allowed Secured Claim.

                 Pursuant to Section 5.2.1.2 of the Plan, commencing on the Effective Date, and

                 continuing until such time as Exchange Bank’s Allowed Secured Claim is fully

                 paid, Exchange Bank’s Allowed Secured Claim will bear interest at the non-default

                 rate of interest provided by the Loan Documents between the Debtor and Exchange

                 Bank.

                         c.      Payment of Exchange Bank’s Allowed Secured Claim. Pursuant

                 to Section 5.2.1.3 of the Plan, in full satisfaction, settlement, release and discharge

                 of Exchange Bank’s Allowed Secured Claim, commencing on the first day of the

                 first full month following the Effective Date and continuing on the first day of each

                 month thereafter for a total of sixty (60) consecutive months, the Reorganized

                 Debtor will pay to Exchange Bank monthly payments in the amount of $261.34.

                         d.      Liens of Exchange Bank. Exchange Bank will retain, without

                 alteration or modification and in the same order of priority as of the Effective Date,

                 Exchange Bank’s Liens encumbering Exchange Bank’s Collateral in order to

                 secure the repayment of Exchange Bank’s Allowed Secured Claim.

                         e.      Modification of Exchange Bank’s Loan Documents. Pursuant to
                 the Plan, Exchange Bank’s Loan Documents will be deemed modified as of the

                 Effective Date, automatically and with no need for any further act of the Debtor or

                 the Reorganized Debtor or order of the Bankruptcy Court, to the extent that any

                 provisions of such Loan Documents are inconsistent with the provisions of the

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                 Plan.

                         f.      Reconveyance of Exchange Bank’s Liens. Pursuant to the Plan,

                 Exchange Bank is required to reconvey all Liens held by Exchange Bank

                 encumbering the Reorganized Debtor’s Assets as soon as practicable after the

                 Reorganized Debtor pays in full Exchange Bank’s Allowed Secured Claim.

                         g.      Sale of Exchange Bank’s Collateral. In the event that the

                 Reorganized Debtor sells any Collateral of Exchange Bank, the Reorganized

                 Debtor will pay to Exchange Bank the amount of Exchange Bank’s Allowed

                 Secured Claim with respect to such Collateral as soon as practicable after the sale

                 of such Collateral.

                         h.      No Prepayment Penalty Regarding Payment of Exchange

                 Bank’s Allowed Secured Claim. Notwithstanding any provision to the contrary

                 that may be contained in the Loan Documents between the Debtor and Exchange

                 Bank, the Reorganized Debtor may prepay, at any time, without any penalty or

                 charge of any nature whatsoever, any or all of the amount of Exchange Bank’s

                 Allowed Secured Claim.

                         i.      Cure of Defaults. Pursuant to Section 5.1.2.9 of the Plan, any and

                 all arrearages owed by the Debtor to Exchange Bank as of the Effective Date under

                 the Debtor’s Loan Documents with Exchange Bank will be included in the

                 principal amount of Exchange Bank’s Allowed Secured Claim, fixed as of the

                 Effective Date in the amount set forth by Section 5.2.1.1 of the Plan.

                 Notwithstanding any provision to the contrary that may be contained in such Loan

                 Documents, as of the Effective Date, any and all defaults under such Loan

                 Documents will be deemed to be fully and completely cured, the maturity of

                 Exchange Bank’s Allowed Secured Claim will be reinstated as such maturity

                 existed before any such defaults, and the Reorganized Debtor will be deemed to be

                 in full compliance with its obligations under such Loan Documents.

                         j.      No Deficiency Claim of Exchange Bank. Exchange Bank will

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                   have no Allowed General Unsecured Claim or any other Allowed Claim, except for

                   the Allowed Secured Claim fixed in the amount set forth by Section 5.2.1.1 of the

                   Plan.

                   2.      Class 2(b) -- GreatAmerica. The treatment of GreatAmerica’s Allowed

            Secured Claim under the Plan is set forth hereinbelow. GreatAmerica’s Allowed Secured

            Claim is impaired by the Plan.

                           a.      Allowed Secured Claim of GreatAmerica. The Debtor believes

                   that GreatAmerica has no Allowed Secured Claim because the Debtor paid in full

                   the amount of GreatAmerica’s Allowed Secured Claim during the Case. Pursuant

                   to Section 5.2.2.1 of the Plan, if the Debtor and GreatAmerica do not reach

                   agreement by the Effective Date regarding the amount, if any, of GreatAmerica’s

                   Allowed Secured Claim, the Reorganized Debtor will request that the Bankruptcy

                   Court determine the amount of GreatAmerica’s Allowed Secured Claim, after

                   notice to GreatAmerica and a hearing thereon. Any Secured Claim asserted by

                   GreatAmerica in excess of any amount of an Allowed Secured Claim of

                   GreatAmerica determined by the Bankruptcy Court will be fully and forever

                   released and extinguished.

                           b.      Interest Rate on GreatAmerica’s Allowed Secured Claim.
                   Pursuant to Section 5.2.2.2 of the Plan, commencing on the Effective Date, and

                   continuing until such time as any Allowed Secured Claim of GreatAmerica is fully

                   paid, any Allowed Secured Claim of GreatAmerica will bear interest at the non-

                   default rate of interest provided by the Loan Documents between the Debtor and

                   GreatAmerica.

                           c.      Payment of GreatAmerica’s Allowed Secured Claim. Pursuant to

                   Section 5.2.2.3 of the Plan, in full satisfaction, settlement, release and discharge of

                   any Allowed Secured Claim of GreatAmerica, commencing on the first day of the

                   first full month following the Effective Date and continuing on the first day of each

                   month thereafter for a total of sixty (60) consecutive months, the Reorganized

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                 Debtor will pay to GreatAmerica equal monthly payments of principal and interest

                 in an amount sufficient to satisfy the amount, if any, of GreatAmerica’s Allowed

                 Secured Claim, plus the interest accruing thereon.

                         d.     Liens of GreatAmerica. GreatAmerica will retain, without

                 alteration or modification and in the same order of priority as of the Effective Date,

                 any Liens of GreatAmerica encumbering any Collateral of GreatAmerica in order

                 to secure the repayment of any Allowed Secured Claim of GreatAmerica.

                         e.     Modification of GreatAmerica’s Loan Documents. Pursuant to

                 the Plan, GreatAmerica’s Loan Documents will be deemed modified as of the

                 Effective Date, automatically and with no need for any further act of the Debtor or

                 the Reorganized Debtor or order of the Bankruptcy Court, to the extent that any

                 provisions of such Loan Documents are inconsistent with the provisions of the

                 Plan.

                         f.     Reconveyance of GreatAmerica’s Liens. Pursuant to the Plan,

                 GreatAmerica will reconvey all Liens held by GreatAmerica encumbering the

                 Reorganized Debtor’s Assets as soon as practicable after (i) it is determined by the

                 Bankruptcy Court that the Debtor has paid in full, or (ii) the Reorganized Debtor

                 pays in full, any Allowed Secured Claim of GreatAmerica.

                         g.     Sale of GreatAmerica’s Collateral. In the event that the
                 Reorganized Debtor sells any Collateral of GreatAmerica, the Reorganized Debtor

                 will pay to GreatAmerica the amount of any Allowed Secured Claim of

                 GreatAmerica with respect to such Collateral as soon as practicable after the sale of

                 such Collateral.

                         h.     No Prepayment Penalty Regarding Payment of GreatAmerica’s

                 Allowed Secured Claim. Notwithstanding any provision to the contrary that may

                 be contained in the Loan Documents between the Debtor and GreatAmerica, the

                 Reorganized Debtor may prepay, at any time, without any penalty or charge of any



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                   nature whatsoever, any or all of the amount of any Allowed Secured Claim of

                   GreatAmerica.

                          i.       Cure of Defaults. Pursuant to Section 5.2.2.9 of the Plan,

                   notwithstanding any provision to the contrary that may be contained in the Debtor’s

                   Loan Documents with GreatAmerica, as of the Effective Date, any and all defaults

                   under such Loan Documents will be deemed to be fully and completely cured, the

                   maturity of GreatAmerica’s Allowed Secured Claim, if any, will be reinstated as

                   such maturity existed before any such defaults, and the Reorganized Debtor will be

                   deemed to be in full compliance with its obligations under such Loan Documents.

                          j.       Deficiency Claim of GreatAmerica. Any Deficiency Claim of

                   GreatAmerica will be treated as a Class 5 Claim under the Plan.

                   3.     Class 2(c) -- Trans Advantage. The treatment of Trans Advantage’s

            Allowed Secured Claim under the Plan is set forth hereinbelow. Trans Advantage’s

            Allowed Secured Claim is impaired by the Plan.

                          a.       Allowed Secured Claim of Trans Advantage. Pursuant to

                   Section 5.2.3.1 of the Plan, Trans Advantage will have an Allowed Secured Claim,

                   as of the Effective Date, in the amount of $396,855, plus (i) interest thereon,

                   calculated at the non-default rate provided by the Loan Documents between the

                   Debtor and Trans Advantage, from February 1, 2019 through the Effective Date,

                   and (ii) any reasonable fees, costs and other charges to which Trans Advantage is

                   entitled under such Loan Documents and under section 506 of the Bankruptcy

                   Code. Trans Advantage’s Allowed Secured Claim will be reduced by any

                   payments that may be made by the Debtor to Trans Advantage from February 1,

                   2019 through the Effective Date. Any Secured Claim asserted by Trans Advantage

                   in excess of the Allowed Secured Claim of Trans Advantage fixed by the Plan will

                   be fully and forever released and extinguished as of the Effective Date.

                          b.       Interest Rate on Trans Advantage’s Allowed Secured Claim.
                   Pursuant to Section 5.2.3.2 of the Plan, commencing on the Effective Date, and

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                 continuing until such time as Trans Advantage’s Allowed Secured Claim is fully

                 paid, Trans Advantage’s Allowed Secured Claim will bear interest at the non-

                 default rate of interest provided by the Loan Documents between the Debtor and

                 Trans Advantage.

                         c.     Payment of Trans Advantage’s Allowed Secured Claim.

                 Pursuant to Section 5.2.3.3 of the Plan, in full satisfaction, settlement, release and

                 discharge of Trans Advantage’s Allowed Secured Claim, commencing on the first

                 day of the first full month following the Effective Date and continuing on the first

                 day of each month thereafter for a total of forty-eight (48) consecutive months, the

                 Reorganized Debtor will pay to Trans Advantage monthly payments in the amount

                 of $7,696.76. On the first day of forty-eighth (48th) month following the Effective

                 Date, the Reorganized Debtor shall pay to Trans Advantage a balloon payment in

                 the amount of $82,025 in full satisfaction of the balance of Trans Advantage’s

                 Allowed Secured Claim.

                         d.     Liens of Trans Advantage. Trans Advantage will retain, without

                 alteration or modification and in the same order of priority as of the Effective Date,

                 Trans Advantage’s Liens encumbering Trans Advantage’s Collateral in order to

                 secure the repayment of Trans Advantage’s Allowed Secured Claim.

                         e.     Modification of Trans Advantage’s Loan Documents. Pursuant
                 to the Plan, Trans Advantage’s Loan Documents will be deemed modified as of the

                 Effective Date, automatically and with no need for any further act of the Debtor or

                 the Reorganized Debtor or order of the Bankruptcy Court, to the extent that any

                 provisions of such Loan Documents are inconsistent with the provisions of the

                 Plan.

                         f.     Reconveyance of Trans Advantage’s Liens. Pursuant to the Plan,

                 Trans Advantage will reconvey all Liens held by Trans Advantage encumbering the

                 Reorganized Debtor’s Assets as soon as practicable after the Reorganized Debtor

                 pays in full Trans Advantage’s Allowed Secured Claim.

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                          g.      Sale of Trans Advantage’s Collateral. In the event that the

                   Reorganized Debtor sells any Collateral of Trans Advantage, the Reorganized

                   Debtor will pay to Trans Advantage the net amount of the proceeds from any such

                   sale of the Collateral to reduce the outstanding amount of Trans Advantage’s

                   Allowed Secured Claim as soon as practicable after the sale of such Collateral.

                          h.      No Prepayment Penalty Regarding Payment of Trans

                   Advantage’s Allowed Secured Claim. Notwithstanding any provision to the

                   contrary that may be contained in the Loan Documents between the Debtor and

                   Trans Advantage, the Reorganized Debtor may prepay, at any time, without any

                   penalty or charge of any nature whatsoever, any or all of the amount of Trans

                   Advantage’s Allowed Secured Claim.

                          i.      Cure of Defaults. Pursuant to Section 5.2.3.9 of the Plan, any and

                   all arrearages owed by the Debtor to Trans Advantage as of the Effective Date

                   under the Debtor’s Loan Documents with Trans Advantage will be included in the

                   principal amount of Trans Advantage’s Allowed Secured Claim, fixed as of the

                   Effective Date in the amount set forth by Section 5.2.3.1 of the Plan.

                   Notwithstanding any provision to the contrary that may be contained in such Loan

                   Documents, as of the Effective Date, any and all defaults under such Loan

                   Documents will be deemed to be fully and completely cured, the maturity of Trans

                   Advantage’s Allowed Secured Claim will be reinstated as such maturity existed

                   before any such defaults, and the Reorganized Debtor will be deemed to be in full

                   compliance with its obligations under such Loan Documents.

                          j.      Deficiency Claim of Trans Advantage. Any Deficiency Claim of

                   Trans Advantage will be treated as a Class 5 Claim under the Plan.

                   4.     Class 2(d) -- Western Equipment. The treatment of Western
            Equipment’s Allowed Secured Claim under the Plan is set forth hereinbelow. Western

            Equipment’s Allowed Secured Claim is impaired by the Plan.



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                        a.      Allowed Secured Claim of Western Equipment. Pursuant to

                 Section 5.2.4.1 of the Plan, Western Equipment will have an Allowed Secured

                 Claim, as of the Effective Date, in the amount of $45,811, plus (i) interest thereon,

                 calculated at the non-default rate provided by the Loan Documents between the

                 Debtor and Western Equipment, from February 1, 2019 through the Effective

                 Date, and (ii) any reasonable fees, costs and other charges to which Western

                 Equipment is entitled under such Loan Documents and under section 506 of the

                 Bankruptcy Code. Western Equipment’s Allowed Secured Claim will be reduced

                 by any payments that may be made by the Debtor to Western Equipment from

                 February 1, 2019 through the Effective Date. Any Secured Claim asserted by

                 Western Equipment in excess of the Allowed Secured Claim of Western

                 Equipment fixed by the Plan will be fully and forever released and extinguished as

                 of the Effective Date.

                        b.      Interest Rate on Western Equipment’s Allowed Secured Claim.

                 Pursuant to Section 5.2.4.2 of the Plan, commencing on the Effective Date, and

                 continuing until such time as Western Equipment’s Allowed Secured Claim is

                 fully paid, Western Equipment’s Allowed Secured Claim will bear interest at the

                 non-default rate of interest provided by the Loan Documents between the Debtor

                 and Western Equipment.

                        c.      Payment of Western Equipment’s Allowed Secured Claim.

                 Pursuant to Section 5.2.4.3 of the Plan, in full satisfaction, settlement, release and

                 discharge of Western Equipment’s Allowed Secured Claim, commencing on the

                 first day of the first full month following the Effective Date and continuing on the

                 first day of each month thereafter for a total of sixty (60) consecutive months, the

                 Reorganized Debtor will pay to Western Equipment monthly payments in the

                 amount of $911.73.

                        d.      Liens of Western Equipment. Western Equipment will retain,
                 without alteration or modification and in the same order of priority as of the

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                 Effective Date, Western Equipment’s Liens encumbering Western Equipment’s

                 Collateral in order to secure the repayment of Western Equipment’s Allowed

                 Secured Claim.

                        e.      Modification of Western Equipment’s Loan Documents.

                 Pursuant to the Plan, Western Equipment’s Loan Documents will be deemed

                 modified as of the Effective Date, automatically and with no need for any further

                 act of the Debtor or the Reorganized Debtor or order of the Bankruptcy Court, to

                 the extent that any provisions of such Loan Documents are inconsistent with the

                 provisions of the Plan.

                        f.      Reconveyance of Western Equipment’s Liens. Pursuant to the

                 Plan, Western Equipment will reconvey all Liens held by Western Equipment

                 encumbering the Reorganized Debtor’s Assets as soon as practicable after the

                 Reorganized Debtor pays in full Western Equipment’s Allowed Secured Claim.

                        g.      Sale of Western Equipment’s Collateral. In the event that the

                 Reorganized Debtor sells any Collateral of Western Equipment, the Reorganized

                 Debtor will pay to Exchange Bank the amount of Western Equipment’s Allowed

                 Secured Claim with respect to such Collateral as soon as practicable after the sale

                 of such Collateral.

                        h.      No Prepayment Penalty Regarding Payment of Western
                 Equipment’s Allowed Secured Claim. Notwithstanding any provision to the

                 contrary that may be contained in the Loan Documents between the Debtor and

                 Western Equipment, the Reorganized Debtor may prepay, at any time, without any

                 penalty or charge of any nature whatsoever, any or all of the amount of Western

                 Equipment’s Allowed Secured Claim.

                        i.      Cure of Defaults. Pursuant to Section 5.2.4.9 of the Plan, any and
                 all arrearages owed by the Debtor to Western Equipment as of the Effective Date

                 under the Debtor’s Loan Documents with Western Equipment will be included in

                 the principal amount of Western Equipment’s Allowed Secured Claim, fixed as of

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                   the Effective Date in the amount set forth by Section 5.2.4.1 of the Plan.

                   Notwithstanding any provision to the contrary that may be contained in such Loan

                   Documents, as of the Effective Date, any and all defaults under such Loan

                   Documents will be deemed to be fully and completely cured, the maturity of

                   Western Equipment’s Allowed Secured Claim will be reinstated as such maturity

                   existed before any such defaults, and the Reorganized Debtor will be deemed to be

                   in full compliance with its obligations under such Loan Documents.

                           j.       Deficiency Claim of Western Equipment. Any Deficiency Claim

                   of Western Equipment will be treated as a Class 5 Claim under the Plan.

                   5.      Class 2(e) -- Allegiant. The treatment of Allegiant’s Allowed Secured

            Claim under the Plan is set forth hereinbelow. Allegiant’s Allowed Secured Claim is

            impaired by the Plan.

                           a.       Allowed Secured Claim of Allegiant. Pursuant to Section 5.2.5.1

                   of the Plan, Allegiant will have an Allowed Secured Claim, as of the Effective

                   Date, in the amount of $23,049, plus (i) interest thereon, calculated at the non-

                   default rate provided by the Loan Documents between the Debtor and Allegiant,

                   from February 1, 2019 through the Effective Date, and (ii) any reasonable fees,

                   costs and other charges to which Allegiant is entitled under such Loan Documents

                   and under section 506 of the Bankruptcy Code. Allegiant’s Allowed Secured

                   Claim will be reduced by any payments that may be made by the Debtor to

                   Allegiant from February 1, 2019 through the Effective Date. Any Secured Claim

                   asserted by Allegiant in excess of the Allowed Secured Claim of Allegiant fixed

                   by the Plan will be fully and forever released and extinguished as of the Effective

                   Date.

                           b.       Interest Rate on Allegiant’s Allowed Secured Claim. Pursuant
                   to Section 5.2.5.2 of the Plan, commencing on the Effective Date, and continuing

                   until such time as Allegiant’s Allowed Secured Claim is fully paid, Allegiant’s



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                 Allowed Secured Claim will bear interest at the non-default rate of interest

                 provided by the Loan Documents between the Debtor and Allegiant.

                          c.    Payment of Allegiant’s Allowed Secured Claim. Pursuant to

                 Section 5.2.5.3 of the Plan, in full satisfaction, settlement, release and discharge of

                 Allegiant’s Allowed Secured Claim, commencing on the first day of the first full

                 month following the Effective Date and continuing on the first day of each month

                 thereafter for a total period of sixty (60) consecutive months, the Reorganized

                 Debtor will pay to Allegiant monthly payments in the amount of $515.70.

                          d.    Liens of Allegiant. Allegiant will retain, without alteration or

                 modification and in the same order of priority as of the Effective Date, Allegiant’s

                 Liens encumbering Allegiant’s Collateral in order to secure the repayment of

                 Allegiant’s Allowed Secured Claim.

                          e.    Modification of Allegiant’s Loan Documents. Under the Plan,

                 Allegiant’s Loan Documents will be deemed modified as of the Effective Date,

                 automatically and with no need for any further act of the Debtor or the

                 Reorganized Debtor or order of the Bankruptcy Court, to the extent that any

                 provisions of such Loan Documents are inconsistent with the provisions of the

                 Plan.

                          f.    Reconveyance of Allegiant’s Liens. Allegiant will reconvey all
                 Liens held by Allegiant encumbering the Reorganized Debtor’s Assets as soon as

                 practicable after the Reorganized Debtor pays in full Allegiant’s Allowed Secured

                 Claim.

                          g.    Sale of Allegiant’s Collateral. In the event that the Reorganized

                 Debtor sells any Collateral of Allegiant, the Reorganized Debtor will pay to

                 Allegiant the amount of Allegiant’s Allowed Secured Claim with respect to such

                 Collateral as soon as practicable after the sale of such Collateral.

                          h.    No Prepayment Penalty Regarding Payment of Allegiant’s
                 Allowed Secured Claim. Notwithstanding any provision to the contrary that may

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                     be contained in the Loan Documents between the Debtor and Allegiant, the

                     Reorganized Debtor may prepay, at any time, without any penalty or charge of any

                     nature whatsoever, any or all of the amount of Allegiant’s Allowed Secured

                     Claim.

                              i.    Cure of Defaults. Pursuant to Section 5.2.5.9 of the Plan, any and

                     all arrearages owed by the Debtor to Allegiant as of the Effective Date under the

                     Debtor’s Loan Documents with Allegiant will be included in the principal amount

                     of Allegiant’s Allowed Secured Claim, fixed as of the Effective Date in the

                     amount set forth by Section 5.2.5.1 of the Plan. Notwithstanding any provision to

                     the contrary that may be contained in such Loan Documents, as of the Effective

                     Date, any and all defaults under such Loan Documents will be deemed to be fully

                     and completely cured, the maturity of Allegiant’s Allowed Secured Claim will be

                     reinstated as such maturity existed before any such defaults, and the Reorganized

                     Debtor will be deemed to be in full compliance with its obligations under such

                     Loan Documents.

                              j.    Deficiency Claim of Allegiant. Any Deficiency Claim of

                     Allegiant will be treated as a Class 5 Claim under the Plan.

             C.      Class 3 -- Treatment of Any Allowed Secured Claims Other Than Class 1 and
             Class 2 Claims.

             Class 3 consists of any Allowed Secured Claims other than Class 1 or Class Claims.

      Pursuant to Section 5.3 of the Plan, in the event that there is more than one holder of an Allowed

      Class 3 Claim, the Allowed Secured Claim of each such Secured Creditor will be deemed to be

      classified in a separate sub-class of Class 3, and each such sub-class of Class 3 will be deemed to

      be a separate Class under the Plan.

             The Debtor believes that there are no Allowed Class 3 Secured Claims. In the event that

      there is any Allowed Class 3 Secured Claim, such Allowed Class 3 Secured Claim will not be

      impaired by the Plan. The treatment of any Allowed Class 3 Secured Claim is set forth in

      Section 5.3 of the Plan.

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             In accordance with Section 5.3.2 of the Plan, Confirmation of the Plan will be deemed to

      constitute a finding, for all purposes, that no Class 3 Secured Creditor asserting a Lien junior in

      priority to the Liens of BOW has any Allowed Secured Claim under the Plan, as determined by

      section 506 of the Bankruptcy Code. Upon the Effective Date of the Plan, any and all such junior-

      priority Liens will be automatically voided. Accordingly, for the purposes of the Plan, all such

      junior-priority Secured Claims will be treated under the Plan as Class 5 Deficiency Claims, or, in

      the case of an Allowed Priority Tax Claim, will be treated in accordance with the provisions of

      Section 3.2 of the Plan.

             D.      Class 4 -- Allowed Priority Non-Tax Claims.

             Class 4 consists of all Allowed Priority Non-Tax Claims. Approximately $24,799 in

      Priority Non-Tax Claims have been asserted against the Debtor. The Debtor disputes all of such

      Claims. Class 4 is not impaired by the Plan.

             Pursuant to Section 5.4 of the Plan, except to the extent that a holder of an Allowed

      Priority Non-Tax Claim agrees to a less favorable treatment of its Allowed Priority Non-Tax

      Claim, each holder of an Allowed Priority Non-Tax Claim will receive, in full satisfaction,

      exchange and release of its Allowed Priority Non-Tax Claim, Cash in the full amount of the

      Allowed Priority Non-Tax Claim on the later of (i) the Effective Date, and (ii) the tenth (10th)

      Business Day after such Priority Non-Tax Claim becomes an Allowed Priority Non-Tax Claim.

             E.      Class 5 -- Allowed General Unsecured Claims.
             Class 5 consists of all Allowed General Unsecured Claims. The Debtor estimates that

      approximately $2,704,720 in General Unsecured Claims have been asserted against the Debtor

      (including Deficiency Claims). The Debtor disputes approximately $294,000 of such Claims.

      Class 5 is impaired by the Plan. The treatment of Class 5 Allowed General Unsecured Claims

      under the Plan is as follows:

                     1.      Distributions on Account of Allowed General Unsecured Claims.

             Pursuant to Section 5.5.1 of the Plan, the Reorganized Debtor will pay, in full satisfaction,

             settlement, release and discharge of Allowed General Unsecured Claims, a total amount of

             $450,000, payable by the following Distributions.

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                           a.      December 15, 2020 -- Each holder of an Allowed General

                   Unsecured Claim will receive its Pro Rata share of a Distribution in the amount of

                   One Hundred Thousand Dollars ($100,000).

                           b.        December 15, 2021 -- Each holder of an Allowed General

                   Unsecured Claim will receive its Pro Rata share of a Distribution in the amount of

                   One Hundred Thousand Dollars ($100,000).

                           c.        December 15, 2022 -- Each holder of an Allowed General

                   Unsecured Claim will receive its Pro Rata share of a Distribution in the amount of

                   One Hundred Thousand Dollars ($100,000).

                           d.      December 15, 2023 -- Each holder of an Allowed General

                   Unsecured Claim will receive its Pro Rata share of a Distribution in the amount of

                   One Hundred Fifty Thousand Dollars ($150,000).

                   2.      No Post-Petition Interest. An Allowed General Unsecured Claim will not

            include any interest from the Petition Date through the Effective Date, and except as

            provided expressly to the contrary in Section 8.4.3 of the Plan, will not accrue interest after

            the Effective Date.

                   3.      Termination of the Reorganized Debtor’s Obligations to Holders of

            Allowed General Unsecured Claims. The Reorganized Debtor’s obligations on account
            of Allowed General Unsecured Claims asserted against the Reorganized Debtor will

            terminate, and Allowed General Unsecured Claims will be deemed to be fully and

            completely satisfied and released, upon the Reorganized Debtor’s payment of all

            Distributions on account of Allowed General Unsecured Claims required by Section 5.5.1

            of the Plan.

                   4.      Insider’s Contribution of Distributions Payable to Insider. Mr. Lovejoy

            will receive no Distributions on account of any Allowed General Unsecured Claim that he

            may have against the Debtor, and, instead, will contribute to the Reorganized Debtor all

            Distributions otherwise payable to him in order to facilitate the Reorganized Debtor’s

            making of the Distributions required by the Plan.

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                     5.      Treatment of Allowed Deficiency Claims. The Allowed Deficiency

             Claim of BOW, and any other Allowed Deficiency Claims, will be treated under the Plan

             as an Allowed Class 5 Claim, and the holder of an Allowed Deficiency Claim will receive

             its Pro Rata share of the Distributions to holders of Allowed Class 5 Claims set forth by

             Section 5.5.1 of the Plan.

             F.      Class 6 -- Allowed Interests.

             Class 6 consists of all Allowed Interests. Mr. Lovejoy is the only Interest Holder in the

      Case. Class 6 is unimpaired by the Plan.

                     1.      Retention of Interest. Pursuant to Section 5.6.1 of the Plan, the Interest

             Holder will retain, without modification or alteration, all of his rights, remedies and

             interests pursuant to the Interest.

                     2.      New Value. The Interest Holder will transfer to the Reorganized Debtor, as

             and for contributions of “new value” in order to facilitate the retention of his Interest:

             (a) the Distributions otherwise payable to him on account of any Allowed General

             Unsecured Claim that he may have against the Debtor, in accordance with the provisions

             of Section 5.5.4 hereof, and (b) the Interest Holder’s right, title and interest in and to all

             capital stock and other equity interests in Harmony Moving Inc., a California corporation,

             to be transferred to the Reorganized Debtor on or as soon as practicable after the Effective

             Date.

                     Mr. Lovejoy asserts that his new value contribution is substantial and adequate

             under the circumstances of this case. Mr. Lovejoy asserts that he holds a valid General

             Unsecured Claim against the Debtor in the amount of approximately $220,000, and that his

             interest in Harmony Moving, Inc. has a value of not less than $515,000. The value of

             Mr. Lovejoy’s Interest in the Reorganized Debtor as of the Effective Date is uncertain, but

             Mr. Lovejoy asserts that the value of such Interest is not greater than the amount of his

             new value contribution. Any issues with respect to Mr. Lovejoy’s new value contribution,

             including the adequacy thereof, will be meaningful only if the Class of Allowed General

             Unsecured Claims established by the Plan (Class 5) votes against the confirmation of the

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             Plan, and, accordingly, such issues will be addressed, if at all, at the time of the

             Confirmation Hearing.

                                                      VIII.

                  MEANS OF EXECUTION AND IMPLEMENTATION OF THE PLAN

             A.      Overview.

             The Plan provides for a reorganization of the Debtor’s financial affairs in accordance with

      the terms and conditions of the Plan. This article is intended to address the means by which the

      Debtor intends to effectuate the reorganization provided for by the Plan and to fund the

      obligations to Creditors undertaken in the Plan. This article provides information regarding the

      conditions precedent to Confirmation and the effectiveness of the Plan, sources of funds from

      which Distributions to holders of Allowed Claims will be made, corporate governance of the

      Reorganized Debtor, and other material issues bearing upon the performance of the Plan.

             B.      Conditions Precedent to Plan Confirmation.

             The only conditions precedent to the confirmation of the Plan are that: the Bankruptcy

      Court will have entered the Confirmation Order on terms and conditions satisfactory to the

      Debtor; and the Bankruptcy Court will have entered an order granting the BOW Secured Claim

      Compromise Motion on terms and conditions approved by BOW and the Debtor.

             C.      Conditions Precedent to the Effectiveness of the Plan.
             The only conditions precedent to the effectiveness of the Plan and the occurrence of the

      Effective Date are that: (1) the Bankruptcy Court will have entered the Confirmation Order on

      terms and conditions satisfactory to the Debtor; (2) the Bankruptcy Court will have entered an

      order granting the BOW Secured Claim Compromise Motion on terms and conditions approved

      by BOW and the Debtor; and (3) the Confirmation Order will have become a Final Order.

             The Debtor may, in the exercise of its sole and absolute discretion, waive the condition to

      the effectiveness of the Plan and to the occurrence of the Effective Date set forth in

      subparagraph (3) of this Paragraph VIII(C), without the need for any prior notice or hearing with

      respect thereto. Without limiting the generality of the foregoing, in the event that an appeal,

      petition for certiorari or motion for reargument or rehearing or comparable post-confirmation

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      relief is filed with respect to the Confirmation Order, and no stay of the effectiveness of the

      Confirmation Order is obtained, the Debtor may, in the exercise of its sole and absolute

      discretion, elect to waive such condition and to proceed with the Effective Date of the Plan, and

      the Reorganized Debtor may proceed to commence to consummate the Plan, by filing and serving

      notice of such election upon the United States Trustee and the party seeking such post-

      confirmation relief.

              D.      Implementation of Plan on the Effective Date.

              On or soon as practicable after the Effective Date, the following will occur with respect to

      the implementation of the Plan: (1) all acts, documents and agreements appropriate to implement

      the Plan will be effected or executed; and (2) the Reorganized Debtor, as Disbursing Agent under

      the Plan, will make all Distributions required to be made on or about the Effective Date of the

      Plan.

              E.      Corporate Action.

              Upon the Effective Date, all transactions and matters provided for under the Plan will be

      deemed to have been authorized and approved by the Debtor without any requirement of further

      action by the Debtor, the Debtor’s Interest Holder, or by the Debtor’s Board of Directors.

              F.      Reorganized Debtor.

              On the Effective Date, the Reorganized Debtor will have the rights, powers and duties

      provided for by the Plan, the Confirmation Order, the Corporate Governance Agreements and

      applicable law. On the Effective Date, pursuant to sections 1123, 1141 and 1142 of the

      Bankruptcy Code, the Reorganized Debtor will have the right to operate the Debtor’s business

      and to manage, administer, use, assign, convey, encumber, liquidate, dispose of or otherwise

      transfer, all of the Debtor’s and the Estate’s right, title and interest in and to the Assets, including

      Causes of Action, and to take all acts appropriate to effectuate the Plan, in each case free of any

      restrictions or limitations imposed by the Bankruptcy Code or Bankruptcy Rules, except as

      otherwise stated expressly to the contrary in the Plan.




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            G.     Plan Funding and Administration.

                   1.      Plan Funding. The funding for the Distributions to be made by the
            Reorganized Debtor under the Plan will be derived, in part, from the following: (a) the
            Debtor’s Cash as of the Effective Date; (b) Cash that will be generated from the
            Reorganized Debtor’s operations after the Effective Date; (c) new funding that the Debtor
            anticipates will be obtained by the Reorganized Debtor after the Effective Date (i.e., the
            Post-Effective Date Loan); (d) proceeds from the assertion of Causes of Action, including
            Avoidance Actions; and (e) possible sales of Assets of the Reorganized Debtor.
                   The Debtor currently is engaged in discussions with several prospective lenders

            with respect to the funding of a Post-Effective Date Loan. Based upon such discussions,

            the Debtor’s assessment of the value of the Debtor’s Assets that would serve as Collateral

            for the Post-Effective Date Loan, and the preliminary agreement that the Debtor has

            reached with BOW regarding BOW’s discounting its Secured Claim and subordinating a

            portion of its Secured Claim in order to facilitate the Reorganized Debtor’s obtaining the

            Post-Effective Date Loan, the Debtor is very optimistic that the Reorganized Debtor will

            be able to obtain the Post-Effective Date Loan at or promptly after the Effective Date of

            the Plan. The Debtor anticipates that the Post-Effective Date Loan will be comprised of a

            new term loan and a new line of credit with terms comparable to the following:

                                                 Term Loan

                          Amount -- approximately $1,214,000 to approximately $1,600,000. For the
                           purpose of this Disclosure statement, the Debtor projects that the term loan

                           will be in the amount of approximately $1,237,740.

                          Closing Fee -- 2.5%

                          Interest Rate -- prime, plus 11%

                          Term -- 12 months

                          Principal Amortization -- 48 months, after 3 months of interest-only
                           payments



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                                                Line of Credit

                          Amount -- Maximum line of $2.0 million. For the purpose of this
                           Disclosure Statement, the Debtor projects that, at the time of the funding of

                           the line of credit, the Debtor will have drawn down about $975,760 on the

                           line of credit.

                          Origination Fee – 1.0%

                          Advance Rate -- 80% on eligible accounts receivable.
                          Interest Rate -- Wall Street Journal prime rate, plus 3.25% on funds
                           advanced.

                          Term -- 24 months.
                   The Reorganized Debtor projects that it may need the Post-Effective Date Loan, or

            the Unencumbered Assets Loan, in order to meet its obligations at or about the Effective

            Date of the Plan.

                   2.      Reorganized Debtor’s Authority for Implementation of Plan. The
            Reorganized Debtor will be authorized to, and will, take all acts appropriate to implement
            the provisions of the Plan as are contemplated to be taken by the Reorganized Debtor
            under the Plan, including, without limitation, making Distributions to holders of Allowed
            Claims, objecting to Disputed Claims, and prosecuting or settling Causes of Action. The
            Reorganized Debtor will be entitled to pay any Post-Effective Date Plan Expenses, in the
            ordinary course, and without any need to give notice to creditors or other parties-in-interest
            or to obtain any approval of the Bankruptcy Court.
                   3.      Representative of the Estate. The Reorganized Debtor will be, and under
            the Plan is, appointed as the representative of the Estate pursuant to sections 1123(a)(5),
            1123(a)(7) and 1123(b)(3)(B) of the Bankruptcy Code and, as such, will be vested with the
            authority and power, subject to the provisions of the Plan, to take, among others, the
            following acts: (a) manage, administer and consummate the Plan; (b) file, litigate,
            prosecute, settle, adjust, retain, enforce, collect and abandon Causes of Action; (c) address
            and, if appropriate, object to Disputed Claims; (d) make all Distributions provided for by

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            the Plan; and (e) such other acts as may be appropriate to administer and consummate the
            Plan and close the Case. As the representative of the Estate, the Reorganized Debtor will
            succeed to all of the rights and powers of the Debtor and the Estate with respect to all
            Causes of Action.
                      4.    No Liability of the Reorganized Debtor. Pursuant to Section 6.7.4 of the
            Plan, to the maximum extent permitted by law, the Reorganized Debtor, and its employees,
            officers, directors, shareholders, agents, members, representatives, and Professionals
            (collectively, “Representatives”), will not have or incur liability to any Creditor, Interest
            Holder, party-in-interest or to any other entity for an act taken or omission made in good
            faith in connection with or related to the Reorganized Debtor’s administration of the
            Assets, the implementation of the Plan and the making of Distributions under the Plan.
            The Reorganized Debtor and its Representatives will in all respects be entitled to
            reasonably rely on the advice of counsel with respect to their duties and responsibilities
            under the Plan. Entry of the Confirmation Order will constitute a judicial determination
            that these exculpation provisions are necessary to, inter alia, facilitate Confirmation and to
            minimize potential claims arising after the Effective Date for indemnity, reimbursement or
            contribution from the Reorganized Debtor’s Assets. Notwithstanding the foregoing,
            nothing contained in Section 6.7.4 of the Plan will absolve the Reorganized Debtor of any
            potential liability that it may have to any Creditor on account of any failure by the
            Reorganized Debtor to make any Distribution required by the Plan or on account of any
            acts or omissions by it constituting willful misconduct or negligence.
            H.        Powers and Duties of the Reorganized Debtor.
                 1.         Corporate Powers. The Reorganized Debtor will have all of the powers

            and rights accorded to it under the Corporate Governance Agreements and applicable law.

                 2.         Board of Directors of the Reorganized Debtor. As of the Effective Date,

            Mr. Lovejoy will be the sole member of the Board of Directors of the Reorganized Debtor.

            Mr. Lovejoy will receive no compensation for serving in such capacity prior to the Case

            Closing Date.

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                     3.      Officers of the Reorganized Debtor. As of the Effective Date, Mr.

             Lovejoy will serve as President of the Reorganized Debtor. Mr. Lovejoy and the senior

             management of the Reorganized Debtor will be responsible for operating the Reorganized

             Debtor’s business, and will have all powers, duties, rights and responsibilities with respect

             to the Reorganized Debtor as provided by the Corporate Governance Agreements and

             applicable law. The Board of Directors of the Reorganized Debtor may appoint other

             officers, as it deems appropriate in the exercise of its business judgment. Mr. Lovejoy’s

             post-confirmation compensation will be as follows: $3,846.15 per week, for the first 2

             years following plan confirmation, and an anticipated 2% increase annually thereafter.

              I.       Causes of Action.
             The right to enforce, file, litigate, prosecute, settle, adjust, retain, enforce, collect and

      abandon on behalf of the Estate any and all Causes of Action, including, but not limited to, any

      Avoidance Actions, will be vested on the Effective Date in the Reorganized Debtor, and, from and

      after the Effective Date, only the Reorganized Debtor will have the right to enforce, file, litigate,

      prosecute, settle, collect and abandon any Cause of Action.

              The Debtor is evaluating potential Causes of Action. The Debtor has determined
      preliminarily that preferential payments were made to a number of entities. The Debtor or the
      Reorganized Debtor will pursue any Avoidance Actions or other Causes of Action, as may be
      appropriate.
              Notwithstanding the rights of the Reorganized Debtor with respect to Causes of Action,
      nothing in the Plan will require the Reorganized Debtor to file or to prosecute any Cause of
      Action, both of which may be determined by the Reorganized Debtor, in the exercise of its
      business judgment.
              THE DEBTOR HAS NOT COMPLETED ITS INVESTIGATION REGARDING
      THE EXISTENCE OF CAUSES OF ACTION. THE INVESTIGATION IN THIS
      REGARD IS ONGOING. AS A RESULT, ALL PARTIES-IN-INTEREST ARE HEREBY
      ADVISED THAT, NOTWITHSTANDING THE FACT THAT THE EXISTENCE OF ANY
      PARTICULAR CAUSE OF ACTION MAY NOT BE LISTED, DISCLOSED OR SET

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      FORTH IN THE PLAN OR IN THIS DISCLOSURE STATEMENT, A CAUSE OF
      ACTION MAY BE FILED AGAINST ANY CREDITOR OR OTHER PARTY AS THE
      REORGANIZED DEBTOR MAY DETERMINE, IN THE EXERCISE OF ITS SOLE
      AND ABSOLUTE DISCRETION.
             J.      Post-Effective Date Professional Fees.
             The Reorganized Debtor may employ, without any need to give notice to Creditors or other

      parties-in-interest or obtain any approval of the Bankruptcy Court, any Professional to aid the

      Reorganized Debtor in performing the Reorganized Debtor’s duties and exercising the

      Reorganized Debtor’s rights and remedies under the Plan, as the Reorganized Debtor deems

      appropriate in the exercise of its sole and absolute discretion, including Professionals who were

      employed by the Debtor in the Case. Any Professional employed by the Reorganized Debtor after

      the Effective Date will be entitled to obtain payment of the Professional’s fees and costs as a Post-

      Effective Date Plan Expense, in the ordinary course, without any need to give notice to Creditors

      or other parties-in-interest or to obtain any approval of the Bankruptcy Court. Notwithstanding

      the foregoing, if the Reorganized Debtor should fail to pay any post-Effective Date fees and costs

      of a Professional entitled to such payment within thirty (30) days after the Professional’s rendering

      of its billing statement to the Reorganized Debtor, the Professional will be entitled to seek, by

      application filed in accordance with the Bankruptcy Rules, an order of the Bankruptcy Court

      requiring the Reorganized Debtor to forthwith pay to the Professional its fees and costs.

             K.      Disposition of Plan Assets.
             From and after the Effective Date, the Reorganized Debtor will be entitled to sell, transfer,

      assign, encumber or otherwise dispose of any interest in any of the Reorganized Debtor’s Assets,

      without any need to give notice to Creditors or parties-in-interest or to obtain any approval of the

      Bankruptcy Court, provided that such action is for the benefit of Creditors. Notwithstanding the

      foregoing, the Reorganized Debtor will be entitled to seek, from the Bankruptcy Court, an order

      authorizing the sale of any Asset free and clear of Liens pursuant to the provisions of

      section 363(f) of the Bankruptcy Code.



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             L.      Compromise of Controversies.
             From and after the Effective Date, the Reorganized Debtor will be entitled to compromise

      any objections to Disputed Claims, or any controversies relating to Causes of Action or other

      litigation pending after the Effective Date, without any need to give notice to Creditors or parties-

      in-interest or to obtain any approval of the Bankruptcy Court.

             M.      Objections to Disputed Claims.
             From and after the Effective Date, the Reorganized Debtor will have the sole and exclusive

      right to object to Disputed Claims in accordance with the terms and conditions of Section 8.1 of

      the Plan.

             N.      Bankruptcy Court Approval Relative to Post-Confirmation Matters.
             Nothing contained in the Plan will be deemed to impair in any manner the right of the

      Reorganized Debtor to seek at any time after the Effective Date orders of the Bankruptcy Court

      approving actions to be taken, or granting relief, consistent with the Plan as may be necessary or

      desirable to effectuate the provisions of the Plan.

             O.      Resolution of Disputes.
             In the event that a dispute should arise between the Reorganized Debtor and any party-in-

      interest in the Case regarding any matters pertaining to the Plan or pertaining to the Reorganized

      Debtor’s performance of its duties and exercise of its rights, powers and remedies under the Plan,
      either of them may request, pursuant to the provisions of the Bankruptcy Rules, that the

      Bankruptcy Court resolve the merits of such dispute.

             P.      Reorganized Debtor’s Enforcement of Rights and Remedies.
             The Reorganized Debtor will have the right to enforce any and all rights and remedies that

      it may have under the Plan, the Bankruptcy Code, the Bankruptcy Rules, any order of the

      Bankruptcy Code or other court of competent jurisdiction or under applicable law. The

      Reorganized Debtor will be vested exclusively with the rights, powers, and authority to carry out

      and to implement the Plan.

             Q.      Other Rights, Powers and Duties of Reorganized Debtor.
             In addition to the rights, powers and duties granted expressly to the Reorganized Debtor

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      pursuant to the Plan, the Reorganized Debtor will have such other rights, powers and duties that

      are appropriate to implement and to carry out the provisions of the Plan for the benefit of Creditors

      that are not inconsistent with the provisions of the Plan.

              R.     Final Decree.
              Pursuant to Section 6.19 of the Plan, the Reorganized Debtor will file, in accordance with

      Rule 3022 of the Federal Bankruptcy Rules, an application with the Bankruptcy Court to obtain a

      final decree to close the Case (“Final Decree”). The Reorganized Debtor will have the right to

      seek the entry of a Final Decree on the earliest date after the Effective Date when it is appropriate

      to do so.

             S.      Distributions.
                     1.      Designation and Role of the Disbursing Agent.
                             a.       Reorganized Debtor to Serve as Disbursing Agent. The

                     Reorganized Debtor will serve as the Disbursing Agent under the Plan. The

                     Disbursing Agent will be responsible for making all Distributions on account of

                     Allowed Claims under the Plan.

                             b.       No Bond. The Reorganized Debtor will not be required to be

                     bonded in connection with the performance of its duties as Disbursing Agent under

                     the Plan.

                             c.       Employment of Agents. The Reorganized Debtor, as Disbursing
                     Agent under the Plan, will be authorized to implement such procedures as it deems

                     appropriate in order to make, as efficiently and economically as practicable, prompt

                     and accurate Distributions, including employing agents to assist it in that regard.

                     2.      Distribution of Property Under the Plan.
                           1.         Cash Distributions. All Distributions under the Plan will be in

                     Cash. Cash Distributions made pursuant to the Plan will be in United States funds,

                     by checks drawn on a domestic bank, or, if the Reorganized Debtor so elects, in the

                     exercise of its sole and absolute discretion, by wire transfers from a domestic bank.



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                        2.          Setoffs and Recoupment. Pursuant to section 553 of the

                 Bankruptcy Code or applicable non-bankruptcy law, the Reorganized Debtor, as

                 Disbursing Agent under the Plan, may set off, recoup or withhold against any

                 Allowed Claim and Distribution to be made pursuant to the Plan on account of such

                 Allowed Claim (before any Distribution is made on account of such Allowed

                 Claim), any pre-Petition Date or post-Petition Date account stated, claim, right, or

                 cause of action which the Debtor, the Estate or the Reorganized Debtor may

                 possess against the holder of such Allowed Claim. Neither the failure to effect

                 such a setoff or recoupment nor the allowance of any Claim will constitute a waiver

                 or release by the Debtor, the Estate or the Reorganized Debtor of any such account,

                 claim, right, or cause of action that the Debtor, the Estate or the Reorganized

                 Debtor may possess against the holder of such Allowed Claim. To the extent that

                 the Reorganized Debtor in allowing a Claim fails to effect a setoff with a Creditor

                 and seeks to collect a claim from such Creditor after a Distribution is made to such

                 Creditor pursuant to the Plan, the Reorganized Debtor will be entitled to full

                 recovery on that claim against such Creditor, notwithstanding any payment of the

                 Creditor’s Allowed Claim pursuant to the Plan.

                        3.          Timeliness of Distributions. Any Distribution required to be made
                 under the Plan will be deemed timely if made as soon as practicable after the due

                 date thereof but, in any event, within fourteen (14) days after such date. Any

                 Distribution required to be made upon a Disputed Claim becoming an Allowed

                 Claim and no longer being a Disputed Claim will be deemed timely if made as soon

                 as practicable thereafter but, in any event, within fourteen (14) days thereafter.

                        4.          [Intentionally Omitted.]

                        5.          Delivery of Distributions.

                                    i.     Distributions Only to Holders of an Allowed Claim. All

                             Distributions under the Plan on account of an Allowed Claim will be



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                          tendered only to the holder of such Allowed Claim, as set forth in

                          Section 7.2.6.2 of the Plan.

                                    ii.     Addresses to Which Distributions Will be Sent. Except as

                          provided in Section 7.2.8 of the Plan with respect to Unclaimed Property,

                             Distributions to holders of Allowed Claims and Allowed Administrative

                             Claims will be distributed by mail as follows: (1) with respect to each

                             holder of an Allowed Claim that has filed a Proof of Claim, at the address

                             for such Creditor reflected in such Proof of Claim; (2) with respect to each

                             holder of an Allowed Claim that has not filed a Proof of Claim, at the

                             address reflected in the Bankruptcy Schedules filed by the Debtor;

                             provided, however, that, if the Reorganized Debtor receives a written notice

                             of a change of address for such Creditor, the address set forth in such notice

                             will be used; or (3) with respect to each holder of an Allowed

                             Administrative Claim, at such address as the holder thereof may specify in

                             writing.

                        6.          Approval for Schedule of Proposed Distributions. In the

                 discretion of the Reorganized Debtor, the Reorganized Debtor will be entitled to

                 prepare a preliminary schedule of proposed Distributions to Creditors

                 (“Distribution Schedule”), and to apply, on an expedited basis, for an order of the

                 Bankruptcy Court approving the making of such Distributions pursuant to the

                 Distribution Schedule. Notice of any such application will be served on the Post-

                 Effective Date Notice Parties or as otherwise determined by the Bankruptcy Court.

                        7.          Further Assurances Regarding Distributions. In accordance with

                 the provisions of Section 13.22 of the Plan, as a condition to obtaining

                 Distributions under the Plan, each Creditor must execute and deliver to the

                 Reorganized Debtor, or join in the execution and delivery of, any agreement or

                 instrument appropriate for the consummation of the Plan.



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                         8.          Creditor’s Payment of Obligations or Turn Over of Property to

                   the Reorganized Debtor. As a condition to obtaining Distributions under the

                   Plan, any Creditor from which property is recoverable pursuant to a Final Order of

                   the Bankruptcy Court under sections 542, 543, 550 or 553 of the Bankruptcy Code,

                   or otherwise, or that is a transferee of a transfer avoidable pursuant to a Final Order

                   of the Bankruptcy Court under sections 522, 544, 545, 547, 548 or 549 of the

                   Bankruptcy Code or otherwise, must pay to the Reorganized Debtor the amount, or

                   turn over to the Reorganized Debtor any such property, for which such Creditor is

                   liable to the Debtor.

            T.     Objections to Disputed Claims.

                   1.      Exclusive Right to Object to Claims. From and after the Effective Date,
            the Reorganized Debtor will have the sole and exclusive right to file, litigate and settle
            objections to Disputed Claims. As the representative of the Estate, the Reorganized Debtor
            will succeed to all of the rights and powers of the Debtor and the Estate with respect to all
            objections to Disputed Claims.
                   2.         Claims Objection Deadline. Unless another date is established by order of

            the Bankruptcy Court, an objection to a Claim must be filed with the Bankruptcy Court

            and served on the Creditor holding such Claim on or before the Claims Objection

            Deadline. Pursuant to the Plan, the Reorganized Debtor will have the right to request that

            the Bankruptcy Court extend the Claims Objection Deadline.

                   3.      Investigation Regarding Disputed Claims. Nothing contained in the Plan
            will be deemed to obligate the Reorganized Debtor to file any objection to a Claim, which

            action will be determined by the Reorganized Debtor in the exercise of its sole and

            absolute discretion.

                   A list of certain Disputed Class 5 Claims is set forth in Paragraph XII(F)(1)(j)

            hereof. This list is preliminary in nature and is not intended to be a complete list of all

            Disputed Class 5 Claims.



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            THE DEBTOR HAS NOT COMPLETED ITS INVESTIGATION REGARDING

      THE CLAIMS IN THE CASE AND THE FILING OF OBJECTIONS TO DISPUTED

      CLAIMS. THIS INVESTIGATION IS ONGOING AND, SUBJECT ONLY TO THE

      CLAIMS OBJECTION DEADLINE, MAY OCCUR AFTER THE CONFIRMATION

      DATE. AS A RESULT, CREDITORS AND OTHER PARTIES-IN-INTEREST ARE

      HEREBY ADVISED THAT AN OBJECTION TO A DISPUTED CLAIM MAY BE FILED

      AT ANY TIME, SUBJECT ONLY TO THE CLAIMS OBJECTION DEADLINE. THE

      REORGANIZED DEBTOR WILL HAVE THE RIGHT TO OBJECT TO AMOUNTS

      THAT HAVE BEEN SCHEDULED BY THE DEBTOR, OR THAT ARE REFLECTED IN

      THE DEBTOR’S BOOKS AND RECORDS, AND WHICH ARE FOUND TO BE

      OBJECTIONABLE IN ANY RESPECT.

            U.     Treatment of Disputed Claims.
                   1.      No Distribution Pending Allowance. All Distributions under the Plan will

            be made only on account of Allowed Claims. If any portion of a Claim is a Disputed

            Claim, no Distribution provided for under the Plan will be made on account of such Claim

            unless and until such Claim becomes an Allowed Claim and is no longer a Disputed Claim.

                   2.      Distribution After Allowance. Within fourteen (14) days following the

            date on which a Disputed Claim becomes an Allowed Claim and is no longer a Disputed

            Claim, the Reorganized Debtor, as Disbursing Agent under the Plan, will distribute to the

            Creditor holding such Allowed Claim any Cash or other property that would have been

            distributable to such Creditor as if, at the time of the making of any Distribution to the

            Class of which such Creditor is a member, such Claim had been an Allowed Claim and not

            a Disputed Claim. No interest will be paid on such Claim, except as provided in

            Section 8.4.3 of the Plan.

                   3.      Reserve for Disputed Claims. On or as soon as practicable after the
            Effective Date, the Reorganized Debtor, as Disbursing Agent under the Plan, will

            establish, in a segregated, interest-bearing account, a reserve for any Disputed Claim

            (“Disputed Claims Reserve”) in an amount equal to 100% of the Distribution to which the

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            holder of the Disputed Claim would be entitled under the Plan based upon the liquidated,

            face amount of its non-duplicative Disputed Claim unless such Claim is estimated by Final

            Order of the Bankruptcy Court, in which case the Reorganized Debtor will reserve an

            amount equal to 100% of the Distribution to which the holder of the Disputed Claim would

            be entitled based upon the estimated amount of the Disputed Claim. If the Disputed Claim

            does not set forth a liquidated amount of such Claim, no Reserve need be established on

            account of such Disputed Claim unless the Bankruptcy Court orders otherwise. If the

            Disputed Claim is estimated, the amount of the Reserve to be established on account of

            such Disputed Claim will be the Distribution with respect to the estimated amount of such

            Disputed Claim as determined by Final Order of the Bankruptcy Court, and such estimated

            amount will set forth the maximum amount of the Distribution on account of such

            Disputed Claim.

                   4.      No Distribution Until Allowance of Disputed Claim. No disbursement of

            funds from a Disputed Claims Reserve will be made on account of a Disputed Claim until

            such Disputed Claim has been determined by a Final Order of the Bankruptcy Court. Any

            amount of a Claim which is disallowed pursuant to a Final Order of the Bankruptcy Court

            will be deemed to be extinguished and no Distribution of any amount will be paid on

            account thereof. The amount reserved for any Disputed Claim (plus any interest thereon)

            which has been disallowed by the Bankruptcy Court will be released to the Reorganized

            Debtor, and in the case of a Disputed Class 5 Claim, for the purpose of funding further

            Distributions to holders of Allowed Class 5 Claims under the Plan.

                   5.      Bar Date for Filing Avoidance Action Payment Claims. Any Avoidance

            Action Payment Claim will be forever barred, will not be enforceable against the Debtor,

            the Estate or the Reorganized Debtor and the holder of such Avoidance Action Payment

            Claim will not be entitled to any Distribution under the Plan, unless a Proof of Claim for

            such Avoidance Action Payment Claim is filed and served on the Reorganized Debtor

            within thirty (30) days after the later of (a) the date of entry of the order of the Bankruptcy



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            Court adjudging the Creditor’s liability to the Debtor or to the Reorganized Debtor on

            account of such Avoidance Action, or (b) the Effective Date.

            V.      Litigation.

                    1.      Reorganized Debtor’s Authorization to Assert Causes of Action. As of

            the Effective Date, the Reorganized Debtor will be authorized to exercise and to perform

            the rights, powers and duties held by the Estate with respect to the Causes of Action.

            From and after the Effective Date, the Reorganized Debtor, will have the sole and

            exclusive right, to file, litigate, prosecute, settle, adjust, retain, enforce, collect and

            abandon claims and interests of the Estate with respect to the Causes of Action, without

            the consent or approval of any third party, and without any further order of the

            Bankruptcy Court.

                    2.      Reorganized Debtor’s Evaluation of Causes of Action. The

            Reorganized Debtor will make the decision, in the exercise of its business judgment,

            whether to prosecute or to continue to prosecute any Cause of Action. This decision will

            be based, in part, upon the Reorganized Debtor’s evaluation of the merits of the Cause of

            Action as well as the costs required to prosecute such Cause of Action taking into account

            the resources available to the Reorganized Debtor to operate the Reorganized Debtor’s

            business and to make Distributions to Creditors. The Reorganized Debtor will be entitled

            to determine, in the exercise of its business judgment, not to prosecute, or to abandon, any

            Cause of Action.

                    3.      Retention of Professionals. The Reorganized Debtor may retain

            Professionals to represent it in prosecuting Causes of Action, including Professionals who

            were employed by the Debtor in the Case. The Reorganized Debtor will determine the

            terms of the retention of Professionals, in the exercise of its business judgment, and will

            be entitled to retain counsel on a contingency fee basis to prosecute some or all of the

            Causes of Action, and may seek to finance any costs relating to the prosecution of Causes

            of Action.



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                    4.     Preservation of Causes of Action. Unless a Cause of Action is expressly

            waived, relinquished, released, compromised, or settled in the Plan or in any Final Order,

            such Cause of Action is expressly reserved for later adjudication by the Reorganized

            Debtor (including, without limitation, Causes of Action of which the Debtor presently

            may be unaware, or which may arise or exist by reason of facts or circumstances unknown

            to the Debtor at this time, or facts or circumstances which may change or be different

            from those which the Debtor now believes to exist) and, therefore, no preclusion doctrine,

            including, without limitation, the doctrines of res judicata, collateral estoppel, issue

            preclusion, claim preclusion, waiver, estoppel (judicial, equitable, or otherwise), or laches

            will apply to the Reorganized Debtor’s prosecution of Causes of Action based on this

            Disclosure Statement, the Plan, or the Confirmation Order. Without limiting the

            generality of the foregoing, any entity with respect to which the Debtor has incurred an

            obligation (whether on account of services, purchase or sale of property, or otherwise), or

            who has received services from the Debtor or a transfer of money or property of the

            Debtor, or who has transacted business with the Debtor, should assume that such

            obligation, transfer, or transaction may be evaluated by the Reorganized Debtor

            subsequent to the Effective Date and may be the subject of an Avoidance Action or other

            action or proceeding filed after the Effective Date.

                    5.     Subordination of Claims. If the Bankruptcy Court enters a Final Order
            subordinating a Claim, or any part of a Claim, such that such subordinated Claim is junior

            to an Allowed General Unsecured Claim in the Case, no Distribution will be paid on

            account of such subordinated Claim under the Plan and such subordinated Claim will be

            extinguished and discharged fully as of the later of the Effective Date or the date of such

            Final Order. After the Effective Date, only the Reorganized Debtor will have the right to

            file an action to subordinate a Claim.

                    As of the date of this Disclosure Statement, no Claim had been subordinated in the

            Case.



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            W.     Executory Contracts and Unexpired Leases.

                    1.     Executory Contracts and Unexpired Leases Being Assumed. Effective
            as of, and conditioned on, the occurrence of the Effective Date, the Reorganized Debtor
            will assume under the Plan all of the executory contracts and unexpired leases of the
            Debtor listed on Exhibit “1” to the Plan. The Debtor may amend, through and including
            the Confirmation Hearing Date, Exhibit “1” to add thereto any executory contract or
            unexpired lease, or to delete therefrom any executory contract or unexpired lease.
            However, if any amendments are made to Exhibit “1” less than thirty (30) days before the
            Confirmation Hearing Date, the affected contract or lease parties will have
            fifteen (15) days from the date of service of notice of such amendments within which to
            serve on the Debtor a written objection to the same. Upon receipt of any such objection,
            the Debtor will promptly set a hearing on the same, and the assumption or rejection of the
            affected contract or lease will be delayed until the Bankruptcy Court makes a
            determination on such issue (such determination may be made after the Confirmation Date,
            without delaying the confirmation of the Plan). To the extent that an executory contract or
            unexpired lease has been assumed by the Debtor prior to the Confirmation Date pursuant
            to an order of the Bankruptcy Court, such assumption will not be affected by the Plan. The
            assumption of any contract or lease pursuant to the provisions of the Plan will be only to
            the extent that such assumed contract or lease constitutes an executory contract or
            unexpired lease within the meaning of section 365 of the Bankruptcy Code. Inclusion of
            an agreement in Exhibit “1” does not constitute an admission by the Debtor that (a) such
            agreement is an executory contract or unexpired lease within the meaning of section 365 of
            the Bankruptcy Code, (b) the Debtor must assume such agreement in order to continue to
            receive or retain rights, benefits, or performance thereunder or that any Claim under such
            agreement must be paid or any default thereunder must be cured, or (c) such agreement is a
            valid contract or lease. Any contract or lease assumed pursuant to the Plan will be
            assumed as previously amended or otherwise modified by the parties thereto, whether
            before or after the Petition Date.


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                   2.      Executory Contracts and Unexpired Leases Being Rejected. Effective
            as of, and conditioned on, the occurrence of the Effective Date, the Reorganized Debtor
            will reject under the Plan all of the executory contracts and unexpired leases of the Debtor
            not listed on Exhibit “1” to the Plan, including, without limitation, those executory
            contracts and unexpired leases listed on Exhibit “2” to the Plan. The Debtor reserves the
            right to amend, through and including the Confirmation Hearing Date, Exhibit “2” to add
            thereto any executory contract or unexpired lease, or to delete therefrom any executory
            contract or unexpired lease. However, if any amendments are made to Exhibit “2” less
            than thirty (30) days before the Confirmation Hearing Date, the affected contract or lease
            parties will have fifteen (15) days from the date of service of notice of such amendments
            within which to serve on the Debtor a written objection to the same. Upon receipt of any
            such objection, the Debtor will promptly set a hearing on the same, and the rejection of the
            affected contract or unexpired lease will be delayed until the Bankruptcy Court makes a
            determination on such issue (such determination may be made after the Confirmation Date,
            without delaying the confirmation of the Plan). To the extent that an executory contract or
            unexpired lease has been rejected by the Debtor prior to the Confirmation Date pursuant to
            an order of the Bankruptcy Court, such rejection will not be affected by the Plan. The
            rejection of any contract or lease pursuant to the provisions of the Plan will be only to the
            extent that such rejected contract or lease constitutes an executory contract or unexpired
            lease within the meaning of section 365 of the Bankruptcy Code. Inclusion of an
            agreement in Exhibit “2” does not constitute an admission by the Debtor that (a) such
            agreement is an executory contract or unexpired lease within the meaning of section 365 of
            the Bankruptcy Code, or (b) such agreement is a valid contract or lease. Any contract or
            lease rejected pursuant to the Plan will be rejected as previously amended or otherwise
            modified by the parties thereto, whether before or after the Petition Date. Any executory
            contract or unexpired lease not listed in Exhibit “1” or in Exhibit “2” will be deemed to be
            rejected by the Reorganized Debtor on the Effective Date.




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                   3.      Retention of Property Rights. To the extent that the Debtor has obtained
            property rights under an executed portion of an executory contract or unexpired lease,
            rejection of such agreement will not constitute an abandonment by the Debtor of any such
            property rights.
                   4.      Bar Date for Rejection Claims.
                           a.     Pre-Confirmation Rejection of an Executory Contract or
                   Unexpired Lease. Any Rejection Claim asserted as a result of the rejection of an
                   executory contract or unexpired lease pursuant to order of the Bankruptcy Court
                   entered prior to the Confirmation of the Plan will be forever barred, will not be
                   enforceable against the Debtor, the Estate or the Reorganized Debtor, and will not
                   be entitled to any Distribution under the Plan, unless a Proof of Claim for such
                   Rejection Claim has been or is filed and served timely pursuant to applicable order
                   of the Bankruptcy Court.
                           b.     Post-Confirmation Rejection of an Executory Contract or
                   Unexpired Lease. Any Rejection Claim asserted as a result of the rejection of an
                   executory contract or unexpired lease pursuant to the Plan will be forever barred,
                   will not be enforceable against the Reorganized Debtor, and will not be entitled to
                   any Distribution under the Plan, unless a Proof of Claim for such Rejection Claim
                   is filed and served on the Reorganized Debtor within thirty (30) days after the later
                   of (a) the date of the entry of the order of the Bankruptcy Court approving the
                   rejection of the executory contract or unexpired lease, or (b) the Effective Date.
                   5.      Cure Claims Schedule. A schedule of the amounts necessary to cure any
            defaults under each executory contract and unexpired lease assumed under the Plan (“Cure
            Claims”) is set forth in Exhibit “1” to the Plan (“Cure Claims Schedule”). Any objection
            to the amount of any Cure Claim set forth in the Cure Claims Schedule must be filed and
            served upon counsel for the Debtor on or before the fourteenth (14th) day prior to the
            Confirmation Hearing Date. In the event that any such objection to the amount stated for a
            Cure Claim in the Cure Claims Schedule is not filed and served as set forth herein, the


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              amount of the Creditor’s Cure Claim will be deemed forever to be the amount set forth in
              the Cure Claims Schedule, and any Cure Claim in excess of the amount set forth in the
              Cure Claims Schedule will be extinguished and will be forever barred in the Bankruptcy
              Case, without further notice. If the Debtor cannot resolve any such objection with the
              Creditor, the Debtor may either (a) elect to reject the executory contract or unexpired lease
              at the Confirmation Hearing, or (b) have the Bankruptcy Court determine the merits of the
              objection on or after the Confirmation Hearing (without delaying the confirmation of the
              Plan). Any amount of a Cure Claim payable upon the assumption of an executory contract
              or unexpired lease will be due and payable promptly in accordance with the requirements
              of section 365 of the Bankruptcy Code after the later of the Effective Date, or the entry of a
              Final Order fixing the amount of the Cure Claim, and then only in the amount fixed by
              such Final Order.
              X.     Post-Effective Date Notice.
              From and after the Effective Date, any entities that desire to obtain notice of any pleading
      or document filed in the Case, or of any hearing in the Bankruptcy Court, or of any matter as to
      which notice is to be provided under the Plan (“Post-Effective Date Notice Parties”), must file a
      request for post-Effective Date notice and serve such request on the Reorganized Debtor and any
      counsel for the Reorganized Debtor; provided, however, that the United States Trustee, BOW and
      the Reorganized Debtor each will be deemed to have requested such post-Effective Date notice.
              Y.     Miscellaneous Plan Provisions.
              Other provisions of the Plan, including provisions pertaining to the Reorganized Debtor’s
      duty to file after the Effective Date reports regarding the status of implementation of the Plan, the
      Debtor’s right to revoke the Plan prior to the Confirmation Date, the governing law relating to the
      Plan, the Bankruptcy Court’s retention of jurisdiction over the Case and the Plan after the
      Effective Date, and the Debtor’s right to seek to modify the Plan are set forth in Article XIII of the
      Plan.




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                                                       IX.

                             EFFECT OF CONFIRMATION OF THE PLAN

             A.      Discharge.
             Confirmation of the Plan will have all of the effects provided by section 1141 of the
      Bankruptcy Code which are not inconsistent with the terms of the Plan. Except as provided
      expressly to the contrary in the Plan or in the Confirmation Order, the Distributions and rights that
      are provided in the Plan will be in complete satisfaction, settlement, release and discharge
      effective as of the Effective Date of all known or unknown Claims and Administrative Claims
      against, rights against, liabilities of, obligations of, and any Liens encumbering the Debtor’s assets
      and properties, including but not limited to, Claims of the kind specified in sections 502(g),
      502(h) and 502(i) of the Bankruptcy Code, in each case whether or not (1) a Proof of Claim based
      upon such Claim is filed or deemed filed under section 501 of the Bankruptcy Code, (2) such
      Claim is allowed under section 502 of the Bankruptcy Code, or (3) the holder of such Claim
      accepted the Plan. The Confirmation Order will constitute a determination of the discharge of all
      Claims and Administrative Claims against the Debtor, subject only to the occurrence of the
      Effective Date, to the fullest extent permitted by section 1141 of the Bankruptcy Code. Any
      obligations of the Debtor to Creditors imposed by the Plan will be compensable only from
      Distributions made pursuant to the Plan.
             B.      Injunction/Release.
             On the Effective Date, an injunction against Creditors’ acts will be issued in accordance
      with the provisions of Section 11.2 of the Plan, and Claims will be released in accordance with the
      provisions of Section 11.3 of the Plan.
             C.        Distribution of Property Free and Clear of Liens, Claims and Interests.
             The Distributions to be made under the Plan will be distributed free and clear of all Liens
      and other Claims of Creditors and the Interest of the Interest Holder.
             D. Binding Effect of Plan.
             Upon the Effective Date, the provisions of the Plan will be binding upon the Debtor, the
      Reorganized Debtor, each Creditor and the Interest Holder.


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             E. Revesting of Assets.

             Upon the Effective Date, all assets, properties and interests of the Estate will vest in, and
      will be property of, the Reorganized Debtor, to be administered by the Reorganized Debtor in
      accordance with the terms and conditions of the Plan. In the event that the Reorganized Debtor’s
      Chapter 11 Case is converted after the Effective Date to one under Chapter 7 of the Bankruptcy
      Code, the assets, properties and interests then held by the Reorganized Debtor will be property of
      the Chapter 7 estate.
                                                        X.

                                        LIMITATION OF LIABILITY

             A.      No Liability for Solicitation or Participation.
             As specified in section 1125(e) of the Bankruptcy Code, entities that solicit acceptances or
      rejections of the Plan, in good faith and in compliance with the applicable provisions of the
      Bankruptcy Code, will not be liable, on account of such solicitation or participation, for violation
      of any applicable law, rule, or regulation governing the solicitation of acceptances or rejections of
      the Plan or the offer, issuance, sale, or purchase of securities.
             B.      Good Faith.
             Confirmation of the Plan will constitute a finding that the Plan was proposed, and that
      acceptances of the Plan were solicited, in good faith and in compliance with applicable provisions
      of the Bankruptcy Code.
             C.      Limitation of Liability Regarding Plan Confirmation.
             Effective as of the Effective Date, neither the Debtor, the Reorganized Debtor, nor any of

      their respective Representatives (including, without limitation, any Professionals) will have or

      incur any liability to any Creditor, the Interest Holder or to any other party-in-interest or entity for

      any good faith act or omission in connection with or arising out of the negotiation, preparation and

      pursuit of confirmation of the Plan, the approval of this Disclosure Statement, the consummation

      of the Plan, the administration of the Plan, the Case or the property to be distributed under the Plan

      or the making of Distributions under the Plan, to the fullest extent permitted by applicable



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      statutory and case law, except only that the Reorganized Debtor will be responsible for making the

      Distributions provided for by the Plan.

             Notwithstanding the foregoing, the Reorganized Debtor and the Debtor will not be

      absolved of any potential liability that either of them may have to any Creditor on account of any

      acts or omissions by it constituting willful misconduct or gross negligence.

                                                        XI.

                            CERTAIN RISK FACTORS TO BE CONSIDERED

              Holders of Claims and Interests entitled to vote on the Plan should read and consider

      carefully the factors set forth below, as well as other information set forth in this Disclosure

      Statement and the documents delivered together herewith and/or incorporated by reference

      herein, prior to voting to accept or reject the Plan.

              A.     Risk that the Debtor Will Have Insufficient Cash for the Plan to Become

      Effective.

              The Plan cannot be confirmed by the Bankruptcy Court unless the Debtor has Cash

      sufficient by the Effective Date to pay, or to reserve for the payment of, all Allowed

      Administrative Claims and Allowed Priority Non-Tax Claims, unless Creditors holding such

      Claims agree to a deferred payment of their Claims. The Reorganized Debtor also will need to

      pay promptly after the Effective Date all Cure Claims. The Debtor is confident that, as of the

      Effective Date, the Reorganized Debtor will have in place funding (i.e., the Post-Effective Date
      Loan) in an amount sufficient to pay the Allowed Secured Claim of BOW and to make the

      Distributions required to be made on or about the Effective Date. The Debtor believes that, as of

      the Effective Date, the Reorganized Debtor will have Cash sufficient to pay, or to reserve for the

      payment of, all such Claims. For a further discussion of this issue, please refer to

      Paragraph XII(F) hereof.

              B.     Risk Regarding the Distributions to Be Made to Class 5 Creditors.

              While the Debtor has endeavored to project pursuant to Paragraph XII(F) of this

      Disclosure Statement what it believes are likely to be the Distributions to be made to Class 5

      Creditors, there can be no certainty that those projections will be accurate and that Class 5

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      Creditors will receive the Distributions projected in this Disclosure Statement. The projections

      contained in this Disclosure Statement will be affected by, among other things, the outcome of

      objections to Disputed Class 5 Claims and, hence, the amount of Allowed Class 5 Claims.

               C.      Bankruptcy Risks.

               If a Class of Claims that is entitled to vote with respect to the Plan votes not to accept the

      Plan, the Debtor will need to “cram down” on that Class pursuant to section 1129(b) of the

      Bankruptcy Code in order to obtain confirmation of the Plan. The cram down provisions of

      section 1129(b) of the Bankruptcy Code are fairly complex, and require, among other things, that

      the Plan and the Debtor comply with the provisions of sections 1129(a)(1)-(7), and (9)-(16) of the

      Bankruptcy Code as applicable, and that the Plan not discriminate unfairly and be fair and

      equitable with respect to each Class of Claims that is impaired under and that has not accepted the

      Plan. While the Debtor believes that the Plan satisfies all of the requirements for confirmation of

      a plan under section 1129(b), there is no assurance that the Bankruptcy Court will make such a

      determination.

               In addition, the Bankruptcy Court’s entering an order granting the BOW Secured Claim

      Compromise Motion on terms and conditions approved by BOW is a condition to the

      Confirmation of the Plan. BOW may waive such condition. If the Bankruptcy Court declines to

      enter such an order and BOW declines to waive such condition, Confirmation of the Plan may not

      occur.

                                                        XII.

                                       CONFIRMATION OF THE PLAN

               A.      Introduction.

               CREDITORS CONCERNED WITH CONFIRMATION OF THE PLAN OR THE

      PROVISIONS OF THE PLAN SHOULD CONSULT WITH THEIR OWN ATTORNEYS

      BECAUSE THE LAW WITH RESPECT TO CONFIRMING A PLAN IS COMPLEX. The

      following discussion is intended solely for the purpose of alerting Creditors about basic

      confirmation issues which they may desire to consider. The Debtor CANNOT and DOES NOT



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      represent that the discussion contained below is a complete summary of the law on this topic and

      is not providing any legal opinions with respect thereto.

              Many requirements must be met before a bankruptcy court can confirm a Chapter 11 plan.

      Such requirements include that the plan must be accepted by at least one impaired class

      established by the plan, that the plan be feasible and that the distributions to non-accepting

      creditors in impaired classes must be at least as much as such creditors would receive in a

      Chapter 7 liquidation. These requirements are not the only requirements for confirmation.

              B.     Votes Necessary to Confirm the Plan.

              A bankruptcy court cannot confirm a Chapter 11 plan unless (1) all impaired classes under

      the plan have voted to accept the plan, or (2) at least one impaired class has accepted the plan

      without counting the votes of any insiders within that class, and the plan is eligible to be

      confirmed by “cramdown” on non-accepting classes pursuant to section 1129(b) of the Bankruptcy

      Code.

              C.     Votes Necessary for a Class to Accept the Plan.

              A class of claims is deemed to have accepted a Chapter 11 plan where more than one-half

      (1/2) in number and at least two-thirds (2/3) in dollar amount of the claims that actually vote, vote

      in favor of the plan.

              D.     Treatment of Non-Accepting Classes.
              As noted above, even if there are impaired classes that do not accept a Chapter 11 plan, a

      bankruptcy court may nonetheless confirm the plan if the non-accepting classes are treated in the

      manner required by the Bankruptcy Code and there is at least one impaired class that accepts the

      plan. The process by which a plan can be confirmed and become binding on non-accepting

      classes is commonly referred to as “cramdown.” The Bankruptcy Code allows a plan to be

      “crammed down” on non-accepting classes of claims or interests if the plan meets all of the

      requirements for confirmation, except the voting requirements of section 1129(a)(8) of the

      Bankruptcy Code, and if the plan does not “discriminate unfairly” and is “fair and equitable” with

      respect to each impaired class that has not voted to accept the plan, as provided in section 1129(b)

      of the Bankruptcy Code and applicable case law.

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             In this case, the Debtor will seek to have the Plan confirmed notwithstanding any rejection

      of the Plan by any impaired Class of Creditors. To obtain such confirmation, the Debtor must

      demonstrate to the Bankruptcy Court that the Plan “does not discriminate unfairly” and is “fair

      and equitable” with respect to each such dissenting impaired Class. A Chapter 11 plan does not

      discriminate unfairly if the legal rights of a dissenting class are treated in a manner consistent

      with the treatment of other classes whose legal rights are substantially similar to those of the

      dissenting class, and if no class receives more than that to which it is entitled for its claims or

      interests. The Debtor believes that the Plan satisfies this requirement.

             The Bankruptcy Code establishes different “fair and equitable” tests for Secured Claims

      and General Unsecured Claims.

                     1.      Secured Claims. In order to meet the “fair and equitable” requirements

             of section 1129(b) related to the treatment of a Class of Secured Claims (Class 1 or

             Class 2), the Plan generally must provide that the holder of a secured claim retain its

             Lien, to the extent of the allowed amount of such Secured Claim, and that the holder of

             the Secured Claim receive on account of its Secured Claim deferred cash payments

             totaling at least the allowed amount of such Secured Claim, of a value, as of the Effective

             Date, of at least the value of such holder’s interest in the Estate’s interest in its Collateral.

                     2.      General Unsecured Claims. In order to meet the “fair and equitable”
             requirements of section 1129(b) related to the treatment of the Class of General

             Unsecured Claims (Class 5), either (a) each Holder of a General Unsecured Claim must

             receive or retain under the Plan property of a value, as of the Effective Date, equal to the

             amount of its Allowed Claim, or (b) the holders of Claims and Interests that are junior in

             priority to the General Unsecured Claims must not receive any property under the Plan.

             E.      Request for Confirmation Despite Non-Acceptance by Impaired Class(es).

             The Debtor will ask the Bankruptcy Court to confirm the Plan by cramdown on any

      impaired Class if such Class does not vote to accept the Plan. In this regard, it is important to note

      that the Debtor has established under the Plan a Class of Allowed Secured Claims (Class 3) which

      may not exist in the Case. The Debtor has done so in an abundance of caution. Pursuant to

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      Section 13.16 of the Plan, any Class of Claims that does not have a holder of an Allowed Claim or

      a Claim temporarily allowed under Rule 3018 of the Federal Bankruptcy Rules as of the date of

      the Confirmation Hearing will be deemed to be eliminated from the Plan for the purpose of voting

      with respect to the Plan and for the purpose of determining acceptance or rejection of the Plan by

      such Class pursuant to section 1129(a)(8) of the Bankruptcy Code; accordingly, the Bankruptcy

      Court may confirm the Plan pursuant to the provisions of section 1129(a) of the Bankruptcy Code

      notwithstanding any otherwise deemed non-acceptance of the Plan by such Class of Claims. The

      Debtor will seek confirmation of the Plan under section 1129(a) of the Bankruptcy Code

      notwithstanding (as is expected) a failure by such Class to cast any affirmative vote with respect to

      the Plan.

             F.      Feasibility of the Plan.

                     1.     Feasibility Analysis. Section 1129(a)(11) of the Bankruptcy Code requires

             that, for the Plan to be confirmed, the Bankruptcy Court find that confirmation of the Plan

             is not likely to be followed by the liquidation, or the need for further financial

             reorganization, of the Debtor, unless such liquidation or further reorganization is proposed

             in the Plan. In effect, section 1129(a)(11) requires that the Bankruptcy Court find that the

             Plan is “feasible.”

                     The Debtor has prepared an analysis, set forth hereinbelow, of the feasibility of the

             Plan in order to demonstrate that the Plan satisfies the feasibility requirements of

             section 1129(a)(11) of the Bankruptcy Code (“Feasibility Analysis”). The Feasibility

             Analysis sets forth, among other things, the Debtor’s estimate of the resources available to

             fund the Distributions required by the Plan.

                     THE FEASIBILITY ANALYSIS REPRESENTS A PREDICTION OF FUTURE

             EVENTS BASED UPON CERTAIN ASSUMPTIONS MADE BY THE DEBTOR, AS

             SET FORTH HEREINBELOW. WHILE THE DEBTOR IS CONFIDENT THAT IT

             WILL BE FEASIBLE TO MAKE THE DISTRIBUTIONS TO CREDITORS PROVIDED

             BY THE PLAN, THERE IS NO ABSOLUTE GUARANTY OR OTHER ASSURANCE

             THAT THE FEASIBILITY ANALYSIS WILL PROVE TO BE ACCURATE. BY

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             REASON OF THE UNCERTAINTIES INHERENT IN THE PREDICTION OF FUTURE

             EVENTS, THE FINANCIAL RESULTS MAY WELL BE DIFFERENT FROM THOSE

             PREDICTED, AND SUCH A DIFFERENCE MAY BE MATERIAL AND ADVERSE

             TO THE INTERESTS OF CREDITORS.

                     Significant assumptions underlying the Feasibility Analysis include the following:6

                             a.     Effective Date of the Plan. For the purpose of the Feasibility

                     Analysis, the Debtor projects that the Confirmation Date will occur in June 2019

                     and that the Effective Date will occur in or about June 2019. Payments to

                     Creditors, then, will commence to be funded in or about June 2019.

                             b.     Debtor’s Cash Resources as of the Effective Date ($454,000). As

                     of February 1, 2019, the Debtor had approximately $535,000 in Cash. The

                     Debtor’s business is seasonal; generally, the Debtor consumes cash in the summer

                     months, its busy season, and, then, in the fall and winter months, it builds up cash

                     after it collects its receivables generated during the summer months. The Debtor

                     projects that, by about the Effective Date, the Debtor will have about $200,000 in

                     cash from operations to fund Distributions which must be made by about the

                     Effective Date (i.e., the Debtor projects that, of the $454,000 in Cash that the

                     Debtor projects that it will have on the Effective Date, about $200,000 will derive

                     from its operations).

                             To be conservative, the Debtor projects that the Debtor will not obtain, from

                     February 1, 2019 through the Effective Date, any recoveries from the filing of

                     Avoidance Actions.

                             The Debtor has acted diligently to obtain additional funding to address its

                     working capital needs during its busy summer season and to fund the Distributions

                     which must be paid on or about the Effective Date. The Debtor is seeking to obtain


      6
        The Debtor intends to file, in support of the Confirmation of the Plan, pleadings providing
      updated information regarding Administrative Claims asserted against the Debtor and other
      financial information in order to demonstrate the feasibility of the Plan. Pursuant to an order of
      the Bankruptcy Court, the Debtor is required to file such pleadings by May 24, 2019.
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                       a commitment for such additional funding (i.e., the Post-Effective Date Loan), to

                       be extended to the Reorganized Debtor on or about the Effective Date. The Debtor

                       believes that it has reached with BOW a preliminary agreement by which BOW (i)

                       will reduce its $3,363,509 Secured Claim by the amount of $1,010,559 and to have

                       such amount be treated as an Allowed General Unsecured Claim under the Plan,

                       and (ii) will subordinate an additional $500,000 of its Secured Claim, in order to

                       facilitate the Reorganized Debtor’s obtaining the Post-Effective Date Loan (such

                       agreement with BOW is reflected in the treatment of BOW’s Allowed Claims

                       provided by Section 5.1 of the Plan). The Debtor projects that, pursuant to the

                       Post-Effective Date Loan, the Reorganized Debtor will obtain proceeds in an

                       amount sufficient to pay in full the Class 1 Allowed Secured Claim of BOW

                       ($1,852,950) and to enable the Debtor to have approximately $454,000 in working

                       capital for the Reorganized Debtor.

                                   The Debtor projects that, by reason of the new funding to be obtained by the

                       Reorganized Debtor pursuant to the Post-Effective Date Loan, the Reorganized

                       Debtor will have cash sufficient to pay the Distributions which the Reorganized

                       Debtor will be required to pay on or about the Effective Date.

                                   c.     Administrative Claims ($305,468). The Debtor projects that, on or
                       about the Effective Date, the following Administrative Claims will be asserted

                       against the Reorganized Debtor:

                                        Administrative Claimant                     Administrative
                                                                                    Claim (est.)7

                              i.        Winthrop Couchot (the Debtor’s              $215,000
                                        general insolvency counsel)

                             ii.        Medina (the Debtor’s accountants)           $0

                             iii.       Leed Rancho (the landlord of the            $62,588
                                        Debtor’s former business premises
                                        located in Temecula, California)

      7
        This projection of the Administrative Claims for Winthrop Couchot and for Illyssa I. Fogel & Associates assumes
      that they have resorted to, or will resort to, their respective retainer payments prior to the Effective Date.
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                                  Administrative Claimant               Administrative
                                                                        Claim (est.)7

                        iv.       Illyssa I. Fogel & Associates (the    $23,000
                                  Debtor’s former general insolvency
                                  counsel)

                        v.        Navitas Credit Corp. (lessor of       $4,880
                                  equipment to the Debtor)
                             The Debtor’s projection of the Administrative Claims which will have to be

                 paid on or about the Effective Date derives, in large part, from information

                 provided to the Debtor by the Debtor’s Professionals with respect to their accrued

                 and accruing fees, the Debtor’s review of Leed Rancho’s Claim for unpaid post-

                 petition rent and Navitas Credit Corp.’s Claim for unpaid post-petition lease

                 payments. The Debtor’s projection of Administrative Claims of Professionals

                 employed in the Case is only an estimate for the purpose of this Disclosure

                 Statement, and should not be construed as any agreement by the Debtor as to the

                 amount or reasonableness of such claims, or any agreement by the Professionals to

                 limit their fees to such amount. The actual fees of the Professionals which may be

                 allowed by the Bankruptcy Court and which will have to be paid on or soon after

                 the Effective Date may be higher or lower than the amount estimated by the

                 Debtor.

                             d.     United States Trustee Fees ($17,468). The Debtor projects that the

                 Reorganized Debtor will have to pay, on or about the Effective Date, approximately

                 $17,468 in United States Trustee Fees. This projection is based upon the Debtor’s

                 estimate of the disbursements that it will make through the Effective Date. The

                 Reorganized Debtor will pay timely the entire amount of its obligations for United

                 States Trustee Fees.

                             e.     Cure Claims ($31,828). As set forth in Exhibit “1” of the Plan, the

                 Debtor projects that the Reorganized Debtor will be required to pay approximately

                 $31,828 in Cure Claims promptly after the Effective Date. Such projection derives


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                 from the Debtor’s analysis of the pre-petition arrearages under the Debtor’s

                 executory contracts and unexpired leases and its present determination that it will

                 assume no executory contracts or unexpired leases other than those set forth in

                 Exhibit “1” to the Plan.

                        f.       Priority Non-Tax Claims ($24,799). The Debtor estimates that

                 approximately $24,799 in Priority Non-Tax Claims have been asserted against the

                 Debtor. The Debtor disputes all of such Claims, and believes that none of such

                 Claims will need to be paid by the Reorganized Debtor. The Debtor’s estimate of

                 the amount of the Priority Non-Tax Claims derives from the Debtor’s accounting of

                 the pre-petition obligations owed to its employees, including for vacation time, sick

                 leave time and personal time.

                        g.       Secured Claims ($2,330,908). The Debtor estimates that the

                 following Secured Claims will be asserted against the Reorganized Debtor:

                                 i      Class 1 -- BOW ($1,852,950). The Debtor acknowledges

                        that BOW has an Allowed Secured Claim in the amount of $1,852,950.

                                 ii     Class 2(a) -- Exchange Bank ($12,243). The Debtor

                        acknowledges that Exchange Bank has an Allowed Secured Claim in the

                        amount of $12,243, and believes that Exchange Bank has no Deficiency

                        Claim.

                                 iii.   Class 2(b) -- GreatAmerica ($14,971). GreatAmerica

                        asserts a Secured Claim in the amount of $14,971. The Debtor believes that

                        GreatAmerica has no Allowed Secured Claim, and that GreatAmerica has a

                        Deficiency Claim in the amount of $14,971.

                                 iv.    Class 2(c) -- Trans Advantage ($396,855). The Debtor
                        acknowledges that Trans Advantage has an Allowed Secured Claim in the

                        amount of $396,782, and believes that Trans Advantage has no Deficiency

                        Claim.



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                                           v.       Class 2(d) -- Western Equipment ($45,811). The Debtor

                                 acknowledges that Western Equipment has an Allowed Secured Claim in

                                 the amount of $45,811, and that Western Equipment has a Deficiency Claim

                                 in the amount of $3,000.

                                           vi.      Class 2(e) -- Allegiant ($23,049). The Debtor

                                 acknowledges that Allegiant has an Allowed Secured Claim in the amount

                                 of $23,049, and believes that Allegiant has no Deficiency Claim.

                        The Debtor believes that there are no Allowed Class 3 Secured Claims.

                                 h.        BOW Subordinated Claim ($500,000). Pursuant to the Plan,

                        BOW will have the BOW Subordinated Claim in the amount of $500,000. The

                        BOW Subordinated Claim will be paid pursuant to the provisions of Section 5.1.3

                        of the Plan.

                                 i.        Priority Tax Claims ($4,685). The Debtor estimates that

                        approximately $4,685 in Priority Tax Claims have been asserted against the Estate.

                        The Debtor’s estimate of the amount of Priority Tax Claims derives from the

                        Debtor’s financial books and records and from the Debtor’s review of Proofs of

                        Claim filed by Creditors asserting Priority Tax Claims. The Debtor disputes all of

                        such Claims and believes that it owes no Priority Tax Claims.

                                 j.        Allowed General Unsecured Claims ($2,410,790 - $2,704,720).
                        The Debtor estimates that approximately $2,704,720 in General Unsecured Claims

                        have been asserted against the Debtor (including Deficiency Claims). The Debtor

                        disputes in excess of $294,000 of such Claims. Substantial Disputed General

                        Unsecured Claims include, but are not limited to, the following:



                                                                   Creditor                                        Claim8

                             i        UFP Thornton, LLC (International Wood)                                           $7,020

      8
       The Debtor does not dispute the entire amount of the Claims listed in this chart but, at this point, only about a total of
      $294,000 of such Claims. The Debtor (and the Reorganized Debtor) reserve the right to object, in whole or in part, to
      such Claims and any and all other Claims asserted against the Debtor.
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                                                         Creditor                            Claim8

                    ii         Boyett Petroleum                                                $27,439

                    iii        Pitney Bowes Inc.                                              $15,320

                    iv         Stan Boyett & Son, Inc.                                        $41,843

                    v          The Fundworks, LLC                                            $172,334

                    vi         Gsolutionz GreatAmerica Financial Services Corporation         $51,069

                    vii        Primary Funding Corporation                                    $66,890

                   viii        Daniel R. Warman                                                  $8,575

                    ix         Fox Capital Group, Inc.                                       $218,453

                    x          LoanMe, Inc.                                                    $75,707

                          The Debtor anticipates that objections will be filed to a number of Disputed

                 General Unsecured Claims.

                          In addition to the General Unsecured Claims asserted against the Debtor,

                 pursuant to the Plan, BOW will have an Allowed Class 5 Deficiency Claim in the

                 amount of $1,010,559 and an Allowed Class 5 General Unsecured Claim in the

                 amount of $132,468. Class 2 Secured Creditors may have Deficiency Claims

                 against the Debtor in the aggregate amount of approximately $17,971.

                          For the purpose of this Feasibility Analysis only, the Debtor assumes that

                 General Unsecured Claims will be allowed in a range between approximately

                 $2,410,790 and $2,704,720. The Debtor believes, however, that the amount of

                 General Unsecured Claims that ultimately will be allowed by the Bankruptcy Court

                 may be less than the $2,410,790 figure.

                          k.        Causes of Action ($0). For the purpose of this Feasibility Analysis

                 only, the Debtor projects that it will not obtain any net recovery from prosecuting

                 Causes of Action. The Debtor believes that this is a very conservative projection,




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                   and that it is likely that significant recoveries will be obtained from pursuing

                   Avoidance Actions.

                              l.     Post-Confirmation Operations. Attached as Exhibit “B” hereto is

                   the Debtor’s projection of the Reorganized Debtor’s cash flow from operations

                   during the term of the Plan (“Feasibility Projections”). The Feasibility Projections

                   indicate that the Reorganized Debtor’s operations will be profitable over the term

                   of the Plan, and that the Reorganized Debtor will have cash flow sufficient to make

                   all of the Distributions required by the Plan.

                   2.         Funding of Distributions Required by the Plan. The Feasibility Analysis

            indicates that the Reorganized Debtor will have Cash sufficient to make all Distributions

            required to be made pursuant to the Plan.

                              a.     Distributions Payable on or Promptly After the Effective Date.

                   A primary issue relative to the feasibility of the Plan is whether the Reorganized

                   Debtor will have Cash sufficient to fund the Distributions that are required to be

                   made on or promptly after the Effective Date of the Plan. On or promptly after the

                   Effective Date, the Reorganized Debtor must pay all of the Allowed Administrative

                   Claims, Allowed Priority Non-Tax Claims, United States Trustee Fees, and the

                   Cure Claims. The Reorganized Debtor estimates that, on or about the Effective

                   Date, the Reorganized Debtor will have Cash sufficient to pay such Claims.

                              The Debtor projects that, largely by reason of proceeds that will be obtained

                   from the Post-Effective Date Loan, the Reorganized Debtor will have

                   approximately $454,000 in Cash available to it on or about the Effective Date in

                   order to pay the Distributions that will be owed on or promptly after the Effective

                   Date.

                              The Debtor projects that the Reorganized Debtor will have to pay, on or

                   promptly after the Effective Date, the following obligations:

                        i.    Allowed Administrative Claims                   $ 305,468

                        ii.   United States Trustee Fees                      $ 17,468

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                          iii.    Cure Claims                                             $ 31,828

                          iv.     Allowed Priority Non-Tax Claims                         $          0

                                                                 TOTAL:                   $ 354,764
                                 The Feasibility Analysis indicates, therefore, that the Debtor will have Cash

                        sufficient to fund the Distributions required to be paid to Creditors on or promptly

                        after the Effective Date.

                                 b.       Ongoing Distributions Under the Plan. After payment of

                        Allowed Administrative Claims, Cure Claims, United States Trustee Fees, and

                        Allowed Priority Non-Tax Claims, the remaining material Claims to be paid

                        pursuant to the Plan are the Allowed Class 1 Secured Claim, the Allowed Class 2

                        Secured Claims, the BOW Subordinated Claim, Allowed Priority Tax Claims and

                        Allowed General Unsecured Claims (Class 5).9

                                 The Debtor has been in business since 2008. The Debtor had a solid track

                        record of profitability through the year preceding the Debtor’s Chapter 11 filing,

                        and, as a result of the Debtor’s operational restructuring, cost-cutting and efforts

                        made to enhance revenues, the Debtor’s operations have been restored to

                        profitability. The Debtor is confident that it has resolved the financial problems

                        that led to the Debtor’s Chapter 11 filing and that, through the financial and debt

                        restructuring contemplated by the Plan, including the very significant restructuring

                        of the Debtor’s obligations to BOW, the Debtor’s operations will continue to be

                        profitable.

                                 The Debtor has devoted considerable time and attention to the preparation

                        of the Feasibility Projections. The Debtor believes that the material assumptions

                        underlying the Feasibility Projections are reasonable, and that, given the care with

                        which the Financial Projections have been prepared, the Feasibility Projections are

                        a fair and reasonably accurate projection of the Debtor’s financial performance


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       At present, no order has been entered subordinating any Claims, and, accordingly, for the purpose of this Feasibility
      Analysis only, the Debtor projects that there will be no subordinated claims in the Case.
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                     over the term of the Plan. The Feasibility Projections indicate that the Reorganized

                     Debtor will be able to generate cash flow sufficient during the term of the Plan to

                     enable the Reorganized Debtor to make all of the Distributions required to be paid

                     after the Effective Date of the Plan.

                            c.        Projected Recoveries by Class 5 Creditors. The following is the

                     Debtor’s projection of the potential recoveries by holders of Class 5 Allowed

                     General Unsecured Claims:

                                 Total Distribution to Class 5 Creditors    $450,000

                                 Est. Amount of Allowed General             $2,410,790 - $2,704,720
                                 Unsecured Claims

                                 Est. Percentage Recovery by holders of     16.6% - 18.7%
                                 Allowed General Unsecured Claims

                            By this Feasibility Analysis, therefore, the Debtor projects that the holders

                     of Allowed General Unsecured Claims will recover approximately 16.6% - 18.7%

                     on account of their Allowed General Unsecured Claims. The Debtor cautions,

                     however, that, if any of the material assumptions underlying the Feasibility

                     Analysis proves to be materially inaccurate and adverse to the interests of

                     Creditors, the Reorganized Debtor’s ability to fund Distributions to holders of

                     Allowed General Unsecured Claims will be impaired. Moreover, the recovery

                     by holders of Allowed General Unsecured Claims may prove to be less

                     favorable than that projected. In particular, if the amount of General

                     Unsecured Claims allowed in the Case is higher than the amount projected by

                     the Debtor, the recovery by holders of Allowed General Unsecured Claims will

                     be significantly less favorable than that projected.

             G.      Liquidation Analysis.
             Pursuant to section 1129(a)(7) of the Bankruptcy Code, a plan cannot be confirmed unless

      the bankruptcy court determines that distributions under the plan to all holders of claims who have

      not accepted the plan, and whose claims are classified in classes that are impaired under the plan,


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      are not less than those which they would receive in a liquidation case under Chapter 7. This test

      must be satisfied even if a plan is accepted by each impaired class of claims. This test, which is

      often referred to as the “Best Interests of Creditors” test, requires the bankruptcy court to find

      either that (1) all holders of claims in an impaired class of claims have accepted the plan, or (2) the

      plan will provide to each holder of a claim in an impaired class who has not accepted the plan a

      recovery of property of a value, as of the effective date of the plan, that is not less than the amount

      that such holder would receive if the debtor were liquidated under Chapter 7 of the Bankruptcy

      Code.

              To satisfy the “Best Interests of Creditors” test, the bankruptcy court must reach a

      conclusion regarding the probable distribution to the holders in each impaired class of claims if the

      debtor were liquidated in a Chapter 7 case. The first step in this process is to determine the

      “liquidation value” that would be generated from a sale of the debtor’s assets by a Chapter 7

      trustee. The second step requires the application of the projected liquidation proceeds in

      accordance with the various rights of any creditors holding liens on the property. If such proceeds

      are sufficient to retire any such liens, then the excess would be made available to satisfy the claims

      of unsecured creditors.

              Once all of the claims secured by liens on assets of a debtor’s estate are deducted from the

      projected liquidation proceeds of the sale of the secured creditor’s collateral, then the costs and

      expenses associated with the liquidation of the estate incurred by the Chapter 7 trustee must be

      paid. These costs would include the compensation of the trustee, as well as compensation of

      counsel and other professionals retained by the trustee, and asset disposition expenses.

              After payment of the costs and expenses associated with the Chapter 7 liquidation are paid,

      all unpaid administrative expenses incurred by the debtor in its Chapter 11 case (such as

      compensation of attorneys and accountants) and all unpaid claims arising from the operations of

      the debtor during the pendency of the Chapter 11 case must be paid.

              After the payment of Chapter 11 administrative expenses, the remaining liquidation

      proceeds would be used to pay priority unsecured claims, such as tax and wage claims that are

      entitled to priority under the Bankruptcy Code. Thereafter, the remaining liquidation proceeds

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      would be made available to pay general unsecured claims. Finally, to the extent that any proceeds

      remain after paying all allowed claims, such proceeds would be distributed to interest holders.

             Attached hereto as Exhibit “C” is a liquidation analysis prepared by the Debtor that

      estimates the probable liquidation value of the Debtor, and applies the foregoing liquidation

      methodology to the estimated Claims against the Estate in a Chapter 7 liquidation in an effort to

      quantify what each Class of Creditors would receive in a Chapter 7 liquidation (“Liquidation

      Analysis”). Any Liquidation Analysis of this nature entails a significant degree of estimation and

      projection regarding both probable asset value and probable Allowed Claim totals. For example,

      in preparing the Liquidation Analysis, the Debtor has been required to evaluate the substantial

      amount of Disputed Claims in the Case, and has necessarily quantified what it believes will be the

      Allowed Claims within each Class. Although this quantification was based upon a thorough

      assessment of the information contained in the Debtor’s books and records and the Debtor’s

      review of the Disputed Claims asserted against the Debtor, as of the date of the preparation of the

      Liquidation Analysis, it was not possible to quantify exactly the amount of Allowed Claims given

      the substantial amount of Disputed Claims and the fact that no judicial determinations had been

      made regarding the merits of the Disputed Claims.

             On the valuation side of the Liquidation Analysis, the Debtor has estimated the liquidation

      value of the Debtor’s Assets utilizing its best estimate of the value of the Debtor’s Assets in a

      Chapter 7 liquidation.

             Pursuant to the Plan, the Debtor proposes to use profits generated from the post-

      confirmation operations of the Reorganized Debtor’s business to fund Distributions to Creditors,

      including the holders of Allowed General Unsecured Claims. The Debtor’s business is relatively

      complex, and, to be operated effectively, requires management with extensive knowledge of and

      expertise in such business. The Debtor assumes that, in a Chapter 7 liquidation scenario, the

      Chapter 7 trustee would not seek from the Bankruptcy Court an order authorizing the trustee to
      continue to operate the Debtor’s business, but would terminate the Debtor’s operations and

      liquidate the Debtor’s Assets. The Debtor assumes further that, in a Chapter 7 liquidation

      scenario, there would be little or no involvement by management of the Debtor, and that it is very

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      likely that the Chapter 7 trustee would have little or no knowledge of or expertise regarding the

      Debtor’s business or the Debtor’s Assets. The Debtor believes that, without the active assistance

      of management of the Debtor, the Chapter 7 Trustee would not be in a position to preserve

      effectively the value of the Debtor’s Assets. The Debtor projects that the value of the Debtor’s

      Assets would decline significantly in a Chapter 7 liquidation, and that it is very likely that a

      significant amount of the value of the Debtor’s Assets would be lost in a Chapter 7 liquidation.

             The Debtor contemplates that the Reorganized Debtor will obtain the Post-Effective Date

      Loan in order to facilitate the Debtor’s making Distributions under the Plan. The Debtor assumes

      that a Chapter 7 trustee would not seek, nor be able to obtain, any such funding.

             It should be noted that the Debtor has not used a “worst case” scenario in preparing the

      Liquidation Analysis. Rather, the Debtor has assumed that the Debtor’s Assets will be liquidated

      in as orderly a fashion as possible under the circumstances in order to collect as much value as

      possible from the Assets.

             Material assumptions underlying the Liquidation Analysis include the following.

                     1.      BOW’S Resort to its Remedies.

                     BOW asserts that it holds duly-perfected and unavoidable Liens encumbering all of

             the Debtor’s Assets, except only for certain items of rolling stock and equipment (i.e., the

             Unencumbered Assets). The Debtor believes that, in a Chapter 7 liquidation proceeding,

             BOW and other Secured Creditors likely would seek relief from the bankruptcy stay, and,

             if such relief were granted, they would proceed to enforce their remedies as Secured

             Creditors, including by foreclosing upon their Collateral. The Debtor believes that there

             would be no proceeds available for other Creditors upon the Secured Creditors’ foreclosing

             upon its Collateral.

                     2.      Reduced Value of Assets in Liquidation.
                     Liquidation values for many types of assets are typically lower than going concern

             values for such assets. In this case, the Debtor’s primary Assets are the following: cash,

             accounts receivable, and fixed assets, including rolling stock and equipment

                             a.      Cash. Cash is fully recoverable either in a going concern scenario

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                 or in a liquidation scenario.

                         b.      Accounts Receivable. The Debtor believes that, in a Chapter 7

                 liquidation proceeding, many of the Debtor’s customers would withhold payment

                 and exercise their right of setoff due to the Debtor’s failure to perform under its

                 contracts with its customers. The Debtor believes that a Chapter 7 trustee, or BOW

                 if it were granted relief from stay to foreclose upon its interests in the accounts

                 receivable, would incur significant costs attempting to collect accounts receivable

                 and would have significant difficulty obtaining payment of accounts receivable.

                 Accordingly, the Debtor projects that, in a Chapter 7 liquidation, the value of

                 accounts receivable less than 90 days old would decline by approximately 55% and

                 that BOW would obtain all of the net proceeds therefrom.

                         c.      Rolling Stock and Equipment. The Debtor estimates that the

                 aggregate value of its rolling stock and equipment which are encumbered by Liens

                 in favor of BOW and Class 2 Secured Creditors is approximately $2,928,000. This

                 estimate is based, in part, upon appraisals of certain rolling stock and equipment

                 prepared by Sterling Appraisals & Machinery in July 2018 (“Sterling Appraisal”)

                 and by International Appraisal in October 2017 (“International Appraisal”).

                         Based in part upon the Sterling Appraisal and the International Appraisal,

                 the Debtor estimates that the aggregate value of the Unencumbered Assets (i.e.,
                 unencumbered rolling stock and equipment) is approximately $753,000.

                         The Debtor projects that, in a Chapter 7 liquidation, the value of the

                 Debtor’s encumbered rolling stock and equipment would decline by approximately

                 46%, and that the value of the Unencumbered Assets would decline by about 48%.

                 This decline in value would be attributable, in part, to the following: (i) the cost of

                 employing an auctioneer or other liquidator to liquidate such assets; (ii) the forced

                 nature of the sale of such assets; (iii) a current excess of such assets for sale in the

                 marketplace; and (iv) lack of facilities to accommodate the large number of storage

                 vaults which would need to be liquidated.

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                           Accordingly, the Debtor projects that, in a Chapter 7 liquidation, the

                   proceeds from the liquidation of the encumbered rolling stock and equipment

                   would be approximately $1,581,120 and would be paid entirely to BOW and to the

                   Class 2 Secured Creditors in payment of their respective Liens encumbering such

                   assets, and that the proceeds from the liquidation of the Unencumbered Assets

                   would be approximately $391,360.

                   3.      Increased Amount of Claims in Liquidation. As set forth hereinabove, a

            liquidation of the Debtor’s Assets very likely will result in a significant reduction in the

            value of the Debtor’s Assets. In a Chapter 7 liquidation, Creditors’ interests also would be

            impaired by the creation of a substantial amount of Claims, including substantial

            Administrative Claims, that otherwise would not be asserted against the Debtor.

                   In a Chapter 7 liquidation, holders of Allowed Claims would receive Distributions

            based on the liquidation of the Debtor’s Assets. The proceeds from the liquidation of the

            Assets available for funding Distributions to Creditors would be reduced by the

            commission payable to the Chapter 7 trustee and by the fees and expenses of the

            professionals who would be retained by the trustee and who would be required to “get up

            to speed” in the Chapter 7 Case, and, hence, who would be likely to incur fees in excess of

            the accruing fees of the Professionals now employed in the Chapter 11 Case.

                   In a Chapter 7 case, the trustee would be entitled to seek a sliding scale commission

            based upon the Cash that would be distributed by such trustee to Creditors. The

            professionals and assistants who would be employed by the Chapter 7 trustee would add

            additional administrative expense that would be paid prior to payment of Allowed General

            Unsecured Claims. The Debtor already has legal counsel who is knowledgeable about the

            Case and the legal issues concerning the Case and the resolution of Claims asserted against

            the Estate; by reason of the knowledge of the Professionals already employed in the Case,

            the Professionals likely can complete the legal work necessary to resolve the Case much

            more efficiently and economically than a new set of professionals who would be employed

            by a trustee. The costs of familiarizing the trustee, the trustee’s new professionals, and the

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            trustee’s new staff with issues relating to the Case likely will increase the Administrative

            Claims that must be paid before payment of Allowed General Unsecured Claims.

                    It also must be noted that the issues related to the Claims adjudication process in

            the Case are fairly complex. The Debtor believes that the process of adjudicating Disputed

            Claims in the Case are best handled by the Debtor’s existing management and by the

            Debtor’s existing Professionals. The Debtor’s management has substantial knowledge of

            the Debtor’s business and financial affairs and the Debtor’s transactions with its Creditors.

            The Debtor’s management’s substantial knowledge of the Debtor’s business and financial

            affairs and the Debtor’s transactions with its Creditors will be invaluable in the Claims

            adjudication process. Moreover, the Debtor’s existing Professionals already have

            commenced evaluating the Claims asserted in the Case. The existing Professionals’

            knowledge of the Claims asserted in the Case will help to ensure that the Claims

            adjudication process will be handled in an efficient and expeditious manner. The Debtor

            believes that there is a significant risk that, in a Chapter 7 liquidation, with a loss of the

            “institutional knowledge” of the Debtor’s financial affairs and the Claims asserted against

            the Debtor possessed by the Debtor’s management and by the existing Professionals in the

            Case, the process of resolving Disputed Claims will be affected adversely to the interests

            of Creditors.

                    In addition to a potentially significant increase in Administrative Claims in the

            Case associated with the fees and expenses of the Chapter 7 trustee and the professionals

            and assistants who would be employed by the Chapter 7 trustee, the amount of Claims

            allowed in the Case may increase significantly in a Chapter 7.

                    In a Chapter 7 liquidation, it is very likely that the Debtor’s business would not be

            operated by the Chapter 7 trustee. As a result, the Debtor’s storage contracts with its

            customers may be rejected by the Chapter 7 trustee. A rejection of such contracts almost

            certainly would cause the Debtor’s customers under such contracts to withhold payment of

            their obligations under such contracts, reducing substantially the value of the Debtor’s

            accounts receivable, and to increase substantially the amount of General Unsecured Claims

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             asserted against the Debtor. If the Chapter 7 trustee were to attempt to honor the storage

             contracts, the trustee would incur substantial expense in so doing, including rent and

             utilities associated with maintaining the Debtor’s facilities and the cost of personnel to

             operate the facilities. A significant percentage of such storage contracts are with military

             personnel; in the Debtor’s experience, such contracts may have a term of many months, if

             not years, and so the ongoing cost of honoring the storage contracts could last for a

             considerable period of time.

                     In any Chapter 7 liquidation, the trustee may not be inclined to prosecute

             aggressively Causes of Action. As a result, not only could there be a potential loss in value

             of Causes of Action, but there could be an increase in Allowed Claims because, by not

             pursuing aggressively Causes of Action against the holders of Disputed Claims, Disputed

             Claims could be allowed in a Chapter 7 liquidation that otherwise would not be allowed in

             the Chapter 11 Case. Moreover, without the involvement of the Debtor’s management and

             the Debtor’s existing Professionals in the Claims adjudication process, there is a risk that a

             greater amount of Disputed Claims would be allowed in a Chapter 7 liquidation than

             would be allowed in the Chapter 11 Case.

             Although there are difficulties inherent in quantifying, with any exactitude, the potential

      recoveries that Creditors would receive in a Chapter 7 liquidation scenario, the Debtor believes

      that the Liquidation Analysis provides a fair estimate of the results that would occur in a Chapter 7

      liquidation. The Liquidation Analysis indicates that, in a Chapter 7 liquidation scenario, holders

      of Chapter 11 Administrative Claims would not be paid in full and that holders of Allowed

      General Unsecured Claims would obtain no recovery (compared with a projected 16.6% - 18.7%

      recovery under the Plan). Moreover, pursuant to the Plan, Distributions to satisfy Allowed

      Administrative Claims, Cure Claims and Allowed Priority Non-Tax Claims will be paid on or

      promptly after the Effective Date (projected to occur in or about June 2019). In contrast, a

      Chapter 7 trustee would have no familiarity with the Debtor, the Debtor’s Assets, the Claims and

      the Debtor’s Case, and likely would seek to retain professionals who are similarly unfamiliar with

      these matters. Consequently, the Debtor believes that it is likely that there would be no

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      Distributions to such Creditors in a Chapter 7 liquidation for a period of many months, if not

      years.

               Based on the foregoing, the Debtor believes that the Reorganized Debtor is in the best

      position to produce the highest return to Creditors, and that it will be advantageous to Creditors to

      have the Debtor reorganize its financial affairs pursuant to the Plan, rather than liquidate its Assets

      in Chapter 7.

               While the Debtor’s conclusions regarding the results of a liquidation scenario are

      unavoidably speculative and depend upon a number of variables, the Debtor believes that there is a

      good basis for it to believe that, pursuant to the Plan, Creditors will be able to recover significantly

      more on account of their Claims than they would in a Chapter 7 liquidation proceeding.

      Accordingly, the Debtor has concluded that the Plan is the best alternative for Creditors, and will

      maximize recoveries by Creditors.

                                                       XIII.

           CERTAIN UNITED STATES FEDERAL TAX CONSEQUENCES OF THE PLAN

               A.     Introduction.

               CREDITORS AND INTEREST HOLDERS CONCERNED WITH HOW THE

      PLAN MAY AFFECT THEIR TAX LIABILITIES SHOULD CONSULT WITH THEIR

      OWN ACCOUNTANTS, ATTORNEYS AND/OR OTHER TAX ADVISORS. The following

      disclosure of possible tax consequences of the Plan is intended solely for the purpose of alerting

      Creditors to possible tax issues that the Plan may present to the Debtor. The Debtor CANNOT

      and DOES NOT represent that the tax consequences contained below are the only tax

      consequences of the Plan because the Internal Revenue Code embodies many complicated rules

      which make it difficult to state completely and accurately all of the tax implications of any action.

               B.     Consequences to the Debtor.
               In general, the Internal Revenue Code provides that a debtor in a bankruptcy case is not

      taxable on cancellation of debt (“COD”) income, but must reduce certain of its tax attributes (such

      as its net operating loss carryforwards and its tax basis in its assets) by the amount of COD

      income. COD income results when the amount of debt discharged exceeds the consideration

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      given in exchange therefor, and is equal to such excess amount. In this case, it is likely that a

      cancellation of debt will be deemed to occur on the Effective Date of the Plan. Any reduction in

      tax attributes does not occur, however, until the end of the Debtor’s taxable year or, in the case of

      asset basis reduction, the first day of the taxable year following the taxable year in which the COD

      is incurred.

             C.      Withholding of Taxes.

             All Distributions to holders of Allowed Priority Unsecured Claims and Allowed General

      Unsecured Claims are subject to any applicable tax withholding, including employment tax

      withholding. Under federal income tax law, interest, dividends, and other reportable payments

      may, under certain circumstances, be subject to “backup withholding” at the then applicable

      withholding rate. Backup withholding generally applies if the holder (1) fails to furnish its social

      security number or other taxpayer identification number (“TIN”), (2) furnishes an incorrect TIN,

      (3) fails properly to report interest or dividends, or (4) under certain circumstances, fails to provide

      a certified statement, signed under penalty of perjury, that the TIN provided is its correct number

      and that it is not subject to backup withholding. Backup withholding is not an additional tax but

      merely an advance payment, which may be refunded to the extent that it results in an overpayment

      of tax. Certain persons are exempt from backup withholding, including, in certain circumstances,

      corporations and financial institutions.

             THE FOREGOING SUMMARY HAS BEEN PROVIDED FOR INFORMATIONAL

      PURPOSES ONLY. ALL HOLDERS OF CLAIMS OR INTERESTS ARE URGED TO

      CONSULT WITH THEIR OWN ACCOUNTANTS, ATTORNEYS AND/OR OTHER TAX

      ADVISORS CONCERNING THE FEDERAL, STATE, LOCAL AND OTHER TAX

      CONSEQUENCES OF THE PLAN.

                                                       XIV.

                                            RECOMMENDATION

             The Debtor recommends that all Creditors receiving a Ballot vote in favor of the Plan. The

      Debtor believes that the Plan maximizes recoveries to all Creditors and, thus, is in the best

      interests of Creditors. The Plan likely will produce Distributions to Creditors in excess of those

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      that would be available if the Debtor were liquidated under Chapter 7 of the Bankruptcy Code, and

      will minimize delays in recoveries by certain Creditors.
                    10 2019
      Dated: April ___,                            LOVEJOY’S FAMILY MOVING, INC. dba
                                                   REPUBLIC MOVING & STORAGE


                                                   By:
                                                               Joseph W. Lovejoy
                                                   Title: President

      APPROVED AS TO FORM.

      Dated: April ___,
                   10                              WINTHROP COUCHOT
                                                   GOLUBOW HOLLANDER, LLP

                                                   By: /s/ Robert E. Opera
                                                          Robert E. Opera
                                                          Peter W. Lianides
                                                   General Insolvency Counsel for Debtor and Debtor-
                                                   in-Possession, Lovejoy's Family Moving, Inc., dba
                                                   Republic Moving & Storage




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                                       EXHIBIT “A”

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                                CENTRAL DISTRICT OF CALIFORNIA
In re:                                                CHAPTER 11 (BUSINESS)
    Lovejoy's Family Moving, Inc., dba Republic
    Moving & Storage                                  Case Number:                   6:18-bk-16624-SC
                                                      Operating Report Number:                      7
                                         Debtor(s).   For the Month Ending:                    19-Feb

                             I. CASH RECEIPTS AND DISBURSEMENTS
                                    A. (GENERAL ACCOUNT*)

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                  6,654,888.31

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                       6,209,418.75
   ACCOUNT REPORTS

3. BEGINNING BALANCE: As of 8/6 -- 9/1/18                           128,946.00             574,415.56

4. RECEIPTS DURING CURRENT PERIOD:
   Accounts Receivable - Post-filing                               715,166.95
   Accounts Receivable - Pre-filing                   TBD end of Month
   General Sales                                                   141,437.93
   Other (Specify)                                                       0.00
   **Other (Specify)

   TOTAL RECEIPTS THIS PERIOD:                                                             856,604.88

5. BALANCE:                                                                              1,431,020.44

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2)  169,684.50
   Disbursements (from page 2)                    627,631.06

   TOTAL DISBURSEMENTS THIS PERIOD:***                                                     797,315.56

7. ENDING BALANCE:                                                                         633,704.88

8. General Account Number(s):                         Bank of the West ..2859    Bank of the West ..3545
                                                                                 DIP
   Depository Name & Location:                        8690 Centre Dr             8690 Centre Dr
                                                      La Mesa, CA 91942          La Mesa, CA 91942




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                                         184FROM
                         TOTAL DISBURSEMENTS   Filed 03/19/19
                                                     04/12/19
                                                  GENERAL       Entered
                                                          ACCOUNT         03/19/19
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                                                                      180
  Date           Check                                                                 *Amount        **Amount
mm/dd/yyyy      Number            Payee or DIP account               Purpose           Transfered     Disbursed          Amount
   2/1/2019   DEBIT         BANK FEE                    BANK FEE                                              3.00              3.00
   2/1/2019   DEBIT         BANK FEE                    BANK FEE                                            103.00            103.00
   2/1/2019   DEBIT         RAINBOW WATER               UTILITY DEBIT/BONSALL                               191.87            191.87
   2/1/2019   WIRE          COMDATA                     FUEL/DRIVERS                                      5,881.50          5,881.50
   2/1/2019          2825   JACOB RODRIGUEZ             PAYROLL                             112.00                            112.00
   2/1/2019          2826   IGLESIAS TRUCKING           CONTRACTOR                                       1,000.00           1,000.00
   2/1/2019          2827   GARCIA'S MOVING             CONTRACTOR                                         500.00             500.00
   2/1/2019          2829   IGNACIO RAMIREZ             CONTRACTOR                                       5,000.00           5,000.00
   2/1/2019          2828   USPS                        SALES POSTCARD                                     198.16             198.16
   2/1/2019          2432                               DUES/SUBS, YEARLY HR SERVICE
                            CALIFORNIA CHAMBER OF COMMERCE                                                 649.00             649.00
   2/1/2019          2433   HEAVY DUTY MOBILE           TRUCK REPAIRS                                      800.00             800.00
   2/1/2019          2434   BROWN FAMILY SVC            TRUCK REPAIRS                                    1,613.40           1,613.40
   2/4/2019   DEBIT         GSOLUTIONZ                  PHONE SUPPORT                                      409.25             409.25
   2/5/2019   DEBIT         UBIQUITY                    401K FEE                                           155.00             155.00
   2/6/2019   DEBIT         COX COMMUNICATIONS          INTERNET/CHULA VISTA                             1,922.40           1,922.40
   2/4/2019   WIRE          COMDATA                     FUEL/DRIVERS                                       988.00             988.00
   2/4/2019   DEBIT         MERCH BANKCARD FEE          C/C PROCESSING FEES                                235.48             235.48
   2/4/2019   DEBIT         MERCH BANKCARD DISC         C/C PROCESSING FEES                                727.95             727.95
   2/4/2019   DEBIT         FLYERS ENERGY               FUEL/LOCAL                                       1,613.28           1,613.28
   2/4/2019   DEBIT                                     VEHICLE GPS SYSTEM
                            SILENT PASSENGER/VEHICLE TRACKING                                            1,884.35           1,884.35
   2/4/2019   DEBIT         CHOICE LOCAL                WEBSITE/SEO                                      2,180.00           2,180.00
   2/4/2019   DEBIT         MERCH BANKCARD INTERCH FEEC/C PROCESSING FEES                                7,565.18           7,565.18
   2/5/2019   ACH           CHRIS CARLSSON              CONTRACTOR                                       1,851.90           1,851.90
   2/5/2019          2830   USPS                        SALES POSTCARDS                                    353.83             353.83
   2/5/2019          2831   STACEY ROMERO               CONTRACTOR                                         440.00             440.00
   2/5/2019          2832   AMSA                        AMERICAN MOVING & STORAGE                        1,025.00           1,025.00
   2/5/2019          2833   DEPENDABLE HIGHWAY EXPRESSFREIGHT                                               73.15              73.15
   2/5/2019          2834   CMSA                        CALIFORNIA MOVING & STORAGE                        205.00             205.00
   2/5/2019          2835   GREGG EDWARD COMEY          SALES LEADS                                      1,425.00           1,425.00
   2/5/2019          2836   JAN-PRO                     JANITORIAL                                       1,523.00           1,523.00
   2/6/2019   ACH           ACCESS ACCOUNTING           CONTRACTOR                                       2,733.20           2,733.20
   2/6/2019   ACH           MOVING MANAGEMENT           CONTRACTOR                                      16,676.28          16,676.28
   2/6/2019   WIRE          COMDATA                     FUEL/DRIVERS                                     3,526.50           3,526.50
   2/6/2019   DEBIT         IRON MOUNTAIN               DOCUMENT SHREDDING                                  69.27              69.27
   2/6/2019   PAYROLL       DIRECT DEPOSITS             2/8/18 PAYROLL                    24,594.56                        24,594.56
   2/6/2019   PAYROLL       TAX LIAB                    2/8/18 PAYROLL                    10,906.10                        10,906.10
   2/6/2019   PAYROLL       NET CKS                     2/8/18 PAYROLL                     1,171.05                         1,171.05
   2/6/2019          2838   DIRECT CONNECT              3RD PARTY LOGISTICS                              1,084.25           1,084.25
   2/6/2019          2839   MM MANAGER LLC              CUSTOMER REFUND/CLAIM                              223.50             223.50
   2/6/2019          2840   CURTIS PRINTING SOLUTIONS   MILITARY FORMS                                     797.54             797.54
   2/6/2019          2841   EASTGROUP PROPERTIES        CHULA VISTA RENT                                91,784.90          91,784.90
   2/6/2019          2842   CARLSBAD ROCK/SUPPLY        BONSALL RENT                                     5,000.00           5,000.00
   2/6/2019          2843   KC DIGITAL SOLUTIONS        PRINTER/TONER                                      427.54             427.54
   2/6/2019          2995   OTAY LANDFILL               TRASH REMOVAL                                      753.81             753.81
   2/7/2019   ACH           MARI DRAYTON/SALES DRAW SALES DRAW                                           1,500.00           1,500.00
   2/7/2019   ACH           BRENDA RAYFIELD             CONTRACTOR                                       1,255.00           1,255.00
   2/7/2019   ACH/2848      SARTAIN TRUCKING/TERRY      CONTRACTOR                                         326.89             326.89
   2/7/2019   ACH/2847      HERMAN JONES                CONTRACTOR                                       3,696.54           3,696.54
   2/7/2019          2849   EP LOGISTICS                CONTRACTOR                                       2,302.02           2,302.02
   2/7/2019          2850   HE TRUCKING/HECTOR          CONTRACTOR                                         710.65             710.65
   2/7/2019          2851   IGLESIAS TRUCKING           CONTRACTOR                                       3,536.49           3,536.49
   2/7/2019          2852   KIRK WALTERS                CONTRACTOR                                       1,479.39           1,479.39
   2/7/2019          2853   MOVING MANAGEMENT           CONTRACTOR                                          39.81              39.81
   2/7/2019          2854   GARCIA'S MOVING/PETE        CONTRACTOR                                       1,073.76           1,073.76
   2/7/2019          2855   PUGA RELOCATIONS            CONTRACTOR                                      11,988.36          11,988.36
   2/7/2019          2856   QUICKLINE/ROLANDO           CONTRACTOR                                       1,683.88           1,683.88
   2/7/2019          2857   IGNACIO RAMIREZ             CONTRACTOR                                       4,084.41           4,084.41




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                 2858 SG MOVING          Doc 213
                                               184 CONTRACTOR
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 2/7/2019        2859 STRESS FREE MOVINGMain
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                                                                             180                      676.18          676.18
 2/7/2019        2860 VERA RELOCATIONS             CONTRACTOR                                       1,325.56        1,325.56
 2/7/2019                                          ADEQUATE PROTECTION PAYMENT
                 2435 BANK OF THE WEST/ADEQU PROTECTION                                            13,500.00       13,500.00
 2/7/2019        2436 HEAVY DUTY MOBILE            TRUCK REPAIRS                                    2,320.00        2,320.00
 2/7/2019        2437 JONAS SOFTWARE               MOVER SUITE SOFTWARE SUBSCRIPTION                6,477.85        6,477.85
 2/7/2019        2844 RUSSELL TRAILER LEASING      TRAILER LEASING                                    275.00          275.00
 2/7/2019        2845 GEORGE DALL, CPA             CPA SERVICES                                     1,500.00        1,500.00
 2/7/2019        2846 USPS                         SALES POSTCARDS                                    455.96          455.96
 2/7/2019 ACH         AMERIGAS                     FORKLIFT PROPANE/CHULA VISTA                     1,413.00        1,413.00
 2/7/2019 ACH         AMERIGAS                     FORKLIFT PROPANE/BONSALL                           386.97          386.97
 2/7/2019 ACH         AMERIGAS                     FORKLIFT PROPANE/CHULA VISTA                     1,325.82        1,325.82
 2/8/2019 ACH         TRANSGUARD/DRIVER'S WC       DRIVERS INSURANCE                                4,609.00        4,609.00
 2/8/2019 ACH         TRANSGUARD/DRIVER'S WC       DRIVERS INSURANCE                                5,284.00        5,284.00
 2/8/2019 DEBIT       FLYERS ENERGY                FUEL/LOCAL                                       1,109.82        1,109.82
 2/8/2019 WIRE        COMDATA                      FUEL/DRIVERS                                     3,597.00        3,597.00
 2/8/2019        2861 USPS                         SALES POSTCARDS                                    378.12          378.12
 2/8/2019        2862 VERA RELOCATIONS             CONTRACTOR                                       1,800.00        1,800.00
 2/8/2019        2863 STRESS FREE MOVING           CONTRACTOR                                       1,200.00        1,200.00
 2/8/2019        2864 IGNACIO RAMIREZ              CONTRACTOR                                       3,100.00        3,100.00
 2/8/2019        2865 DMV RENEWAL                  TRUCK LICENSE/REGISTRATION                       2,352.00        2,352.00
 2/8/2019 TRSFR/2866 PETTY CASH BOX                PETTY CASH BOX                                   4,000.00        4,000.00
2/12/2019 DEBIT       SDGE                         UTILITY DEBIT                                      224.44          224.44
2/12/2019 DEBIT       GSOLUTIONZ                   PHONE SUPPORT                                      278.98          278.98
2/13/2019 PAYROLL     401K                         PAYROLL                             315.81                         315.81
2/14/2019 DEBIT       PRINCIPAL FIN/DENTAL INS     GROUP DENTAL INS                                 1,640.09        1,640.09
2/11/2019 DEBIT       FLYERS ENERGY                FUEL/LOCAL                                         341.75          341.75
2/11/2019 DEBIT       GOOGLE                       SALES LEADS                                        500.00          500.00
2/11/2019        2439 VICTOR TENORIO               EXP REPORT REIMB                                 1,109.00        1,109.00
2/11/2019        2440 ALL OFFICE SOLUTIONS         CONTRACTOR                                         450.00          450.00
 2/6/2019       28300 MIDWESTERN INSURANCE         WC INSURANCE                                     4,397.40        4,397.40
2/12/2019 WIRE        COMDATA                      FUEL/DRIVERS                                     6,540.50        6,540.50
2/12/2019 DEBIT       C/C CHARGEBACK               CUSTOMER REFUND                                    365.00          365.00
2/12/2019        2441 BRENDA RAYFIELD/EXP REIMB CONTRACTOR                                            199.94          199.94
2/12/2019        2867 STACEY ROMERO                CONTRACTOR                                         505.00          505.00
2/12/2019        2868 USPS                         SALES POSTCARDS                                    520.66          520.66
2/12/2019        2869 CONCENTRA/US HEALTHWORKS DRUG SCREENS                                           130.00          130.00
2/12/2019        2870 KC DIGITAL SOLUTIONS         COPIER TONER                                       227.79          227.79
2/12/2019        2871 MCD TIRE                     TRUCK TIRES                                        653.76          653.76
2/12/2019        2872 COMPLETE OFFICE              COPY PAPER                                         403.25          403.25
2/12/2019        2873 C.P. RICHARD SIGNS           TRUCK DOOR SIGNS                                   573.75          573.75
2/13/2019 WIRE        COMDATA                      FUEL/DRIVERS                                     3,471.00        3,471.00
2/13/2019 WIRE        NORTH AMERICAN VAN LINES STATEMENT DEFICIT                                    6,452.59        6,452.59
2/13/2019 PAYROLL     DIRECT DEPOSITS              PAYROLL                          24,570.56                      24,570.56
2/13/2019 PAYROLL     TAX LIABILITY                PAYROLL                          10,670.17                      10,670.17
2/13/2019 PAYROLL     NET CKS                      PAYROLL                           1,015.85                       1,015.85
2/13/2019 ACH         CHRIS CARLSSON               CONTRACTOR                                       1,781.40        1,781.40
2/13/2019 ACH         ACCESS ACCOUNTING            CONTRACTOR                                       2,629.04        2,629.04
2/13/2019 ACH         MOVING MANAGEMENT            CONTRACTOR                                      17,327.91       17,327.91
2/13/2019        2874 SKII FLEETON/CUSTOMER REFUND CUSTOMER REFUND                                    549.22          549.22
2/14/2019 WIRE        COMDATA                      FUEL/DRIVERS                                     2,656.00        2,656.00
2/14/2019 ACH         TERRIE MILLER/SALES DRAW     SALES DRAW                                       1,000.00        1,000.00
2/14/2019 ACH         JESSICA GONZALEZ/SALES DRAWSALES DRAW                                         1,000.00        1,000.00
2/14/2019 ACH         BRENDA RAYFIELD              CONTRACTOR                                       1,255.00        1,255.00
2/14/2019 ACH         10STRONG RELO/VICTOR TENORIO SALES DRAW                                       6,950.00        6,950.00
2/14/2019 ACH         SARTAIN TRUCKING             CONTRACTOR                                       3,091.80        3,091.80
2/14/2019 ACH         JOAQUIN TREJO                CONTRACTOR                                         716.59          716.59
2/14/2019        2876 EP LOGISTICS                 CONTRACTOR                                       1,877.90        1,877.90
2/14/2019        2877 HE TRUCKING/HECTOR           CONTRACTOR                                       1,113.00        1,113.00
2/14/2019        2878 IGLESIAS TRUCKING            CONTRACTOR                                       2,579.15        2,579.15
2/14/2019        2879 KIRK WALTERS                 CONTRACTOR                                       1,376.92        1,376.92




                                                                                                      EXHIBIT A
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                2881 GARCIA'S MOVING/PETE Main
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                                                                           180                    1,296.87       1,296.87
2/14/2019       2882 PUGA RELOCATIONS           CONTRACTOR                                       14,090.01      14,090.01
2/14/2019       2883 QUICKLINE/ROLANDO          CONTRACTOR                                        2,185.21       2,185.21
2/14/2019       2884 IGNACIO RAMIREZ            CONTRACTOR                                        2,267.13       2,267.13
2/14/2019       2885 SG MOVING                  CONTRACTOR                                        6,941.11       6,941.11
2/14/2019       2886 STRESS FREE MOVING         CONTRACTOR                                          471.57         471.57
2/14/2019       2887 VERA RELOCATIONS           CONTRACTOR                                        1,465.50       1,465.50
2/14/2019       2446 IGLESIAS TRUCKING          CONTRACTOR                                           75.00          75.00
2/14/2019       2442 DONALD CARLSON/SALES DRAWSALES DRAW                                          1,500.00       1,500.00
2/14/2019       2443 DAVID SAAVEDRA/SALES DRAW SALES DRAW                                           500.00         500.00
2/14/2019       2444 BROWN FAMILY SERVICES      TRUCK REPAIRS                                     3,164.31       3,164.31
2/14/2019       2445 HEAVY DUTY MOBILE          TRUCK REPAIRS                                     2,968.00       2,968.00
2/14/2019       2875 ROAD ONE                   TRUCK TOW                                           418.00         418.00
2/15/2019 DEBIT      OTAY WATER                 WATER BILL, SUITE 1                               1,037.69       1,037.69
2/15/2019 WIRE       COMDATA                    FUEL/DRIVERS                                      3,751.50       3,751.50
2/15/2019       2889 USPS                       SALES POSTCARDS                                     954.31         954.31
2/15/2019       2890 CONCENTRA/US HEALTHWORKS DRUG SCREENS                                          130.00         130.00
2/15/2019       2891 PITNEY BOWES               POSTAGE                                              62.93          62.93
2/15/2019       2888 IGLESIAS TRUCKING          CONTRACTOR                                          225.00         225.00
2/19/2019 DEBIT      AQUA CHILL                 OFFICE WATER COOLER                                  67.40          67.40
2/20/2019 DEBIT      PRUDENTIAL                 OFFICER'S INS                                       528.75         528.75
2/20/2019 DEBIT      PRUDENTIAL                 OFFICER'S INS                                       528.75         528.75
2/20/2019 DEBIT      PRUDENTIAL                 OFFICER'S INS                                       528.75         528.75
2/20/2019 DEBIT      SDGE                       UTILITY DEBIT                                     3,411.84       3,411.84
2/21/2019 DEBIT      ANALYSIS FEE               BANK FEE                                          1,148.71       1,148.71
2/21/2019 DEBIT      AMERICAN GEN LIF INS       OFFICER'S INS                                       380.98         380.98
2/22/2019 DEBIT      AMERITAS INS               OFFICER'S INS                                       345.74         345.74
2/19/2019 DEBIT      FLYERS ENERGY              FUEL/LOCAL                                        1,556.04       1,556.04
2/19/2019 WIRE       COMDATA                    FUEL/DRIVFERS                                     4,828.50       4,828.50
2/18/2019       2447 LONNA O'CONNOR             CUSTOMER REFUND/CLAIM                               200.00         200.00
2/19/2019       2847 SAN DIEGO LANDFILL         TRASH REMOVAL                                       618.92         618.92
2/19/2019       2448 CONNIE MARINELLO           CUSTOMER REFUND/CLAIM                             1,616.82       1,616.82
2/19/2019       2449 DARYL/SARAH AKIOKA         CUSTOMER REFUND/CLAIM                               400.00         400.00
2/19/2019       2892 USPS                       SALES POSTCARDS                                     468.69         468.69
2/19/2019       2893 STACEY ROMERO              CONTRACTOR                                          430.00         430.00
2/19/2019       2894 AMSA                       DUES/SUSBS-INDUSTRY                               1,000.00       1,000.00
2/20/2019 ACH        ACCESS ACCOUNTING          CONTRACTOR                                        2,690.71       2,690.71
2/20/2019 ACH        CHRIS CARLSSON             CONTRACTOR                                        1,781.40       1,781.40
2/20/2019 PAYROLL    NET CKS-TERMINATIONS       PAYROLL                            5,198.18                      5,198.18
2/20/2019 PAYROLL    NET CKS-TERMINATIONS       PAYROLL                              757.31                        757.31
2/20/2019 PAYROLL    DIRECT DEPOSITS            PAYROLL                           22,916.87                     22,916.87
2/20/2019 PAYROLL    TAX LIAB                   PAYROLL                           12,343.61                     12,343.61
2/20/2019 PAYROLL    NET CKS-REGULAR            PAYROLL                              580.54                        580.54
2/20/2019 ACH        MOVING MANAGEMENT          CONTRACTOR                                       16,008.37      16,008.37
2/20/2019       2896 DMV RENEWAL                TRUCK LICENSE/REGISTRATION                        1,947.00       1,947.00
2/20/2019       2897 ORKIN                      PEST CONTROL                                        201.41         201.41
2/20/2019       2898 IRS                        ADDL PR TAX                                         790.47         790.47
2/20/2019       2900 VANLINER INS               INSURANCE                                            96.00          96.00
2/20/2019       2902 DMV RENEWAL                TRUCK LICENSE/REGISTRATION                          306.00         306.00
2/21/2019 ACH        ADAN HERNANDEZ             CONTRACTOR                                        1,656.05       1,656.05
2/21/2019 ACH        HERMAN JONES               CONTRACTOR                                        1,520.79       1,520.79
2/21/2019       2904 IGNACIO RAMIREZ            CONTRACTOR                                        2,550.92       2,550.92
2/21/2019       2905 EP LOGISTICS               CONTRACTOR                                        1,385.28       1,385.28
2/21/2019       2906 HE TRUCKING/HECTOR         CONTRACTOR                                        4,806.69       4,806.69
2/21/2019       2907 IGLESIAS TRUCKING          CONTRACTOR                                        1,275.43       1,275.43
2/21/2019       2908 KIRK WALTERS               CONTRACTOR                                        1,485.20       1,485.20
2/21/2019       2909 GARCIA'S MOVING/PETE       CONTRACTOR                                          789.24         789.24
2/21/2019       2910 PUGA RELOCATIONS           CONTRACTOR                                       12,531.68      12,531.68
2/21/2019       2911 QUICKLINE/ROLANDO          CONTRACTOR                                        1,999.51       1,999.51




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2/21/2019Case 6:18-bk-16624-SC
                2912 IGNACIO RAMIREZ Doc 213  184 Filed 04/12/19
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2/21/2019       2913 JUST MOVING UP INC.MainMain
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                                                                             180                      635.78          635.78
2/21/2019       2914 SG MOVING                    CONTRACTOR                                        6,029.70        6,029.70
2/21/2019       2915 STRESS FREE MOVING           CONTRACTOR                                        1,636.12        1,636.12
2/21/2019       2916 VERA RELOCATIONS             CONTRACTOR                                        1,255.41        1,255.41
2/21/2019 ACH        BRENDA RAYFIELD              CONTRACTOR                                        1,255.00        1,255.00
2/21/2019 DEBIT      ANALYSIS FEE                 BANK FEE                                            260.00          260.00
2/21/2019 DEBIT      REPUBLIC SERVICES            TRASH REMOVAL                                     1,751.00        1,751.00
2/20/2019       2901 GARCIA'S MOVING/PETE         CONTRACTOR                                          400.00          400.00
2/21/2019       2451 PHILIP SHAVER//CLAIM         CUSTOMER REFUND/CLAIM                             2,845.00        2,845.00
2/21/2019       2452 AVANTGEN//CLAIM              CUSTOMER REFUND/CLAIM                             1,010.00        1,010.00
2/21/2019       2903 USPS                         SALES POSTCARDS                                     316.05          316.05
2/21/2019       2917 IGLESIAS TRUCKING            CONTRACTOR                                          500.00          500.00
2/21/2019       2453 HEAVY DUTY MOBILE            TRUCK REPAIRS                                     1,440.00        1,440.00
2/22/2019 DEBIT      CALIFORNIA CHOICE INS        GROUP HEALTH INS                                 21,992.18       21,992.18
2/22/2019       2921 COX CABLE                    PHONE LINE                                          101.78          101.78
2/22/2019       2922 JOHNSON CONTROLS             SECURITY                                             19.52           19.52
2/22/2019       2918 USPS                         SALES POSTCARDS                                     493.29          493.29
2/22/2019       2919 STRESS FREE MOVING           CONTRACTOR                                          800.00          800.00
2/22/2019       2920 VERA RELOCAITONS             CONTRACTOR                                        1,500.00        1,500.00
2/22/2019 WIRE       COMDATA                      FUEL/DRIVERS                                      7,036.50        7,036.50
2/25/2019 DEBIT      SDGE                         UTILITY DEBIT/BONSALL                               437.73          437.73
2/26/2019 PAYROLL    SALES PR 401K                PAYROLL 401K                         599.84                         599.84
2/26/2019 DEBIT      SDGE                         UTILITY DEBIT/SUITE 1                               903.38          903.38
2/28/2019 WIRE       ACCESS ACCOUNTING            CONTRACTOR                                        2,909.31        2,909.31
2/25/2019 DEBIT      ATT/BONSALL                  INTERNET/BONSALL                                     80.03           80.03
2/25/2019 DEBIT      FLYERS ENERGY                FUEL/LOCAL                                        1,420.10        1,420.10
2/25/2019       2848 OTAY LANDFILL                TRASH REMOVAL                                       611.43          611.43
2/26/2019 PAYROLL    SALES PR DIR DEP             SALES PAYROLL                     10,160.65                      10,160.65
2/26/2019 PAYROLL    SALES PR TAX LIAB/INV        SALES PAYROLL                      7,203.05                       7,203.05
2/26/2019 PAYROLL    SALES PR NET CKS             SALES PAYROLL                      3,420.58                       3,420.58
2/26/2019 WIRE       COMDATA                      FUEL/DRIVERS                                      2,926.00        2,926.00
2/26/2019 DEBIT      C/C CHARGEBACK               CUSTOMER REFUND                                     250.00          250.00
2/26/2019       2456 OTAY LANDFILL                TRASH REMOVAL                                       152.79          152.79
2/26/2019       2458 WESTERN EQ FINANCE           ADEQUATE PROT PAYMENT                               140.00          140.00
2/26/2019       2459 WESTERN EQ FINANCE           ADEQUATE PROT PAYMENT                               271.00          271.00
2/26/2019       2460 TRANS ADVANTAGE              ADEQUATE PROT PAYMENT                             2,347.37        2,347.37
2/26/2019       2461 BB&T                         ADEQUATE PROT PAYMENT                               679.00          679.00
2/26/2019       2462 BB&T                         ADEQUATE PROT PAYMENT                               580.00          580.00
2/26/2019       2463 WELLS FARGO LEASING          ADEQUATE PROT PAYMENT                             2,415.08        2,415.08
2/26/2019       2923 USPS                         SALES POSTCARDS                                     540.80          540.80
2/26/2019       2924 DMV RENEWAL                  TRUCK LICENSE/REGISTRATION                           35.00           35.00
2/26/2019       2925 STACEY ROMERO                CONTRACTOR                                          395.00          395.00
2/27/2019 ACH        VICTOR TENORIO/SALES COMM SALES COMMISSION                                     6,888.51        6,888.51
2/27/2019 DEBIT      GOOGLE ADS                   SALES LEADS                                         500.00          500.00
2/27/2019 PAYROLL    3/1/19 DIRECT DEPOSITS       PAYROLL                           23,564.31                      23,564.31
2/28/2019 PAYROLL    3/1/19 TAX LIABILITY         PAYROLL                            9,583.46                       9,583.46
2/28/2019       2927 IGNACIO RAMIREZ/OTR          CONTRACTOR                                        7,787.92        7,787.92
2/28/2019       2928 EP LOGISTICS                 CONTRACTOR                                        2,384.24        2,384.24
2/28/2019       2929 HE TRUCKING/HECTOR           CONTRACTOR                                        1,422.96        1,422.96
2/28/2019       2930 IGLESIAS TRUCKING            CONTRACTOR                                        3,638.05        3,638.05
 2/28/2019      2931 KIRK WALTERS                CONTRACTOR                                          1,378.37       1,378.37
2/28/2019       2932   GARCIA'S MOVING/PETE      CONTRACTOR                                        1,031.29         1,031.29
2/28/2019       2933   PUGA RELOCATIONS          CONTRACTOR                                       12,122.68        12,122.68
2/28/2019       2934   QUICKLINE/ROLANDO         CONTRACTOR                                        2,076.59         2,076.59
2/28/2019       2935   IGANCIO RAMIREZ           CONTRACTOR                                        5,381.34         5,381.34
2/28/2019       2936   SG MOVING                 CONTRACTOR                                        7,917.80         7,917.80
2/28/2019       2937   STRESS FREE MOVING        CONTRACTOR                                          167.95           167.95
2/28/2019       2938   VERA RELOCATIONS          CONTRACTOR                                          114.81           114.81
2/28/2019 ACH          HERMAN JONES              CONTRACTOR                                        1,115.97         1,115.97
2/28/2019 ACH          JOAQUIN TREJO             CONTRACTOR                                        2,197.54         2,197.54
2/28/2019 ACH          SARTAIN TRUCKING/TERRY    CONTRACTOR                                        1,010.34         1,010.34




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2/28/2019Case
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 2/1/2019 NETSPEND SANDAG/SR-125               TOLLS                                            300.00           300.00
 2/1/2019 NETSPEND LIQUID WEB                  DUES/SUBS                                        113.00           113.00
 2/1/2019 NETSPEND MAILSOURCE                  LEADS                                            210.00           210.00
 2/1/2019 NETSPEND EQUATE MEDIA                SALES LEADS                                      500.00           500.00
 2/1/2019 NETSPEND 123MOVERS.COM               SALES LEADS                                      500.00           500.00
 2/1/2019 NETSPEND BETTER BUSINESS BUREAU      DIRECTORY                                        200.00           200.00
 2/1/2019 NETSPEND INTUIT                      DUES/SUBS                                         35.00            35.00
 2/1/2019 NETSPEND AMAZON                      OFFICE                                            55.53            55.53
   2/1/2019 NETSPEND RELO SOLUTIONS            3RD PARTY                                         710.73          710.73
   2/1/2019 NETSPEND RELO SOLUTIONS            3RD PARTY SVCS                                    163.58          163.58
 2/1/2019 NETSPEND RELO SOLUTIONS              3RD PARTY SVC                                     205.27          205.27
 2/2/2019 NETSPEND ADOBE                       DUES/SUBS                                          19.99           19.99
 2/2/2019 NETSPEND ADOBE                       DUES/SUBS                                          52.99           52.99
 2/2/2019 NETSPEND REALTOR.COM                 SALESLEADS                                        500.00          500.00
 2/3/2019 NETSPEND GOOGLE                      SALES LEADS                                       500.00          500.00
 2/3/2019 NETSPEND AMAZON                      AXLE BEARING TOOL                                 227.97          227.97
 2/4/2019 NETSPEND MIRA MAR TRUCK CTR          PARTS                                             333.03          333.03
 2/4/2019 NETSPEND AMAZON                      OFFICE                                             29.42           29.42
 2/4/2019 NETSPEND AMAZON                      OFFICE                                             21.62           21.62
 2/4/2019 NETSPEND SAN DIEGO CITY              PARKING VIOLATION                                 108.00          108.00
 2/5/2019 NETSPEND BROTHER'S TOWING            TOW                                               500.00          500.00
 2/5/2019 NETSPEND TIM MKTG                    SALES LEADS                                       380.88          380.88
 2/5/2019 NETSPEND MIRA MAR TRUCK CTR          TRUCK PARTS                                       968.36          968.36
 2/5/2019 NETSPEND FLEETPRIDE                  TRUCK BATTERIES                                   451.44          451.44
 2/5/2019 NETSPEND MISSION JANITORIAL          JANITORIAL SUPPLIES                               463.53          463.53
 2/6/2019 NETSPEND LOWES                       WSE SUPPLIES                                      136.13          136.13
 2/6/2019 NETSPEND INTERMEDIA                  EMAIL SERVER                                    1,292.66        1,292.66
 2/6/2019 NETSPEND AMAZON                      CAB SHOCKS/TRK PARTS                               99.71           99.71
 2/6/2019 NETSPEND WALMART                     WSE SUPPLIES                                       69.89           69.89
 2/6/2019 NETSPEND AMERICAN BATTERY            TRUCK BATTERIES                                   209.05          209.05
 2/7/2019 NETSPEND ROAD ONE TOWING             TOW                                               326.00          326.00
 2/7/2019 NETSPEND AMAZON                      OFFICE                                             49.99           49.99
 2/7/2019 NETSPEND DION INT'L                  TRUCK PARTS                                       387.85          387.85
 2/7/2019 NETSPEND DOUG'S FILTER SVC           TRUCK PARTS                                        53.39           53.39
 2/7/2019 NETSPEND WENDOVER                    SALES LEADS                                     2,070.00        2,070.00
 2/7/2019 NETSPEND WALMART                     WSE                                                27.12           27.12
 2/7/2019 NETSPEND NETSPEND                    DEBIT CARD FEE                                      1.95            1.95
 2/8/2019 NETSPEND MAILSOURCE                  SALES LEADS                                       210.00          210.00
 2/8/2019 NETSPEND EQUATE MEDIA                SALES LEADS                                       500.00          500.00
 2/8/2019 NETSPEND DROPBOX                     DUES/SUBS                                          75.00           75.00
 2/8/2019 NETSPEND LOWES                       CRATING WOOD                                      761.15          761.15
 2/8/2019 NETSPEND AMERICAN BATTERY            TRUCK BATTERIES                                   374.61          374.61
 2/8/2019 NETSPEND SPEMCO SWITCHES             WSE SWEEPER                                        19.25           19.25
 2/8/2019 NETSPEND CARBONLESS ON DEMAND        2 PART PAPER                                    1,253.68        1,253.68
 2/8/2019 NETSPEND ULINE                       WSE                                               183.27          183.27
 2/9/2019 NETSPEND REALTOR.COM                 SALES LEADS                                       500.00          500.00
 2/9/2019 NETSPEND DRI CRASH PLAN              DUES/SUBS                                          19.98           19.98
 2/9/2019 NETSPEND DRI CRASH PLAN              DUES/SUBS                                          49.95           49.95
2/10/2019 NETSPEND AMAZON                      WSE SUPPLIES                                      164.95          164.95
2/10/2019 NETSPEND QUALITY INN                 OPS/CLAIMS TRAVEL                                 323.44          323.44
2/11/2019 NETSPEND SUPER COURT                 DOCUMENTS                                          35.67           35.67
2/12/2019 NETSPEND AMAZON                      WSE SUPPLIES                                       70.04           70.04
2/12/2019 NETSPEND ZOHO                        DUES/SUBS                                          15.00           15.00
2/12/2019 NETSPEND SANDAG/SR125                TOLLS                                              40.00           40.00
2/12/2019 NETSPEND EQUATE MEDIA                SALES LEADS                                       500.00          500.00
2/12/2019 NETSPEND MINUTE KEY                  KEY                                                 6.47            6.47
2/12/2019 NETSPEND BEST BUY                    TONER                                             177.25          177.25
2/12/2019 NETSPEND BEST BUY                    TONER                                             117.43          117.43
2/12/2019 NETSPEND AMAZON                      WSE SUPPLIES/CRATING                              296.33          296.33
2/12/2019 NETSPEND VONNS                       OFFICE                                             69.73           69.73
2/13/2019 NETSPEND BETTER BUSINES BUREAU       MARKETING                                         700.00          700.00
2/14/2019 NETSPEND VEGA CAFE                   SALES MEETING                                      89.59           89.59
2/14/2019 NETSPEND VEGA CAFE                   SALES MEETING                                       7.25            7.25
2/14/2019 NETSPEND INDUSTRIAL SUPPLY           WSE ADHESIVE                                      369.00          369.00
2/14/2019 NETSPEND EQUATE MEDIA                SALES LEADS                                       500.00          500.00
2/14/2019 NETSPEND NETSPEND                    DEBIT CARD FEE                                      1.95            1.95
2/14/2019 NETSPEND NETSPEND                    DEBIT CARD FEE                                      1.95            1.95
2/15/2019 NETSPEND MAILSOURCE                  SALES LEADS                                       210.00          210.00
2/15/2019 NETSPEND AMAZON                      MTCE/TOOL                                         168.93          168.93
                                                                                                   EXHIBIT A
2/15/2019 NETSPEND TMI MKTG                    SALES LEADS                                       455.40          455.40
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2/18/2019 NETSPEND EQUATE MEDIA               SALES LEADS                                     500.00         500.00
2/18/2019 NETSPEND MIRAMAR TRUCK CTR          PARTS/TSARTAIN                                1,149.66       1,149.66
2/18/2019 NETSPEND AMAZON                     OFFICE                                           30.00          30.00
2/18/2019 NETSPEND ROAD ONE TOWING            TOWING                                          352.00         352.00
2/18/2019 NETSPEND BEST BUY                   OFFICE                                          162.34         162.34
2/19/2019 NETSPEND APPLE                      DUES/SUBS                                         2.99           2.99
2/19/2019 NETSPEND AMAZON                     OFFICE                                           21.26          21.26
2/19/2019 NETSPEND QUILL CORP                 OFFICE SUPPLIES                                 228.05         228.05
2/19/2019 NETSPEND AMAZON                     OFFICE                                           74.99          74.99
2/19/2019 NETSPEND INTL ASSOC OF MOVERS       ANNUAL MEMBERSHIP                               950.00         950.00
2/20/2019 NETSPEND WETMORE'S SAN MARCOS       TRUCK PARTS/SARTAIN                             192.13         192.13
2/20/2019 NETSPEND SMALL BUSINESS NETWORK     SALES/MKTG MEMBERSHIP                           295.00         295.00
2/20/2019 NETSPEND REALTOR.COM                SALES LEADS                                     500.00         500.00
2/20/2019 NETSPEND ADOBE                      PRO SUBS                                        179.88         179.88
2/20/2019 NETSPEND AMAZON                     ICE MACH MTCE/WSE                               150.38         150.38
2/20/2019 NETSPEND CMSA                       MONTHLY MEETING                                 130.00         130.00
2/20/2019 NETSPEND VONS                       SALESMTG                                         75.00          75.00
2/21/2019 NETSPEND BETTER BUSINESS BUREAU     MEMBERSHIP                                       58.00          58.00
2/21/2019 NETSPEND WESTERN CTR                CTR RENTAL/BONSALL                              435.81         435.81
2/21/2019 NETSPEND BEST BUY                   TONER                                           117.43         117.43
2/21/2019 NETSPEND BEST BUY                   TONER                                           117.43         117.43
2/21/2019 NETSPEND BEST BUY                   TONER                                           182.23         182.23
2/21/2019 NETSPEND BEST BUY                   TONER                                           108.82         108.82
2/22/2019 NETSPEND MAIL SOURCE                LEADS                                           210.00         210.00
2/22/2019 NETSPEND PENSKE TRUCK LEASING       TRUCK RENTAL                                    281.17         281.17
2/22/2019 NETSPEND 123MOVERS.COM              SALES LEADS                                     500.00         500.00
2/22/2019 NETSPEND NORTH CTY FORD PARTS       TRUCK PARTS                                     254.25         254.25
2/22/2019 NETSPEND AMAZON                     WSE SUPPLIES                                     17.36          17.36
2/22/2019 NETSPEND OIL CHANGER                TRUCK-OIL CHANGE                                223.41         223.41
2/23/2019 NETSPEND PENSKE TRUCK LEASING       TRUCK RENTAL                                      1.13           1.13
2/23/2019 NETSPEND AMAZON                     WSE SUPPLIES                                     21.93          21.93
2/23/2019 NETSPEND TOP MOVING LEADS           SALES LEADS                                     499.00         499.00
2/24/2019 NETSPEND SANDA/SR-125               TOLL ACCT                                       300.00         300.00
2/24/2019 NETSPEND GOOGLE ADS                 SALES LEADS                                     500.00         500.00
2/24/2019 NETSPEND REALTOR.COM                SALES LEADS                                     500.00         500.00
2/25/2019 NETSPEND PAY-4-PERFORMANCE          MKTG LEADS                                    1,329.30       1,329.30
2/25/2019 NETSPEND EW TRUCK & EQUIP           PARTS/HE TRUCKING                               596.49         596.49
2/25/2019 NETSPEND AMAZON                     DOOR LOCKS/FACILITY                              80.46          80.46
2/25/2019 NETSPEND AUTOZONE                   PARTS                                            15.14          15.14
2/26/2019 NETSPEND DNH GO DADDY.COM           GOLD COAST MVG/SITE                             387.37         387.37
2/26/2019 NETSPEND USPS                       POSTAGE/GENERAL                                   7.35           7.35
2/26/2019 NETSPEND UPS                        O/N MAIL                                         30.95          30.95
2/26/2019 NETSPEND BENNETT CRONE LUMBER       CRATING LUMBER                                  804.75         804.75
2/27/2019 NETSPEND QUILL                      OFFICE SUPPLIES                                 110.64         110.64
2/27/2019 NETSPEND EW TRUCK & EQUIP           PARTS                                           101.15         101.15
2/27/2019 NETSPEND AMAZON                     WSE SUPPLIES                                     25.80          25.80
2/27/2019 NETSPEND CMSA                       DUES/SUBS                                       615.00         615.00
2/27/2019 NETSPEND WA STATE                   TOLL FINE/SARTAIN                                17.50          17.50
2/28/2019 NETSPEND CHOICE LOCAL               PRIORITY WEBSITE                              1,984.00       1,984.00
2/28/2019 NETSPEND REALTOR.COM                SALES LEADS                                     500.00         500.00
2/28/2019 NETSPEND LOWES                      WSE/BOLTS                                         8.67           8.67
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                                                                                                                   0.00
                                                                                                                   0.00
         less change in netspend balance                                                     1,015.75          1,015.75
                                           TOTAL DISBURSEMENTS THIS PERIOD:   169,684.50   627,631.06        797,315.56


                                                                                                 EXHIBIT A
         Case 6:18-bk-16624-SC        Doc 213
                                          184  Filed 04/12/19
                                            GENERAL  03/19/19
                                                      ACCOUNTEntered 04/12/19
                                                                         03/19/19 14:00:34
                                                                                  15:15:59   Desc
                                      Main
                                       MainDocument
                                            Document PagePage 121
                                                                9 of
                                                                  of46
                                                                     180
                                          BANK RECONCILIATION

                    Bank statement Date:            2/28/2019    Balance on Statement:       $596,729.00

Plus deposits in transit (a):
                                              Deposit Date          Deposit Amount
                                                    2/28/2019                 $0.00
* floating from Main to NetSpend                                               0.00
TOTAL DEPOSITS IN TRANSIT                                                                            0.00
Less Outstanding Checks (a):
                    Check Number               Check Date            Check Amount
                             209036                  9/5/2018                231.74
                             209056                  9/7/2018                 20.26
                             209082                 9/14/2018                105.49
                             209166                 9/26/2018                300.00
                                    2227            11/15/2018                  23.73
x                                   2603            12/13/2018                 210.00
                                    2425             1/28/2019                 180.00
                                    2431             1/31/2019               7,168.25
                                    2853              2/7/2019                  39.81
                                    2844              2/7/2019                 275.00
                                    2880             2/14/2019                  48.25
                                    2875             2/14/2019                 418.00
                                    2448             2/19/2019               1,616.82
                                    2449             2/19/2019                 400.00
                                    2913             2/21/2019                 635.78
                                    2451             2/21/2019               2,845.00
                                    2452             2/21/2019               1,010.00
                                    2922             2/22/2019                  19.52
                                    2923             2/26/2019                 540.80
                                    2927             2/28/2019               7,787.92
                                    2928             2/28/2019               2,384.24
                                    2929             2/28/2019               1,422.96
                                    2930             2/28/2019               3,638.05
                                    2931             2/28/2019               1,378.37
                                    2932             2/28/2019               1,031.29
                                    2933             2/28/2019              12,122.68
                                    2934             2/28/2019               2,076.59
                                    2935             2/28/2019               5,381.34
                                    2936             2/28/2019               7,917.80
                                    2937             2/28/2019                 167.95
                                    2938             2/28/2019                 114.81
                                PR TRSFR             2/28/2019               9,583.46
                                    2926             2/28/2019                 526.65




                                                                                         EXHIBIT A
             Case 6:18-bk-16624-SC                            Doc 213
                                                                  184 Filed 04/12/19
                                                                            03/19/19 Entered 04/12/19
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                                                                                           180




Incoming net outstanding checks                                                                (90,812.12)
TOTAL OUTSTANDING CHECKS Balance:                                                                                   (19,189.56)
Current outstanding checks                                                                      71,622.56
Bank Statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                             $615,918.56

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment




                                                                                                               EXHIBIT A
    Case 6:18-bk-16624-SC   Doc RECEIPTS
                        I. CASH 184 FiledAND
                                213       03/19/19
                                          04/12/19  Entered 04/12/19
                                              DISBURSEMENTS  03/19/19 14:00:34
                                                                      15:15:59    Desc
                            Main
                             MainDocument
                                  Document Page
                                              Page123
                                                   11 of 46
                                                         180
                                B. (PAYROLL ACCOUNT)

1. TOTAL RECEIPTS PER ALL PRIOR PAYROLL ACCOUNT REPORTS                          836,003.97

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR PAYROLL                               828,172.58
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                              7,987.25

4. RECEIPTS DURING CURRENT PERIOD:                                               177,792.78
   (Transferred from General Account)

5. BALANCE:                                                                      169,805.53

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                           169,684.50

7. ENDING BALANCE:                                                                 8,108.28

8. PAYROLL Account Number(s):                          Bank of The West 2875

                                                       8690 Centre Dr
  Depository Name & Location:                          La Mesa, CA 91942

  Note. Payroll account is 0 debit account so all amounts come out of the
  general account.




                                                                               EXHIBIT A
      CaseTOTAL
           6:18-bk-16624-SC Doc FROM
                 DISBURSEMENTS  184 Filed
                                213       03/19/19
                                          04/12/19
                                     PAYROLL        Entered
                                               ACCOUNT    FOR03/19/19
                                                             04/12/19
                                                               CURRENT15:15:59
                                                                      14:00:34
                                                                          PERIODDesc
                            Main
                             MainDocument
                                  Document Page
                                              Page124
                                                   12 of 46
                                                         180
  Date         Check      Payee* see attached for
mm/dd/yyyy     Number        payroll register                        Purpose           Amount
   2/1/2019       2825 JACOB RODRIGUEZ              PAYROLL                                 112.00
   2/6/2019   PAYROLL DIRECT DEPOSITS               2/8/18 PAYROLL                       24,594.56
   2/6/2019   PAYROLL TAX LIAB                      2/8/18 PAYROLL                         10906.1
   2/6/2019   PAYROLL NET CKS                       2/8/18 PAYROLL                       1,171.05
  2/13/2019   PAYROLL 401K                          PAYROLL                                 315.81
  2/13/2019   PAYROLL DIRECT DEPOSITS               PAYROLL                               24570.56
  2/13/2019   PAYROLL TAX LIABILITY                 PAYROLL                             10,670.17
  2/13/2019   PAYROLL NET CKS                       PAYROLL                              1,015.85
  2/20/2019   PAYROLL NET CKS-TERMINATIONS          PAYROLL                              5,198.18
  2/20/2019   PAYROLL NET CKS-TERMINATIONS          PAYROLL                                757.31
  2/20/2019   PAYROLL DIRECT DEPOSITS               PAYROLL                             22,916.87
  2/20/2019   PAYROLL TAX LIAB                      PAYROLL                             12,343.61
  2/20/2019   PAYROLL NET CKS-REGULAR               PAYROLL                                580.54
  2/26/2019   PAYROLL SALES PR 401K                 PAYROLL 401K                           599.84
  2/26/2019   PAYROLL SALES PR DIR DEP              SALES PAYROLL                       10,160.65
  2/26/2019   PAYROLL SALES PR TAX LIAB/INV         SALES PAYROLL                        7,203.05
  2/26/2019   PAYROLL SALES PR NET CKS              SALES PAYROLL                        3,420.58
  2/27/2019   PAYROLL 3/1/19 DIRECT DEPOSITS        PAYROLL                             23,564.31
  2/28/2019   PAYROLL 3/1/19 TAX LIABILITY          PAYROLL                              9,583.46




                                                TOTAL DISBURSEMENTS THIS PERIOD:       169,684.50

                        Direct Deposit and net checks for Dec Payroll
                                                    2/1-2/28                               118,062
                        Transferred in Jan disbursements to Feb Payroll                     24,412
                        March Payroll transferred on 2/28                          $       (23,564)
                        Manual check                                                        -112.00
                        P/R from check register                                            118,798
                        Checks per payroll check register                                   118,798


                                                                                   EXHIBIT A
            Case 6:18-bk-16624-SC                       Doc 213
                                                            184  Filed 04/12/19
                                                              PAYROLL  03/19/19
                                                                        ACCOUNTEntered 04/12/19
                                                                                          03/19/19 14:00:34
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                                                                                      180
                                                            BANK RECONCILIATION

                           Bank statement Date:                                 2/28/2019   Balance on Statement:         $8,108.28

Plus deposits in transit (a):
                                                                       Deposit Date            Deposit Amount

                                                                                2/28/2019               9,583.46




TOTAL DEPOSITS IN TRANSIT                                                                                                   9,583.46

Less Outstanding Checks (a):
                    Check Number                                           Check Date           Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                                       0.00

Bank Statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                                   $17,691.74

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment
Note. Payroll account is 0 debit account, so all amounts come out of the
                                                                                                                    EXHIBIT A
general account.
    Case 6:18-bk-16624-SC   Doc 213
                        I. CASH 184    FiledAND
                                RECEIPTS     03/19/19
                                             04/12/19  Entered 04/12/19
                                                 DISBURSEMENTS  03/19/19 14:00:34
                                                                         15:15:59              Desc
                            Main
                             MainDocument
                                  Document Page  Page126
                                                      14 of 46
                                                            180
                                   C. (TAX ACCOUNT)

1. TOTAL RECEIPTS PER ALL PRIOR TAX ACCOUNT REPORTS                                          273,100.48

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR TAX                                               273,100.48
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                   -

4. RECEIPTS DURING CURRENT PERIOD:                                                            50,706.39
   (Transferred from General Account)

5. BALANCE:                                                                                   50,706.39

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                                        50,706.39

7. ENDING BALANCE:                                                                                      0.00

8. TAX Account Number(s):                            Pay-Net L120

  Depository Name & Location:                        505 South Buena Vista Rd
                                                     Corona, CA 92882

  Note: The Debtor does not actually have a tax account. Taxes are taken from the general
  account with payroll and are paid by the payroll processor.




                                                                                            EXHIBIT A
     Case 6:18-bk-16624-SC Doc 213
           TOTAL DISBURSEMENTS 184  Filed
                                 FROM     03/19/19
                                          04/12/19
                                        TAX  ACCOUNTEntered  03/19/19 14:00:34
                                                             04/12/19
                                                       FOR CURRENT    15:15:59
                                                                       PERIOD Desc
                           Main
                            MainDocument
                                 Document PagePage127
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                                                         180


  Date     Check
mm/dd/yyyy Number             Payee                      Purpose              Amount
   2/6/2019   Debit   TAX LIAB              2/8/18 PAYROLL                     10,906.10
  2/13/2019   Debit   TAX LIABILITY         PAYROLL                            10,670.17
  2/20/2019   Debit   TAX LIAB              PAYROLL                            12,343.61
  2/26/2019   Debit   SALES PR TAX LIAB/INV SALES PAYROLL                       7,203.05
  2/28/2019   Debit   3/1/19 TAX LIABILITY PAYROLL                              9,583.46




                                         TOTAL DISBURSEMENTS THIS PERIOD:   EXHIBIT A
                                                                                50,706.39
         Case 6:18-bk-16624-SC       Doc 213
                                         184 TAX
                                              FiledACCOUNT
                                                    03/19/19 Entered 04/12/19
                                                    04/12/19           03/19/19 14:00:34
                                                                                15:15:59   Desc
                                     Main
                                      MainDocument
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                                                                   180
                                         BANK RECONCILIATION

                    Bank statement Date:           1/31/2019   Balance on Statement:               $0.00

Plus deposits in transit (a):
                                             Deposit Date         Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                           0.00

Less Outstanding Checks (a):
                    Check Number              Check Date           Check Amount




TOTAL OUTSTANDING CHECKS:                                                                           0.00




                                                                                       EXHIBIT A
          Case 6:18-bk-16624-SC I.Doc 184 FiledSCHEDULE
                                      213
                                   D SUMMARY    03/19/19 OF
                                                04/12/19  Entered
                                                            CASH 04/12/19
                                                                   03/19/19 14:00:34
                                                                            15:15:59                           Desc
                                 Main
                                   MainDocument
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                                                         17 of 46
                                                               180
ENDING BALANCES FOR THE PERIOD:
                      (Provide a copy of monthly account statements for each of the below)


                                                                         General Account:     596,729.00
                                                                         Payroll Account:      $8,108.28
                                                                            Tax Account:            0.00
   *Other Accounts:


     *Other Monies:
                                                          **Petty Cash (from below):            2,695.32

TOTAL CASH AVAILABLE:                                                                                              607,532.60


Petty Cash Transactions:
        Date                        Purpose                                                  Amount
           2/1/2019      PIZZA/OFFICE                          ANDRIA                              35.64
           2/1/2019      LABOR/OI                              VICTOR                             100.00
           2/5/2019      SCALE                                 TIM                                 60.00
           2/5/2019      WSE SUPPLIES                          LOWES                               40.00
           2/6/2019      CONTRIBUTION                          SISTERS CONVENT                    100.00
           2/6/2019      LOT RENT                              BEE INT'L                          500.00
           2/7/2019      POSTAL/BOX MAILED                     ANDRIA                              99.10
           2/7/2019      IGNACIO FUEL ADV                      HARRY                               60.00
           2/8/2019      Cash Receipt - RPCV-3620              BRYAN JESMOND                     (240.00)
           2/8/2019      PETTY CASH BOX                        Transfer To: REPUBLIC-PC         (4000.00)
          2/11/2019      W/T'S                                 KENT                                32.00
          2/11/2019      CREW MTG/SCORE BONUSES                GREG                                80.00
          2/11/2019      CSR BONUSES                           GARY                                 5.00
          2/11/2019      FUEL REIMB/DELIVERIES                 JACOB TROPP                         20.00
          2/12/2019      SODA RPR                              SODA RPR                           100.00
          2/13/2019      REFUND/TIRE EXP                       TREJO-TIRE REIMBURSEMENT          (460.00)
          2/14/2019      Payables Trx Entry                    KIRK WALTERS                        40.00
          2/14/2019      FUEL ADV                              KIRK                                40.00
          2/15/2019      FUEL REIMB/DELIVERIES                 JACOB TROPP                         60.00
          2/18/2019      COSTCO/OFFICE                         ANDRIA                             160.00
          2/18/2019      FUEL REIMB                            JACOB TROPP                         23.64
          2/18/2019      WSE LABOR                             OPS                                200.00
          2/18/2019      LABOR                                 OPS                                200.00
          2/19/2019      DUMP FEE                              KENT                                20.00
          2/21/2019      OFFICE                                VEGA CAFE                           25.00
          2/21/2019      O/I LABOR                             TIM                                125.00
          2/25/2019      FUEL/EMERG JOB                        HARRY                               60.00
          2/26/2019      W/T'S                                 KENT                                20.00
          2/26/2019      W/T'S                                 TIM                                 40.00
          2/26/2019      WSE LABOR                             TIM                                100.00
          2/26/2019      LABOR/AUTONREITH                      TIM                                100.00
          2/26/2019      DMV FEES                              MICHELLE                            20.00
                                                                                                            EXHIBIT A
          2/26/2019      FUEL/TRASH REMOVAL                   JOSE FLORES                          20.00
Case  6:18-bk-16624-SC
2/26/2019   LABOR
                                    Doc 213
                                        184
                                          TIM
                                              Filed 04/12/19
                                                    03/19/19 Entered 04/12/19
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                                                                                14:00:34
                                                                             300.00        Desc
                                    Main
                                     MainDocument
                                          Document Page Page130
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                                                                   180
2/28/2019   OFFICE SUPPLIES                  ANDRIA                           60.00




            Change in balance                                               (840.70)

                                                                                                   2695.32

            total Petty Cash disbursements                                 (1163.98)




                                                                                       EXHIBIT A
                Case 6:18-bk-16624-SC
                                II. STATUSDoc  184 Filed
                                               213
                                           OF PAYMENTS  TO 04/12/19
                                                           03/19/19  Entered LESSORS
                                                           SECURED CREDITORS, 03/19/19 14:00:34
                                                                              04/12/19 15:15:59                                                      Desc
                                      ANDMain
                                           MainDocument
                                          OTHER  Document     Page
                                                               Page131
                                                                    19CONTRACTS
                                                 PARTIES TO EXECUTORY  of 46
                                                                          180

                                                                                                                                   Post-Petition
                                                                        Frequency of Payments                                   payments not made
                        Creditor, Lessor, Etc.                                (Mo/Qtr)          Amount of Payment                   (Number)           Total Due
Lease 953Trans Advantage, Inc.                                         Mo                                        880                             7           1,754.32
Lease 40234378Western Equipment Finance, Inc.                          Mo                                    271.00                              3         40,528.92
Lease 954Trans Advantage, Inc.                                         Mo                                  1,076.00                              6           8,741.62
Lease 5560Western Equipment Finance, Inc.                              Mo                                    140.00                              3         11,914.50
Real Estate Lease - Chula Vista - Eastgroup Properties LP              Mo                                   72873.6                              0     10,132,656.20
Lease Allegiant Partners Incorporated                                  Mo                                  1,037.00                             7            9,485.11
Lease 3968Allegiant Partners Incorporated                              Mo                                        820                            7          14,803.66
Umbrella Ins TCU0000707 01Transguard Ins Company                       Mo                                      1997                             0                3.00
Stamp Machine Rental - Pitney Bowes Global Financial Services          Mo                                          0                            0          12,878.00
Office EquipmentWells Fargo Financial Leasing, Inc.                    Mo                                   2415.08                             1          14,490.48
Equipment Lease SD-1Navitas Credit Corp.                               Mo                                    927.00                             4          23,665.18
Equipment Lease SD-2Navitas Credit Corp.                               Mo                                      1140                             4          28,216.43
Equipment Lease Bank of the West                                       Mo                                 25,503.00                             7         562,332.65
Equipment Lease 0353Susquehnna Commercial Finance, Inc                 Quart                                 580.00                             0              983.00
Real Estate Lease - TemeculaLeed Rancho California Partnership 1       Mo                                 21,000.00                             4          84,000.00
G/L, Auto, etc Insurance TCU0010040 01Transguard Insurance Company     Mo                                 18,806.46                             0          19,106.58
Equipment LeaseFord Financial Services, Inc.                           Mo                                   1943.93                             3          80,063.07
Packing Material Contract CDS Moving Equipment, Inc.                   Mo                       50334.99 variabe                                0                0.00
Van Line Agency AgreementNorth American Van Lines, Inc                 N/A                      N/a                                             0
Phone System (auto dialer)Gsolutionsz, Inc. Great America Leasing      Mo                                  1,497.13                             0           20,959.82
Workers Compensation Ins National Liability & Fire Insurance company   Mo                       4397.40, variable                               0           26,177.88
Equipment Lease 379Trans Advantage, Inc.                               Mo                                  1,359.00                             7           35,842.00
Moverssuite SoftwareJonas Software USA, EWS Division                   Mo                                  6,477.85                             0
Health In (mo. payment reduced by offset)California Choice Benefits    Mo                                 21,992.18                             0               0.00
Cell Phone ServiceSprint                                               Mo                                          0                            1             247.58
                                                                                                37,715, variable. Deduct from
Driver Cash Advance CreditComdata Network, Inc                         Ongoing as needed        driver                                          0               0.00
Equipment LeaseExchange Bank                                           Mo                                   1,221.00                            7          15,432.38
401K PlanADP, Inc., Retirement Services                                Mo                       1,962, variable                                 0               0.00
Merchant Services Applied Merchant Systems West Coast LLC              Mo                       8528.61, variable                               0               0.00
Pest ServicePro Pacific Pest Control                                   Mo                                         99                            5               0.00
Cell PhonesVerizon Wireless                                            Mo                                   2,117.83                            0          14,344.67
Merchant Processing (TSYS)Transfirst LLC                               Mo                       variable                                        3               0.00
Bank of the West Line of Credit                                        N/A                                         0                            0       2,700,000.00
Equipment Lease 3511Trans Advantage, Inc.                              Mo                                  2,347.37                             2          41,585.10
Equipment Lease 0336Susquehnna Commercial Finance, Inc                 Quart                                     679                            1                868




                                                                                                                                    TOTAL DUE:         13,901,080.15




                                                                                                                                                EXHIBIT A
                 Case 6:18-bk-16624-SC    Doc 213
                                              184
                          IV. AGING OF ACCOUNTS    Filed 04/12/19
                                                PAYABLE  03/19/19  Entered 04/12/19
                                                         AND RECEIVABLE     03/19/19 14:00:34
                                                                                     15:15:59                                                                               Desc
                                          Main
                                           MainDocument
                                                Document PagePage132
                                                                  20 of 46
                                                                        180
                                                                                   *Accounts Payable                      Accounts Receivable
                                                                                     Post-Petition                   Pre-Petition     Post-Petition
                                                             30 days or less
                                                               31 - 60 days
                                                               61 - 90 days
                                                              91 - 120 days
                                                             Over 120 days                                                                                             pre-pet higher than Dec
                                                                   TOTAL:           0.00                                           0.00                         0.00
                                                                        TBD end of month
                                                             V. INSURANCE COVERAGE

                                                                                         Amount of               Policy Expiration            Premium Paid
                                                         Name of Carrier                 Coverage                      Date                   Through (Date)
                              General Liability Transguard                         $2MM (w/ umb.)                             4/1/2019                  2/28/2019
                                                       Midwestern Insurance
                  Worker's Compensation                Alliance                    $1MM Statutory                             4/1/2019                  2/28/2019
                               Casualty Transguard                                 500K/675K                                  4/1/2019                  2/28/2019
                                Vehicle Transguard                                 $2MM (w/ umb.)                             4/1/2019                  2/28/2019
                Others:


                                          VI. UNITED STATES TRUSTEE QUARTERLY FEES
                                                       (TOTAL PAYMENTS)

 Quarterly Period                 Total                                                                                                        Quarterly Fees
  Ending (Date)               Disbursements               Quarterly Fees                  Date Paid                 Amount Paid                 Still Owing
        30-Sep-2018               2,040,389.29                    20,403.89                  9-Nov-2018                       325.00                   20,078.89
                                                                                             7-Nov-2018                    20,404.89                     (326.00)
       31-Dec-2018                2,158,778.52                    21,587.79                  14-Jan-2019                   21,261.79                       (0.00)
       31-Dec-2018                  929,281.70                     9,292.82                 15-Mar-2019                     9,292.82                        0.00
                                                                                                                                                            0.00
                                                                                                                                                            0.00
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                                                                                                                                                            0.00
                                                                                                                                                            0.00
                                                                  51,284.50                                                51,284.50                       (0.00)

* Post-Petition Accounts Payable SHOULD NOT include professionals' fees and expenses which have been incurred but not yet awarded by the court. Post-Petition
Accounts Payable SHOULD include professionals' fees and expenses authorized by Court Order but which remain unpaid as of the close of the period report




                                                                                            Page 1 of 16
                                                                                                                                                                        EXHIBIT A
              Case 6:18-bk-16624-SC  Doc 213
                            VII SCHEDULE 184   Filed 04/12/19
                                                     03/19/19 PAID
                                          OF COMPENSATION      Entered  03/19/19 14:00:34
                                                                        04/12/19
                                                                    TO INSIDERS  15:15:59                                       Desc
                                     Main
                                      MainDocument
                                           Document Page Page133
                                                              21 of 46
                                                                    180
                                                           Date of Order                                                      Gross
                                                            Authorizing                                                  Compensation Paid
             Name of Insider                               Compensation                   *Authorized Gross Compensation During the Month
Joseph W. Lovejoy                                                8/19/2018 3846.15/week                                  $               15,384.60
Carol Lovejoy                                                    8/19/2018 1153.85/week                                  $               4,615.40
James Lovejoy                                      8/19/2018 and 12/26/18 1923.10/week                                   $               7,684.80




                                     VIII. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                                                           Date of Order
                                                            Authorizing                                                   Amount Paid
             Name of Insider                               Compensation                            Description           During the Month
None




* Please indicate how compensation was identified in the order (e.g. $1,000/week, $2,500/month)                              EXHIBIT A
         Case 6:18-bk-16624-SC          Doc 213
                                            184   Filed 04/12/19
                                                        03/19/19 Entered 04/12/19
                                              XI. QUESTIONNAIRE            03/19/19 14:00:34
                                                                                    15:15:59              Desc
                                        Main
                                         MainDocument
                                              Document Page Page134
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                                                                                                       No          Yes
1.   Has the debtor-in-possession made any payments on its pre-petition unsecured debt, except as have
     been authorized by the court? If "Yes", explain below:                                            x


                                                                                                              No   Yes
2.   Has the debtor-in-possession during this reporting period provided compensation or remuneration
     to any officers, directors, principals, or other insiders without appropriate authorization? If "Yes",
     explain below:                                                                                           x


3.   State what progress was made during the reporting period toward filing a plan of reorganization.
     1. Obtained interest from more specialized term lender and ABL lenders. Going through and
     evaluating them while we are assessing if we should to go to due diligence with the ones ready to
     go. 2. One remaining issue left to negotiate with the senior secured lender 3. Reaching agreement
     also with a second secured claimant

4.   Describe potential future developments which may have a significant impact on the case:
     Appears military is not going to change processes in the short term, providing stability to the
     market place. Military again letting Hawaii shipment get booked and volume has picked up. TSP
     customer base is starting to catch up with payments after the system was down.

5.   Attach copies of all Orders granting relief from the automatic stay that were entered during the
     reporting period.
     None
                                                                                                              No   Yes
6.   Did you receive any exempt income this month, which is not set forth in the operating report? If
     "Yes", please set forth the amounts and sources of the income below.                                     X


I,   Joseph W. Lovejoy,
     declare under penalty of perjury that I have fully read and understood the foregoing debtor-in-
     possession operating report and that the information contained herein is true and complete to the
     best of my knowledge.

     Dated: March 2, 2019




     President




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                                                                            Republic Moving & Storage                            Check Dates: 02/01/2019 to 02/28/2019
Check Register
                                                                                                                                 Pay Period: 01/21/2019 to 02/28/2019
                                                                   Company (L120)
                                                                                                                                 Process:     2019020101 to 2019022801
                                                                                                                                                             Page
                                                                                                                                                                1

Bank Account               Transit Number        Bank Name                                              Description
       3552                122242843             Bank of the West, La Mesa, CA                          Primary Account
Payroll Checks
  Check/Voucher            Check Type       Check Date         Payable to   Name                                Net Amount               Dir Dep       Net Check
               11536      Reg              02/01/2019               173    Tropp, Jacob                                567.88              0.00         567.88
               11537      Reg              02/01/2019               175    Rodriguez, Jacob                            420.33              0.00         420.33
               11538      Reg              02/08/2019               173    Tropp, Jacob                                616.33              0.00         616.33
               11539      Reg              02/08/2019               175    Rodriguez, Jacob                            554.72              0.00         554.72
               11540      Reg              02/15/2019               173    Tropp, Jacob                                543.74              0.00         543.74
               11541      Reg              02/15/2019               176    Martinez, Tiffany                           472.11              0.00         472.11
               11542      Reg              02/22/2019               176    Martinez, Tiffany                           580.54              0.00         580.54
               11543      Reg              02/28/2019               155    Carlson, Donald                           2,959.33              0.00       2,959.33
               11544      Reg              02/28/2019               174    Saavedra, David                             461.25              0.00         461.25
               15303      Reg              02/01/2019               168    Achenbach, Harry                            351.49            351.49           0.00
               15304      Reg              02/01/2019                98    Lepera, Amanda                              665.27            665.27           0.00
               15305      Reg              02/01/2019                54    Wicker, Timothy                             976.64            976.64           0.00
               15306      Reg              02/01/2019                14    Lovejoy, James                            1,337.47          1,337.47           0.00
               15307      Reg              02/01/2019                26    Shadoan, Gregory                            919.42            919.42           0.00
               15308      Reg              02/01/2019               164    Bernal, Carla                               498.31            498.31           0.00
               15309      Reg              02/01/2019               106    Evans, Sharon                               586.86            586.86           0.00
               15310      Reg              02/01/2019                63    Galibut, Rosalinda                          562.22            562.22           0.00
               15311      Reg              02/01/2019               166    Jenious, Auntadiasha                        496.18            496.18           0.00
               15312      Reg              02/01/2019               170    Leasure, Sarah                              490.43            490.43           0.00
               15313      Reg              02/01/2019               114    Leon, Flavia R.                             493.44            493.44           0.00
               15314      Reg              02/01/2019                65    Lovejoy, Carol                              863.06            863.06           0.00
               15315      Reg              02/01/2019               163    Payoyo, Eric                                608.28            608.28           0.00
               15316      Reg              02/01/2019                60    Ruiz, Michelle                              877.32            877.32           0.00
               15317      Reg              02/01/2019               123    Shaffer, Amanda                             497.74            497.74           0.00
               15318      Reg              02/01/2019               131    Skiff, Andria                               804.81            804.81           0.00
               15319      Reg              02/01/2019                 8    Garner, Lynn                                696.79            696.79           0.00
               15320      Reg              02/01/2019                12    Lammers, Mischelle                          877.20            877.20           0.00
               15321      Reg              02/01/2019                17    Moore, Robert                             1,090.67          1,090.67           0.00
               15322      Reg              02/01/2019                22    Rosa, Ruth                                  790.34            790.34           0.00
               15323      Reg              02/01/2019               154    Cerone, Lacey                               630.60            630.60           0.00
               15324      Reg              02/01/2019               151    Kordylas, Jessica                           514.01            514.01           0.00
               15325      Reg              02/01/2019                88    Mello, Peter                                591.26            591.26           0.00
               15326      Reg              02/01/2019               118    Ramirez Canales, Angelica                   526.00            526.00           0.00
               15327      Reg              02/01/2019               156    Velasco, Angela                             561.62            561.62           0.00
               15328      Reg              02/01/2019                 1    Bell, Gary                                1,458.44          1,458.44           0.00
               15329      Reg              02/01/2019                 9    Gerrick, Julie                              547.56            547.56           0.00
               15330      Reg              02/01/2019                46    Allen, Robert                               623.84            623.84           0.00
               15331      Reg              02/01/2019                18    Packard, Terrence                           949.19            949.19           0.00
               15332      Reg              02/01/2019                15    Lovejoy, Joseph                           2,537.50          2,537.50           0.00
               15338      Reg              02/08/2019               168    Achenbach, Harry                            534.03            534.03           0.00
               15339      Reg              02/08/2019                98    Lepera, Amanda                              665.27            665.27           0.00
               15340      Reg              02/08/2019                54    Wicker, Timothy                             976.63            976.63           0.00
               15341      Reg              02/08/2019                14    Lovejoy, James                            1,337.48          1,337.48           0.00
               15342      Reg              02/08/2019                26    Shadoan, Gregory                            919.40            919.40           0.00
               15343      Reg              02/08/2019               164    Bernal, Carla                               504.08            504.08           0.00
               15344      Reg              02/08/2019               106    Evans, Sharon                               557.34            557.34           0.00
               15345      Reg              02/08/2019                63    Galibut, Rosalinda                          568.13            568.13           0.00
               15346      Reg              02/08/2019               166    Jenious, Auntadiasha                        499.95            499.95           0.00
               15347      Reg              02/08/2019               170    Leasure, Sarah                              493.69            493.69           0.00
               15348      Reg              02/08/2019               114    Leon, Flavia R.                             473.52            473.52           0.00
               15349      Reg              02/08/2019                65    Lovejoy, Carol                              863.08            863.08           0.00
               15350      Reg              02/08/2019               163    Payoyo, Eric                                622.78            622.78           0.00
               15351      Reg              02/08/2019                60    Ruiz, Michelle                              959.72            959.72           0.00
               15352      Reg              02/08/2019               123    Shaffer, Amanda                             539.15            539.15           0.00
               15353      Reg              02/08/2019               131    Skiff, Andria                               804.80            804.80           0.00
               15354      Reg              02/08/2019                 8    Garner, Lynn                                688.34            688.34           0.00
               15355      Reg              02/08/2019                12    Lammers, Mischelle                          877.19            877.19           0.00
               15356      Reg              02/08/2019                17    Moore, Robert                             1,090.65          1,090.65           0.00
               15357      Reg              02/08/2019                22    Rosa, Ruth                                  790.35            790.35           0.00
               15358      Reg              02/08/2019               141    Bell, Tracey                                810.28            810.28           0.00
               15359      Reg              02/08/2019               154    Cerone, Lacey                               659.22            659.22           0.00
               15360      Reg              02/08/2019               151    Kordylas, Jessica                           547.02            547.02           0.00
               15361      Reg              02/08/2019                88    Mello, Peter                                591.27            591.27           0.00
               15362      Reg              02/08/2019               118    Ramirez Canales, Angelica                   510.85            510.85           0.00
               15363      Reg              02/08/2019               156    Velasco, Angela                             593.81            593.81           0.00
               15364      Reg              02/08/2019                 1    Bell, Gary                                1,458.44          1,458.44           0.00
               15365      Reg              02/08/2019                 9    Gerrick, Julie                              547.53            547.53           0.00
               15366      Reg              02/08/2019                46    Allen, Robert                               623.86            623.86           0.00
               15367      Reg              02/08/2019                18    Packard, Terrence                           949.21            949.21           0.00
               15368      Reg              02/08/2019                15    Lovejoy, Joseph                           2,537.49          2,537.49           0.00
               15374      Reg              02/15/2019               168    Achenbach, Harry                            822.76            822.76           0.00
               15375      Reg              02/15/2019                98    Lepera, Amanda                              665.27            665.27           0.00
               15376      Reg              02/15/2019                54    Wicker, Timothy                             976.63            976.63           0.00
               15377      Reg              02/15/2019                14    Lovejoy, James                            1,337.49          1,337.49           0.00
               15378      Reg              02/15/2019                26    Shadoan, Gregory                            919.42            919.42           0.00
               15379      Reg              02/15/2019               164    Bernal, Carla                               480.98            480.98           0.00
               15380      Reg              02/15/2019               106    Evans, Sharon                               552.59            552.59           0.00
               15381      Reg              02/15/2019                63    Galibut, Rosalinda                          557.61            557.61           0.00
               15382      Reg              02/15/2019               166    Jenious, Auntadiasha                        493.81            493.81           0.00
               15383      Reg              02/15/2019               170    Leasure, Sarah                              486.84            486.84           0.00
               15384      Reg              02/15/2019               114    Leon, Flavia R.                             460.14            460.14           0.00
               15385      Reg              02/15/2019                65    Lovejoy, Carol                              863.09            863.09           0.00
               15386      Reg              02/15/2019               163    Payoyo, Eric                                613.72            613.72           0.00
               15387      Reg              02/15/2019                60    Ruiz, Michelle                              966.80            966.80           0.00 A
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               15388       Reg              02/15/2019               123    Shaffer, Amanda                             500.09            500.09           0.00
               15389      Reg              02/15/2019               131    Skiff, Andria                               804.82            804.82           0.00
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           15390         Reg              02/15/2019                   8   Garner, Lynn                                 688.33       688.33        0.00
           15391        Reg              02/15/2019                  12   Lammers, Mischelle                           877.20       877.20        0.00
           15392        Reg              02/15/2019                  17   Moore, Robert                              1,090.66     1,090.66        0.00
           15393        Reg              02/15/2019                  22   Rosa, Ruth                                   790.36       790.36        0.00
           15394        Reg              02/15/2019                 154   Cerone, Lacey                                626.22       626.22        0.00
           15395        Reg              02/15/2019                 151   Kordylas, Jessica                            553.59       553.59        0.00
           15396        Reg              02/15/2019                  88   Mello, Peter                                 591.26       591.26        0.00
           15397        Reg              02/15/2019                 118   Ramirez Canales, Angelica                    533.91       533.91        0.00
           15398        Reg              02/15/2019                 175   Rodriguez, Jacob                             528.48       528.48        0.00
           15399        Reg              02/15/2019                 156   Velasco, Angela                              584.62       584.62        0.00
           15400        Reg              02/15/2019                   1   Bell, Gary                                 1,458.46     1,458.46        0.00
           15401        Reg              02/15/2019                   9   Gerrick, Julie                               547.55       547.55        0.00
           15402        Reg              02/15/2019                  46   Allen, Robert                                711.15       711.15        0.00
           15403        Reg              02/15/2019                  18   Packard, Terrence                            949.20       949.20        0.00
           15404        Reg              02/15/2019                  15   Lovejoy, Joseph                            2,537.51     2,537.51        0.00
           15410        Reg              02/22/2019                 168   Achenbach, Harry                             612.71       612.71        0.00
           15411        Reg              02/22/2019                  54   Wicker, Timothy                              976.63       976.63        0.00
           15412        Reg              02/22/2019                  14   Lovejoy, James                             1,261.46     1,261.46        0.00
           15413        Reg              02/22/2019                  26   Shadoan, Gregory                             919.41       919.41        0.00
           15414        Reg              02/22/2019                 164   Bernal, Carla                                510.26       510.26        0.00
           15415        Reg              02/22/2019                 106   Evans, Sharon                                571.50       571.50        0.00
           15416        Reg              02/22/2019                  63   Galibut, Rosalinda                           553.80       553.80        0.00
           15417        Reg              02/22/2019                 170   Leasure, Sarah                               492.38       492.38        0.00
           15418        Reg              02/22/2019                 114   Leon, Flavia R.                              460.16       460.16        0.00
           15419        Reg              02/22/2019                  65   Lovejoy, Carol                               863.08       863.08        0.00
           15420        Reg              02/22/2019                 163   Payoyo, Eric                                 620.30       620.30        0.00
           15421        Reg              02/22/2019                  60   Ruiz, Michelle                               911.46       911.46        0.00
           15422        Reg              02/22/2019                 123   Shaffer, Amanda                              504.75       504.75        0.00
           15423        Reg              02/22/2019                 131   Skiff, Andria                                804.81       804.81        0.00
           15424        Reg              02/22/2019                   8   Garner, Lynn                                 688.33       688.33        0.00
           15425        Reg              02/22/2019                  12   Lammers, Mischelle                           877.21       877.21        0.00
           15426        Reg              02/22/2019                  17   Moore, Robert                              1,090.66     1,090.66        0.00
           15427        Reg              02/22/2019                  22   Rosa, Ruth                                   790.34       790.34        0.00
           15428        Reg              02/22/2019                 154   Cerone, Lacey                                488.72       488.72        0.00
           15429        Reg              02/22/2019                 151   Kordylas, Jessica                            533.66       533.66        0.00
           15430        Reg              02/22/2019                  88   Mello, Peter                                 591.28       591.28        0.00
           15431        Reg              02/22/2019                 118   Ramirez Canales, Angelica                    545.12       545.12        0.00
           15432        Reg              02/22/2019                 175   Rodriguez, Jacob                             503.38       503.38        0.00
           15433        Reg              02/22/2019                 156   Velasco, Angela                              541.63       541.63        0.00
           15434        Reg              02/22/2019                   1   Bell, Gary                                 1,458.43     1,458.43        0.00
           15435        Reg              02/22/2019                   9   Gerrick, Julie                               547.55       547.55        0.00
           15436        Reg              02/22/2019                  46   Allen, Robert                                711.16       711.16        0.00
           15437        Reg              02/22/2019                  18   Packard, Terrence                            949.20       949.20        0.00
           15438        Reg              02/22/2019                  15   Lovejoy, Joseph                            2,537.49     2,537.49        0.00
           15444        Reg              02/28/2019                 141   Bell, Tracey                               1,186.95     1,186.95        0.00
           15445        Reg              02/28/2019                 154   Cerone, Lacey                                110.40       110.40        0.00
           15446        Reg              02/28/2019                 110   Gonzalez, Jessica                          1,341.17     1,341.17        0.00
           15447        Reg              02/28/2019                  81   Gross-Drayton, Mariquita                   3,893.87     3,893.87        0.00
           15448        Reg              02/28/2019                 115   Miller, Theresa                            1,797.38     1,797.38        0.00
           15449        Reg              02/28/2019                  92   Stodolsky, Daniel                          1,063.56     1,063.56        0.00
           15450        Reg              02/28/2019                 156   Velasco, Angela                              570.94       570.94        0.00
           15451        Reg              02/28/2019                   9   Gerrick, Julie                               196.38       196.38        0.00
        20192191        Manual           02/22/2019                  98   Lepera, Amanda                             1,041.97         0.00    1,041.97
        20192192        Manual           02/22/2019                  98   Lepera, Amanda                             3,158.40         0.00    3,158.40
        20192193        Manual           02/22/2019                 166   Jenious, Auntadiasha                         569.32         0.00      569.32
        20192194        Manual           02/22/2019                 166   Jenious, Auntadiasha                         187.99         0.00      187.99
        20192195        Manual           02/22/2019                 173   Tropp, Jacob                                 598.14         0.00      598.14
        20192196        Manual           02/22/2019                 173   Tropp, Jacob                                 399.67         0.00      399.67
Totals for Payroll Checks                                  144 Items                                            118,798.32       105,666.60   13,131.72
Third Party and Misc Checks
 Check/Voucher        Check Type          Check Date         Payable to    Name                                Net Amount           Dir Dep   Net Check
               15334    Transfer         02/01/2019       Billing         Pay-Net                                      113.24       113.24        0.00
               15335    Transfer         01/31/2019       DirDep          Pay-Net                                   23,423.96    23,423.96        0.00
Bank Account             Transit Number        Bank Name                                               Description
       3552              122242843             Bank of the West, La Mesa, CA                           Primary Account
  Check/Voucher          Check Type       Check Date         Payable to    Name                                Net Amount           Dir Dep   Net Check




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                    15337                  Transfer      02/01/2019     Tax               Pay-Net                                   10,490.90         10,490.90                 0.00
                    15369                 Transfer      02/08/2019     Tax               Pay-Net                                   10,791.14         10,791.14                 0.00
                    15370                 Transfer      02/07/2019     DirDep            Pay-Net                                   24,594.56         24,594.56                 0.00
                    15371                 Transfer      02/08/2019     Billing           Pay-Net                                      114.96            114.96                 0.00
                    15405                 Transfer      02/15/2019     Tax               Pay-Net                                   10,550.16         10,550.16                 0.00
                    15406                 Transfer      02/15/2019     Billing           Pay-Net                                      120.01            120.01                 0.00
                    15408                 Transfer      02/14/2019     DirDep            Pay-Net                                   24,570.56         24,570.56                 0.00
                    15439                 Transfer      02/21/2019     DirDep            Pay-Net                                   22,916.87         22,916.87                 0.00
                    15441                 Transfer      02/22/2019     Billing           Pay-Net                                      119.22            119.22                 0.00
                    15442                 Transfer      02/22/2019     Tax               Pay-Net                                   12,224.39         12,224.39                 0.00
                    15452                 Transfer      02/27/2019     DirDep            Pay-Net                                   10,160.65         10,160.65                 0.00
                    15453                 Transfer      02/28/2019     Tax               Pay-Net                                    7,114.70          7,114.70                 0.00
                    15454                 Transfer      02/28/2019     Billing           Pay-Net                                       88.35             88.35                 0.00
Totals for Third Party and Misc Checks                                  15 Items                                                  157,393.67         157,393.67



Totals for Account                                3552                     Check Type                                                   Count       Net Amount            Dir Dep           Net Check

                                                                           Manual                                                           6          5,955.49              0.00             5,955.49
                                                                           Reg                                                            138        112,842.83        105,666.60             7,176.23
                                                                           Transfer                                                        15        157,393.67        157,393.67                 0.00
                                                                           Totals                                      159        170,525.39         157,393.67         13,131.72
                                                                                                                                                                 

                                                                                     Only the Net Check amounts for payroll checks are included in these totals. The Dir Dep
                                                                                      amount is already included as part of the Transfers amount.



Account Totals                                                             Account                             Count              Net Amount            Dir Dep         Net Check
                                                                                   3552                                                   159        170,525.39        157,393.67            13,131.72
                                                                           Totals                                      159        170,525.39         157,393.67         13,131.72




Pay-Net, a member of the OnePoint Group                                                              Run Date: 03/11/19                         Account                                          3552
Phone: (858)268-1000 Fax: (858)268-4515                                                              Run Time: 11:15 AM                         Check/Voucher                          15369 To 15454
RP_500_0201 (08/31/2006) 2001-2006 RP




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                                                                                                                                      PAYROLL REGISTER
            1/30/2019   PAYROLL   DIRECT DEPOSITS      $ (23,423.96)    2/1/2019                      Check Type                                        Count        Net Amount          Dir Dep   Net Check
            1/30/2019   PAYROLL   TAX LIABILITY        $ (10,604.14)    2/1/2019
            1/30/2019   PAYROLL   NET CKS              $    (988.21)    2/1/2019
             2/6/2019   PAYROLL   DIRECT DEPOSITS      $ (24,594.56)    2/8/2019                      Manual                                                 6         5,955.49             0.00    5,955.49
             2/6/2019   PAYROLL   TAX LIAB             $ (10,906.10)    2/8/2019                      Reg                                                 138        112,842.83       105,666.60    7,176.23
             2/6/2019   PAYROLL   NET CKS              $ (1,171.05)     2/8/2019                      Transfer                                             15        157,393.67       157,393.67        0.00
            2/13/2019   PAYROLL   DIRECT DEPOSITS      $ (24,570.56)   2/15/2019
            2/13/2019   PAYROLL   TAX LIABILITY        $ (10,670.17)   2/15/2019                      Totals                                  159   170,525.39       157,393.67        13,131.72
                                                                                                                                                                                 
            2/13/2019   PAYROLL   NET CKS              $ (1,015.85)    2/15/2019
            2/20/2019   PAYROLL   NET CKS-TERMINATI    $ (5,198.18)    2/22/2019
            2/20/2019   PAYROLL   NET CKS-TERMINATI    $    (757.31)   2/22/2019
            2/20/2019   PAYROLL   DIRECT DEPOSITS      $ (22,916.87)   2/22/2019
            2/20/2019   PAYROLL   TAX LIAB             $ (12,343.61)   2/22/2019
            2/20/2019   PAYROLL   NET CKS-REGULAR      $    (580.54)   2/22/2019
            2/26/2019   PAYROLL   SALES PR DIR DEP     $ (10,160.65)   FEB SALES
            2/26/2019   PAYROLL   SALES PR TAX LIAB/   $ (7,203.05)    FEB SALES
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            2/26/2019   PAYROLL   SALES PR NET CKS     $ (3,420.58)    FEB SALES    $       (170,525.39) TRANSFERRED FOR FEB PAYROLLS
            2/27/2019   PAYROLL   3/1/19 DIRECT DEPO   $ (23,564.31)    3/1/2019   FOR MARCH PAYROLL TRANSFERRED IN FEB FOR MARCH 1 PAYROLL
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                                       EXHIBIT “C”

                              LIQUIDATION CHARTS & NOTES
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                                           CHART I

                 ESTIMATED LIQUIDATION VALUE OF THE DEBTOR’S
           ENCUMBERED ASSETS ASSUMING A LIQUIDATION UNDER CHAPTER 7
                                (February 1, 2019)


                  ASSETS               FAIR MARKET         NOTE       LIQUIDATION
                                        VALUE (EST.)                     VALUE

       Cash                                 $535,000         1               $535,000

       Accounts Receivable <90 days         $808,000         2               $363,000

       Accounts Receivable >90 days         $291,000         3                $43,000

       Encumbered Fixed Assets            $2,928,000         4          $1,581,120
       (including Rolling Stock and
       Equipment)

       TOTAL EST. LIQUIDATION                                           $2,522,120
        VALUE OF ENCUMBERED
                       ASSETS
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                                               CHART II

                 ESTIMATED SECURED CLAIMS IN CHAPTER 7 LIQUIDATION
                                  (February 1, 2019)


                        Claim                      Note         Approx. Amounts

        Class 1 Secured Creditor (BOW)              5              $3,363,509

        Class 2 Secured Claims (Aggregate of        6                $492,937
        Class 2(a)-2(e) Secured Claims)

                                                   TOTAL:          $3,856,446
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                                             CHART III

                        ESTIMATED RECOVERY FROM LIQUIDATION OF
                             ENCUMBERED ASSETS OF DEBTOR
                                     (February 1, 2019)




       Proceeds from Liquidation of Encumbered Assets (See Note 7)      $2,522,120

       Less Amount of Class 1 and Class 2 Secured Claims (See Note 8)   $3,856,446

       Total Amount Available to Distribute to Unsecured Creditors      ($1,334,326)
       from Liquidation of Encumbered Assets (See Note 9)
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                                            CHART IV

         ESTIMATED LIQUIDATION VALUE OF DEBTOR’S UNENCUMBERED ASSETS
                    ASSUMING A LIQUIDATION UNDER CHAPTER 7
                                 (February 1, 2019)


                          ASSETS                   FAIR          NOTE     LIQUIDATION
                                                 MARKET                      VALUE
                                                VALUE (EST)

       Unencumbered Assets                      $753,000           10         $391,560

       Causes of Action                         $0                 11                $0

         TOTAL EST. LIQUIDATION VALUE                                         $391,560
            OF UNENCUMBERED ASSETS:
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                                               CHART V

                         ESTIMATED ADMINISTRATIVE AND PRIORITY
                             CLAIMS IN CHAPTER 7 LIQUIDATION
                                      (February 1, 2019)

                             Claims                         Note      Approx. Amount

       Chapter 7 Trustee’s Fees                              12              $22,828

       Chapter 7 Trustee’s Attorneys’ Fees and Other         13             $100,000
       Professional Fees

       Cost of Services Necessary to Liquidate Assets        14              $40,000
       During Chapter 7

       Chapter 11 Administrative Claims (unpaid)            15              $330,468

       United States Trustee Fees (unpaid)                   16              $10,800

       Allowed Priority Tax Claims                           17                    $0

       Allowed Priority Non-Tax Claims                       18                    $0

                                                   TOTAL:                   $504,096
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                                              CHART VI

                         ESTIMATED DISTRIBUTION TO GENERAL
                    UNSECURED CREDITORS IN CHAPTER 7 LIQUIDATION


       Proceeds from Liquidation of Unencumbered Assets                             $391,560
       (See Note 19)

       Less Proceeds Necessary to Satisfy Chapter 7 Expenses, Chapter 11            $504,096
       Administrative Claims and Priority Claims (See Note 20)

             TOTAL AVAILABLE FOR DISTRIBUTION TO                                   ($112,536)
             HOLDERS OF ALLOWED GENERAL UNSECURED
             CLAIMS

             ESTIMATED AMOUNT OF ALLOWED GENERAL                                 $2,471,790 -
             UNSECURED CLAIMS IN CHAPTER 7 (See Note 21)                   $2,704,720

             ESTIMATED PERCENTAGE RECOVERY BY                                          0%
             HOLDERS OF ALLOWED GENERAL UNSECURED
             CLAIMS IN CHAPTER 7 (See Note 22)
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                             NOTES TO LIQUIDATION ANALYSIS

Note 1.
          Cash. Cash consists of cash as of February 1, 2019, and is treated as 100% recoverable on

that date.


Note 2.
          Accounts Receivable < 90 Days. Accounts receivable less than 90 days old are projected

to be recoverable at approximately 45% of the face amount of such receivables.

Note 3.

          Accounts Receivable > 90 Days. Accounts Receivables more than 90 days old are

projected to be recoverable at approximately 14.7% of the face amount of such receivables.


Note 4.

          Encumbered Fixed Assets (including Rolling Stock and Equipment). The Debtor

estimates that the value of the Debtor’s encumbered rolling stock and equipment is

approximately $2,928,000. This estimate is based, in part, upon appraisals of certain rolling

stock and equipment prepared by Sterling Appraisals & Machinery in July 2018 and by

International Appraisal in October 2017. The Debtor believes that, in a Chapter 7 liquidation,

approximately $1,581,120 in value would be collected from a liquidation of the encumbered

fixed assets, including rolling stock and equipment, taking into account commissions that would

be incurred in the liquidation of such encumbered fixed assets (but not taking into account any

other expenses associated with the liquidation of such encumbered fixed assets).


Note 5.

          Claim of Class 1 Secured Creditor (BOW). BOW asserts against the Debtor a Secured

Claim in an amount not less than $3,363,509. Based upon the Debtor’s negotiations with BOW,


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the Debtor believes that it has reached with BOW a preliminary agreement by which BOW

(i) will reduce its Secured Claim by the amount of $1,010,559 and to have such amount be

treated as an Allowed General Unsecured Claim under the Plan, and (ii) will subordinate an

additional $500,000 of its Secured Claim, in part, in order to facilitate the Reorganized Debtor’s

obtaining the Post-Effective Date Loan. The Debtor assumes, however, that, in a Chapter 7

liquidation, there would be no benefit to BOW from reducing the amount of its Secured Claim,

and that BOW would assert in a Chapter 7 liquidation the full amount of its Secured Claim.


Note 6.

          Class 2 Secured Claims (Classes 2(a)–2(e). The Debtor estimates that the aggregate

amount of the Allowed Secured Claims of the Class 2 Creditors is approximately $492,937.


Note 7.

          Proceeds from Liquidation of Encumbered Assets. The estimated amount of such

proceeds derives from Chart I.


Note 8.

          Amount of Class 1 and Class 2 Secured Claims. The estimated amount of such Secured

Claims derives from Chart II.


Note 9.

          Total Amount Available to Distribute to Unsecured Creditors from Liquidation of

Encumbered Assets. The Debtor believes that, if the Debtor’s Chapter 11 Case were converted

to a Chapter 7 liquidation, BOW and the Class 2 Secured Creditors would seek, and obtain, relief

from the bankruptcy stay and then would foreclose upon their Collateral, including the

encumbered fixed assets. Under such scenario, it is very likely that no proceeds would be


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available for unsecured creditors. The Debtor believes also that, even if the Debtor’s

encumbered fixed assets, including rolling stock and equipment, were liquidated by a trustee in a

Chapter 7 liquidation, the liquidation of the Debtor’s encumbered fixed assets would produce no

proceeds available for distribution to unsecured creditors, and, in fact, that there would be an

aggregate amount of approximately $1,334,326 in Deficiency Claims that would be asserted by

the Secured Creditors.


Note 10.

       Unencumbered Assets. The Debtor has a number of items of rolling stock that are

unencumbered. The Debtor estimates that the aggregate value of the Unencumbered Assets is

approximately $753,000. This estimate is based, in part, upon the Sterling Appraisal and the

International Appraisal. The Debtor estimates that, in a Chapter 7 liquidation, approximately

52% of the value of the Unencumbered Assets would be realized, without taking into account

any commissions payable to a liquidator or other costs associated with the liquidation thereof.


Note 11.

       Causes of Action. The Debtor has not completed an evaluation of potential Causes of

Action, including Avoidance Actions, and, accordingly, by the Disclosure Statement, the Debtor

assumes that there will be no net recoveries from the prosecution of Causes of Action. The

Debtor believes that this assumption is very conservative, and that, in fact, the Debtor or the

Reorganized Debtor may obtain significant recoveries from the prosecution of Causes of Action

in the Chapter 11 Case. The Debtor believes that the value of Causes of Action may be

significantly less in a Chapter 7 liquidation than in the Chapter 11 Case because, in a Chapter 7,

a trustee would lack knowledge of potential Causes of Action and a trustee may not have funding



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sufficient to prosecute Causes of Action, and, consequently, may not be in a position to prosecute

effectively Causes of Action.


Note 12.

       Chapter 7 Trustee’s Fees. Pursuant to Section 326(b) of the Bankruptcy Code, a

Chapter 7 trustee would be entitled to a fee equal to the following: 25% of the first $5,000

distributed to Creditors; 10% of any amount in excess of $5,000 but not in excess of $50,000;

5% on any amount in excess of $50,000, but not in excess of $1.0 million, distributed to

Creditors; and reasonable compensation not to exceed 3% of monies distributed to Creditors in

excess of $1.0 million. The Debtor projects that, in a Chapter 7 case, the Secured Creditors

would obtain relief from stay and would foreclosure upon their Collateral and, consequently, that

a trustee would distribute only the proceeds of the Unencumbered Assets ($391,650). The

Debtor estimates, therefore, that the Chapter 7 trustee would be entitled to a fee of approximately

$22,828.


Note 13.

       Chapter 7 Trustee’s Attorneys’ Fees and Other Professional Fees. The Chapter 7 trustee

would need to retain counsel and accountants to assist him to liquidate the Debtor’s Assets and to

administer the Debtor’s Chapter 7 case. The Debtor estimates that the fees and costs incurred by

such professionals would be approximately $100,000.


Note 14.

       Costs of Services Necessary to Liquidate Assets During Chapter 7. The Debtor believes

that, in a Chapter 7 case, the Chapter 7 trustee would be required to employ agents, including

liquidators, to assist the Chapter 7 trustee in the liquidation of the Debtor’s Assets and to



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administer the Debtor’s Chapter 7 case. The Debtor projects that the trustee would incur the

amount of $40,000 with respect to the costs of personnel and agents to assist the trustee to

liquidate the Debtor’s Assets during Chapter 7.


Note 15.

       Chapter 11 Administrative Claims (Unpaid). The Debtor estimates that, as of February 1,

2019, there were the following unpaid Chapter 11 obligations: $125,000 in accrued but unpaid

payroll and associated taxes; $115,000 owed to Winthrop Couchot; $23,000 owed to Illyssa I.

Fogel & Associates; $62,588 owed to Leed Rancho for unpaid post-petition rent; and $4,880

owed to Navitas Credit Corp. for unpaid post-petition equipment lease payments. The Debtor

estimates, therefore, that approximately $330,468 would need to be paid in a Chapter 7

liquidation on account of unpaid Chapter 11 Administrative Claims.


Note 16.

       United States Trustee Fees (Unpaid). The Debtor estimates that, as of February 1, 2019,

the Debtor owed approximately $10,800 in United States Trustee Fees.


Note 17.

       Allowed Priority Tax Claims. The Debtor estimates that approximately $4,685 in

Priority Tax Claims have been asserted against the Debtor. The Debtor disputes such Claims and

intends to object to such Claims. The Debtor believes that, in a Chapter 7 liquidation, a trustee

may not have knowledge of the Priority Tax Claims sufficient to object effectively to such

claims and may not be inclined to object to such claims, and, accordingly, that such Claims may

be allowed in a Chapter 7 case. Nevertheless, to be conservative, the Debtor projects that, in a

Chapter 7 liquidation, such Claims will be disallowed.



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Note 18.

       Allowed Priority Non-Tax Claims. The Debtor estimates that approximately $24,799 in

Priority Non-Tax Claims have been asserted against the Debtor. The Debtor disputes such

Claims and intends to object to such Claims. The Debtor believes that, in a Chapter 7

liquidation, a trustee may not have knowledge of the Priority Non-Tax Claims sufficient to

object effectively to such Claims and may not be inclined to object to such Claims, and,

accordingly, that such Claims may be allowed in a Chapter 7 case. Nevertheless, to be

conservative, the Debtor projects that, in a Chapter 7 liquidation, such Claims will be disallowed.


Note 19.

       Proceeds from Liquidation of Unencumbered Assets. The Debtor projects that, in a

Chapter 7 liquidation, there would be approximately $391,650 in proceeds from the liquidation

of the Unencumbered Assets. This figure derives from Chart IV.


Note 20.

       Proceeds Necessary to Satisfy Chapter 7 Expenses, Chapter 11 Administrative Claims

and Priority Claims. The Debtor projects that, in a Chapter 7 liquidation, there would be an

aggregate amount of $504,096 in Chapter 7 expenses, Chapter 11 Administrative Claims,

Priority Tax Claims and Priority Non-Tax Claims. This figure derives from Chart V.


Note 21.


       Estimated Amount of Allowed General Unsecured Claims. The Debtor estimates that

approximately $2,704,720 in General Unsecured Claims have been asserted against the Debtor.

The Debtor disputes not less than $294,000 of such Claims. The Debtor believes that, in a

Chapter 7 liquidation, the amount of General Unsecured Claims asserted against the Debtor


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would increase significantly, in part, because of an increase in Deficiency Claims and Rejection

Claims, and that the amount of General Unsecured Claims allowed in the Chapter 7 liquidation

would increase significantly, in part, because the trustee would not have knowledge of the

General Unsecured Claims sufficient to object effectively to such Claims and may not have the

inclination to do so.


Note 22.


       Estimated Percentage Recovery by Holders of Allowed General Unsecured Claims in

Chapter 7. The Debtor projects that, in a Chapter 7 liquidation, holders of Chapter 11

Administrative Claims would not be paid in full and that holders of Allowed General Unsecured

Claims would obtain no recovery on their Claims.




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